 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


  EASTERN                   District of WASHINGTON
                                      (State)
  Case number (If known):                                     Chapter 11
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             iCap Pacific Development LLC



 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



 3.   Debtor’s federal Employer
      Identification Number (EIN)



 4.   Debtor’s address                          Principal place of business                                Mailing address, if different from principal place
                                                                                                           of business

                                            3535            Factoria Boulevard
                                            Number          Street                                         Number      Street

                                            Suite 500                                                      P.O. Box 53232
                                                                                                           P.O. Box
                                                                                      98009-
                                            Bellevue                     WA           1298                 Bellevue                  WA          98015
                                            City                              State      ZIP Code          City                         State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                            King County
                                            County
      •   Office closed.
                                                                                                           Number      Street




                                                                                                           City                        State        ZIP Code




 5.   Debtor’s website (URL)




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Debtor        iCap Pacific Development LLC                                                      Case number (if known)
              Name




 6.   Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5    3      1    3

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
                                              Chapter 7
      debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                              Chapter 12




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Debtor        iCap Pacific Development LLC                                                       Case number (if known)
               Name



 9.   Were prior bankruptcy cases            No
      filed by or against the debtor
                                                      District                            When                            Case number
      within the last 8 years?               Yes.
                                                                                                  MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District                            When                            Case number
                                                                                                  MM / DD / YYYY


 10. Are any bankruptcy cases                No
      pending or being filed by a
                                                      Debtor See Rider 1                                                  Relationship
      business partner or an                 Yes.
      affiliate of the debtor?                        District                                                            When
                                                                                                                                          MM / DD / YYYY
      List all cases. If more than 1,
      attach a separate list.                         Case number, if known


 11. Why is the case filed in this         Check all that apply:
      district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                                A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have                No
      possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                         It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                         Other



                                                    Where is the property?
                                                                                 Number          Street




                                                                                 City                                                    State   ZIP Code

                                                    Is the property insured?

                                                         No
                                                         Yes. Insurance agency


                                                                 Contact name

                                                                 Phone




              Statistical and administrative information




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Debtor       iCap Pacific Development LLC                                                       Case number (if known)
             Name




                                         Check one:
 13. Debtor’s estimation of
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                              1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                              50-99                               5,001-10,000                             50,001-100,000
     creditors
                                              100-199                             10,001-25,000                            More than 100,000
                                              200-999

                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.



                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 09/30/2023

                                                            MM / DD / YYYY


                                                                                                          Lance Miller
                                             Signature of authorized representative of debtor              Printed name

                                             Title Manager




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Debtor      iCap Pacific Development LLC                                          Case number (if known)
             Name




 18. Signature of attorney        /s/ Dakota Pearce                                          Date         09/30/2023
                                      Signature of attorney for debtor                                     MM / DD / YYYY



                                      Dakota Pearce
                                      Printed name
                                      Buchalter, A Professional Corporation
                                      Firm name
                                      1420 5th Ave., Suite 3100
                                      Number      Street
                                      Seattle                                                     WA              98101
                                      City                                                        State           ZIP Code

                                      (206) 319-7052                                              dpearce@buchalter.com
                                      Contact phone                                               Email address



                                      57011                                                       WA
                                      Bar number                                                  State




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                                                  Rider 1

        The Debtor and each of the affiliated entities listed in the table below filed in the Court a
voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-15332.


                    Company
                    725 Broadway, LLC
                    iCap @ UW, LLC
                    iCap Broadway, LLC
                    iCap Campbell Way, LLC
                    iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                    iCap Equity, LLC
                    iCap Funding LLC
                    iCap Holding LLC
                    iCap Holding 5 LLC
                    iCap Holding 6 LLC
                    iCap Investments, LLC
                    iCap Management LLC
                    iCap Northwest Opportunity Fund, LLC
                    iCap Pacific Development LLC
                    iCap Pacific Income 4 Fund, LLC
                    iCap Pacific Income 5 Fund, LLC
                    iCap Pacific Northwest Opportunity and Income Fund, LLC
                    Icap Pacific NW Management, LLC
                    iCap Realty, LLC
                    iCap Vault I, LLC
                    iCap Vault Management, LLC
                    iCap Vault, LLC
                    Senza Kenmore, LLC
                    UW 17TH AVE. LLC
                    Vault Holding, LLC
                    Vault Holding 1, LLC
                    VH 1121 14TH LLC
                    VH 2nd Street Office LLC
                    VH Pioneer Village LLC
                    VH Senior Care LLC
                    VH Willows Townhomes LLC




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             5HVWUXFWXULQJ2IILFHURIL&DS(QWHUSULVHV,QF ³(QWHUSULVHV´ DQGRIHDFKRIWKHOLPLWHGOLDELOLW\
             FRPSDQLHV ZKRVH QDPHV DUH VHW IRUWK RQ 6FKHGXOH  DWWDFKHG KHUHWR HDFK D ³Company´ DQG
             FROOHFWLYHO\ZLWK(QWHUSULVHVWKH³Companies´ ZKHUHDSSOLFDEOHDV0DQDJHURIHDFKLQHDFK
             FDVH LQ DFFRUGDQFH ZLWK HDFK &RPSDQ\¶V UHVSHFWLYH RUJDQL]DWLRQDO GRFXPHQWV DQG ZLWK WKH
             DSSOLFDEOHOLPLWHGOLDELOLW\FRPSDQ\ODZVRIWKHMXULVGLFWLRQRIIRUPDWLRQRIHDFK&RPSDQ\ WKH
             ³LLC Laws´ KHUHE\FRQVHQWVWRDQGDSSURYHVWKHDGRSWLRQRIWKHIROORZLQJUHVROXWLRQVDQGHDFK
             DQGHYHU\DFWLRQHIIHFWHGWKHUHE\RUSXUVXDQWWKHUHWRE\ZULWWHQFRQVHQWDVLIVXFKDFWLRQVKDGEHHQ
             WDNHQDWDPHHWLQJRIWKH%RDUGRI'LUHFWRUVRUE\WKH0DQDJHURIHDFKVXFK&RPSDQ\

                     :+(5($6&KULV&KULVWHQVHQDJUHHGWRLUUHYRFDEO\UHVLJQIURPDOORIILFHUSRVLWLRQVKHOG
             ZLWK(QWHUSULVHVDQGIURPKLVSRVLWLRQDV0DQDJHURIHDFKRIWKH&RPSDQLHVSXUVXDQWWRWKH7HUP
             6KHHW GDWHG $XJXVW   WKDW ZDV VXEVHTXHQWO\ LQFRUSRUDWHG LQWR WKH Order Approving
             Stipulated Motion For (1) Modification of Temporary Restraining Order Against Defendants iCap,
             etc.HQWHUHGE\WKH+RQ%ULDQ0F'RQDOG6XSHULRU&RXUWRIWKH6WDWHRI:DVKLQJWRQIRU.LQJ
             &RXQW\RQ6HSWHPEHU WKH³Stipulated Resignation´ 

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             WKH&RPSDQLHVRQ6HSWHPEHU/DQFH0LOOHUZDVDSSRLQWHGDV&KLHI5HVWUXFWXULQJ2IILFHU
             RI (QWHUSULVHV DQG ZKHUH DSSOLFDEOH 0DQDJHU RI WKH &RPSDQLHV WKH ³Chief Restructuring
             Officer´ 

                      :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV UHYLHZHG DQG FRQVLGHUHG PDWHULDOV
             SUHVHQWHGE\OHJDODQGILQDQFLDODGYLVRUVRIWKH&RPSDQLHVDQGIRUPHUPDQDJHPHQWUHJDUGLQJWKH
             OLDELOLWLHVDQGOLTXLGLW\VLWXDWLRQRIWKH&RPSDQLHVWKHVWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRHDFKRI
             WKHPDQGWKHLPSDFWRIWKHIRUHJRLQJRQHDFKRIWKH&RPSDQ\¶VEXVLQHVVHV

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             ILQDQFLDO DGYLVRUV RI WKH &RPSDQLHV DQG IRUPHU PDQDJHPHQW UHJDUGLQJ WKH SRVVLEOH QHHG WR
             OLTXLGDWHRUUHVWUXFWXUHWKH&RPSDQLHVDQGKDVIXOO\FRQVLGHUHGHDFKRIWKHVWUDWHJLFDOWHUQDWLYHV
             DYDLODEOHWRHDFK&RPSDQ\DQGWKHLPSDFWRIWKHIRUHJRLQJRQHDFK&RPSDQ\¶VEXVLQHVVDQGLWV
             VWDNHKROGHUV

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             UHFRPPHQGDWLRQVRIWKH&RPSDQLHV¶OHJDODQGILQDQFLDODGYLVRUVUHJDUGLQJWKHUHOLHIWKDWZRXOG
             EH QHFHVVDU\ DQG DGYLVDEOH WR REWDLQ IURP WKH %DQNUXSWF\ &RXUW WR DOORZ WKH &RPSDQLHV WR
             HIIHFWLYHO\WUDQVLWLRQLQWRRSHUDWLRQDVGHEWRUVLQSRVVHVVLRQ FROOHFWLYHO\WKH³First Day Relief´ 
             XQGHUFKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH WKH³Bankruptcy Code´ 

                    :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV GHWHUPLQHG WKDW LW LV IDLU DSSURSULDWH
             DGYLVDEOHQHFHVVDU\DQGLQWKHEHVWLQWHUHVWVRIHDFK&RPSDQ\LWVFUHGLWRUVPHPEHUVDQGRWKHU


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             SURYLVLRQVRIFKDSWHURIWKH%DQNUXSWF\&RGHDQGVHHNWKH)LUVW'D\5HOLHIDQG

                      :+(5($6WKH&KLHI5HVWUXFWXULQJ2IILFHUGHVLUHVWRDSSURYHWKHIROORZLQJ5HVROXWLRQV

                      12:7+(5()25(%(,7

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                     5(62/9('WKDWLQWKHMXGJPHQWRIWKH&KLHI5HVWUXFWXULQJ2IILFHULWLVGHVLUDEOHDQG
             LQWKHEHVWLQWHUHVWVRIWKHFUHGLWRUVPHPEHUVDQGRWKHUVWDNHKROGHUVRIHDFK&RPSDQ\WKDWHDFK
             &RPSDQ\OLVWHGRQWKHDWWDFKHG6FKHGXOH L ILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQIRUUHOLHI
             XQGHUWKHSURYLVLRQVRIFKDSWHURIWKH%DQNUXSWF\&RGH WKH³Filing Companies´ DQG LL VHHN
             WKH)LUVW'D\5HOLHI

                    5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             HPSRZHUHGWRH[HFXWHDQGILOHRQEHKDOIRIHDFK)LOLQJ&RPSDQ\DOOSHWLWLRQVVFKHGXOHVOLVWV
             DQGRWKHUPRWLRQVSDSHUVRUGRFXPHQWVDQGWRWDNHDQ\DQGDOODFWLRQWKDWWKH\GHHPQHFHVVDU\
             RUSURSHUWRREWDLQVXFKUHOLHILQFOXGLQJZLWKRXWOLPLWDWLRQDQ\DFWLRQQHFHVVDU\WRPDLQWDLQWKH
             RUGLQDU\FRXUVHRSHUDWLRQRIWKHEXVLQHVVRIHDFKVXFK)LOLQJ&RPSDQ\

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                       5(62/9('WKDWLQFRQQHFWLRQZLWKWKHFRPPHQFHPHQWRIWKHFKDSWHUFDVHVRIWKH
             )LOLQJ &RPSDQLHV   HQWU\ LQWR D GHEWRULQSRVVHVVLRQ ORDQ IDFLOLW\ LQ WKH DPRXQW RI XS WR
             SURYLGHGXQGHUWKDWFHUWDLQ'HEWRULQ3RVVHVVLRQ&UHGLWDQG6HFXULW\$JUHHPHQW
              WKH ³DIP Credit Agreement´  E\ DQG DPRQJ 6HUHQH ,QYHVWPHQW 0DQDJHPHQW //& DQGRU LWV
             DIILOLDWHG HQWLWLHV WKH OHQGHUV SDUW\ WKHUHWR IURP WLPH WR WLPH WKH ³DIP Lenders´  LQFOXGLQJ
             ZLWKRXWOLPLWDWLRQ L WKHH[HFXWLRQDQGGHOLYHU\RIDQ\FUHGLWGRFXPHQWV LL WKHFRQVXPPDWLRQ
             RI WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHE\ DQG LLL  WKH JUDQWLQJ RI WKH VHFXULW\ LQWHUHVW LQ OLHQV
             XSRQDQGSOHGJHRIFROODWHUDOWRVHFXUHWKHREOLJDWLRQVXQGHUWKH',3&UHGLW$JUHHPHQWEHDQG
             KHUHE\LVDXWKRUL]HGDQGDSSURYHGRQEHKDOIRIHDFKRIWKH&RPSDQLHVZKHUHDSSOLFDEOHDQG  
             WKH &KLHI 5HVWUXFWXULQJ 2IILFHU DFWLQJ LQ VRPH LQVWDQFHV DV 0DQDJHU EH DQG KHUHE\ LV
             DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG LQ WKH QDPH DQG RQ EHKDOI RI WKH &RPSDQLHV ZKHUH
             DSSOLFDEOH D WRQHJRWLDWHWKHXVHRIFDVKFROODWHUDODQGWRJUDQWDGHTXDWHSURWHFWLRQLQWKHIRUP
             RI DGGLWLRQDO VHFXULW\ LQWHUHVWV RU SULRULW\ FODLPV LQ FRQQHFWLRQ WKHUHZLWK E  WR L  QHJRWLDWH
             H[HFXWH DQG GHOLYHU WKH ',3 &UHGLW $JUHHPHQW LL  FDXVH WKH &RPSDQLHV WR FRQVXPPDWH WKH
             WUDQVDFWLRQVFRQWHPSODWHGE\WKH',3&UHGLW$JUHHPHQWDQG LLL JUDQWVHFXULW\LQWHUHVWVLQOLHQV
             XSRQDQGSOHGJHRIWKH&ROODWHUDO DVGHILQHGLQWKH',3&UHGLW$JUHHPHQWRUDQ\RWKHUDJUHHPHQW
             RULQVWUXPHQWH[HFXWHGLQFRQQHFWLRQZLWKWKH',3&UHGLW$JUHHPHQW LQIDYRURIWKH',3/HQGHUV
             WRVHFXUHWKHREOLJDWLRQVXQGHUWKH',3&UHGLW$JUHHPHQWLQHDFKLQVWDQFHRQVXFKWHUPVDQG
             FRQGLWLRQVDVWKH&KLHI5HVWUXFWXULQJ2IILFHUPD\FRQVLGHUQHFHVVDU\SURSHURUGHVLUDEOHDQG F 
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                                                               Schedule 1

                                  Company
                                  iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                                  Icap Pacific NW Management, LLC
                                  Vault Holding, LLC
                                  iCap Vault Management, LLC
                                  iCap Vault, LLC
                                  iCap Vault I, LLC
                                  Vault Holding 1, LLC
                                  iCap Investments, LLC
                                  iCap Pacific Northwest Opportunity and Income Fund, LLC
                                  iCap Equity, LLC
                                  iCap Pacific Income 4 Fund,, LLC
                                  iCap Pacific Income 5 Fund, LLC
                                  iCap Northwest Opportunity Fund, LLC
                                  iCap Funding LLC
                                  iCap Management LLC
                                  iCap Pacific Development LLC
                                  iCap Holding LLC
                                  iCap Holding 5 LLC
                                  iCap Holding 6 LLC
                                  iCap Realty LLC
                                  725 Broadway, LLC
                                  Senza Kenmore, LLC
                                  iCap Campbell Way, LLC
                                  UW 17TH AVE,LLC
                                  iCap Broadway, LLC
                                  VH 1121 14TH LLC
                                  VH Senior Care LLC
                                  VH Willows Townhomes LLC
                                  iCap @ UW, LLC
                                  VH 2nd Street Office LLC
                                  VH Pioneer Village LLC
                                  CS2 Real Estate Development LLC
                                  Lofts@Camas Meadows Phase I, LLC
                                  Lofts@Camas Meadows Phase II, LLC




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             September 28, 2023

             Chris Christensen
             CEO
             iCap Enterprises, Inc.
             iCap Investments, LLC
             3535 Factoria Blvd., Suite 500
             Bellevue, WA 98006

             Re: Revised and Restated Engagement of Paladin Management Group, LLC - Consulting
             and CRO Services

             Dear Mr. Christensen:

             This Letter of Agreement (“Agreement”), effective as of July 14, 2023 (the “Effective Date”),
             confirms the terms under which the entities referenced on the attached schedule (each, a
             “Client” and collectively, the “Company”) have retained Paladin Management Group, LLC, a
             Nevada Limited Liability Company (“Paladin”) to provide professional services. This
             Agreement revises, restates, and supersedes that certain Engagement Agreement dated July
             14, 2023.
             1. Chief Restructuring Officer
             Effective as of the CRO Effective Date, Paladin will make Lance Miller available to serve as
             the Company's Chief Restructuring Officer (CRO). The CRO will be an independent officer
             with fiduciary duties to the Company, and will serve pursuant to corporate resolutions to be
             passed by the governing authority (e.g., Board of Managers, Board of Directors, or Managing
             Member) for each of the applicable Clients in form and substance acceptable to the CRO
             (the “Corporate Resolutions”). Among other things, the CRO will be vested with the following
             authority, delegated powers, and discretion (the “CRO Services”):
                 x   To devise and implement a strategy or strategies for addressing the Company’s
                     debt(s), solvency or insolvency, liquidity, and/or financial condition (collectively, a
                     “Restructuring”);
                 x   To retain and supervise professionals on behalf of the Company, including legal
                     counsel, in connection with a Restructuring;
                 x   To incur and authorize payment of expenses that the CRO determines are reasonably
                     necessary in connection with a Restructuring;
                 x   To authorize any Client to borrow funds, provide liens or other security, and/or to
                     enter into any financing, cash collateral, or lending agreement or facility in
                     connection with a Restructuring;


                     633 W. 5th Street, 28th Floor, Los Angeles, CA 90071 | 213.320.5500 | paladinmgmt.com


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                 x   In the reasonable exercise of the CRO’s business discretion and judgment, to
                     authorize the commencement of an insolvency proceeding or proceedings (an
                     “Insolvency Proceeding”) involving some or all of the Clients (including but not limited
                     to state or federal receivership proceedings, or proceedings under title 11 of the U.S.
                     Code (the “Bankruptcy Code”);
                 x   To supervise and otherwise manage all matters reasonably required in order to
                     pursue or otherwise incident to an Insolvency Proceeding;
                 x   To direct the Company’s response or strategy in connection with any litigation(s)
                     commenced by creditors of the Company;
                 x   To settle or otherwise resolve debts or obligations of the Company;
                 x   To authorize and direct the sale, disposition, abandonment, or other disposition of
                     Company assets, in connection with a Restructuring; and
                 x   Such other actions or omissions that the CRO reasonably determines are necessary
                     and appropriate to pursue a Restructuring.
             2. Consulting Services
             Commencing with the Effective Date, Paladin will provide the following services to the
             Company (the “Consulting Services,” and collectively with the CRO Services, the “Services”).
             Following the CRO’s appointment, Paladin’s professionals will report directly to the CRO.
                 x   Assist in devising various restructuring strategies and assessing the business and
                     financial impact of those strategies;
                 x   Assist in negotiations with the Company’s relevant stakeholders in connection with
                     such strategies;
                 x   Assist in developing and implementing cash management and cash flow forecasting
                     processes;
                 x   Assist in preparing and maintaining liquidity and cash projections and reporting of
                     actual results;
                 x   Prepare certain of the Clients to commence an Insolvency Proceeding;
                 x   Prepare financial forecasts and reports that may be required by the CRO, or the
                     Company’s lenders and stakeholders;
                 x   Strategic communication services, which will include but not be limited to, assessment
                     and development of a strategic communications plan, development of
                     communications materials, coordination of media contacts, interviews and other
                     placements and guidance in interactions with media outlets, customers/clients,
                     suppliers/vendors, and other business partners as appropriate;
                 x   Administer any Insolvency Proceeding, once commenced, and assist with any
                     negotiations and other interactions with the Company’s stakeholders and their
                     respective advisors in connection with the Insolvency Proceeding; and
                 x   Advice and recommendations with respect to other related matters as the Client or its
                     professionals may request from time to time, as agreed to by Paladin.

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             3. Term and Termination
             The term of this Agreement and the Services will extend until terminated. Either Party may
             terminate this Agreement and the Services upon seven (7) days’ notice to the other Party;
             provided, however, that termination by any of the Clients shall automatically result in
             termination as to all Clients. Immediately following termination, the Company shall take all
             steps reasonably necessary to effectuate removal and replacement (as applicable) of the
             CRO from all governmental registrations. Following termination, the Services shall
             immediately cease. The following sections of the Terms and Conditions shall survive
             termination: 1, 9, 10, 11, 12, 13, 14, 15, 18, and any other provision that would reasonably
             be expected to survive termination.
             4. Retainer and Compensation
             As compensation for the Services, Paladin will be paid an hourly rate. Paladin’s hourly rates
             range from $375 to $850 per hour, depending on the personnel performing the work. The
             rate for Lance Miller is $850, and for Mike Lang is $650. In addition to the foregoing, in the
             event that the Company or any of the Clients commence preparation of an Insolvency
             Proceeding and thereafter for so long as the CRO Services are provided, the Company will pay
             a monthly fee of $50,000.
             There will be a $50,000 retainer (the “Retainer”) paid to Paladin promptly upon execution of
             this agreement. The Retainer will be an “evergreen” retainer, such that it will be replenished
             on a regular basis in order to ensure that the amount of the Retainer is, at all times, greater
             than Paladin’s work in progress and accrued fees.
             5. Conditions to Effectiveness
             The Consulting Services will commence on the Effective Date. The CRO Services will
             commence upon the first date following occurrence of each of the following, unless such
             conditions are waived by Paladin (the “CRO Effective Date”):
                 a) Passing of the Resolutions;
                 b) The Company has provided Paladin with written verification that the CRO has been
                    added as a named beneficiary to all existing Directors’ and Officers’ Liability
                    Insurance policies respecting the Company; and
                 c) The Company has paid the Retainer, as set forth in Section 4.
             6. Terms and Conditions
             Attached hereto as Appendix A are Paladin’s terms and conditions. By the Company’s
             execution of this agreement, the Company acknowledges that it has read these terms and
             conditions, and that it agrees to be bound by each of these terms and conditions, which are
             hereby incorporated by reference as if fully set forth herein.




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             If the foregoing accurately sets forth the understanding between us, please so indicate by
             signing and returning this letter to Paladin.


                                                               Very truly yours,


                                                               PALADIN MANAGEMENT GROUP, LLC



                                                               By:
                                                               Name: Lance Miller
                                                               Title: Partner



             CONFIRMED AND AGREED:

             Chris Christensen
             on behalf of each Client

             By:
             Name: Chris Christensen
             Title: CEO




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                                                                APPENDIX A

                                               General Terms and Conditions – CRO Services
                                                    Paladin Management Group, LLC


             1. Retainer and Compensation
                 (a) Hourly and Weekly Billing. Unless stated otherwise herein, the Company will be billed for Services
             provided by Paladin Personnel on an hourly basis at the current hourly rate of the Paladin Personnel
             performing the Services. Paladin adjusts its hourly rates periodically. The Company agrees to pay the hourly
             rates as reasonably adjusted. Paladin’s fees and expenses will be billed to the Company as frequently as
             weekly and are payable upon receipt. Billable Services include services provided to the Company by Paladin
             Personnel commencing with the date hereof and continuing after termination of the engagement.
                  (b) Flat Fee Services. If the parties have agreed to a Flat Fee or a monthly fee, the Fee shall be paid in full
             in advance and shall be deemed earned upon receipt. The Fee will constitute payment for all services
             performed by Paladin Personnel within the scope of the Flat or monthly Fee (“Flat Fee Services”). Services
             performed by Paladin Personnel at the Company’s request that are outside the scope of the Flat Fee Services
             will be billed on an hourly basis.
                 (c) Retainer. The Retainer ensures payment of Paladin’s fees. Paladin may apply the Retainer to unpaid
             invoices without prior notice. Paladin may increase the Retainer to the extent required to ensure that the
             Retainer is sufficient to cover work in progress and outstanding invoices. The Company shall replenish the
             Retainer upon Paladin’s request. The Retainer will not accrue interest. The balance of the Retainer after
             payment of Paladin’s final invoice, if any, will be returned to the Company.
                 (d) Travel. The Company will be responsible for Paladin Personnel travel time and expenses, including
             travel time and expenses incurred in traveling to and from the Paladin Personnel’s home offices to locations
             other than the Company’s offices. Paladin will bill travel time at one-half of the applicable hourly rate; provided
             that Paladin will bill travel time at its normal hourly rates to the extent Paladin Personnel are performing
             Services while traveling.
                  (e) Expenses. The Company will pay or reimburse Paladin, as applicable, for all documented out-of-pocket
             expenses reasonably incurred by Paladin and Paladin Personnel in the performance of the Services through
             the termination date and the reasonable expenses incurred in connection with the Services after the
             termination date such as travel, and other expenses. Such expenses shall include travel, meals and lodging,
             delivery services, etc. In addition, in states where Paladin is obligated to collect sales taxes on professional
             services, such taxes will be billed to the Company.
                  (f) Administrative Fee. Paladin is entitled to an administrative fee equal to 4 ½% of the professional fees
             billed during any billing period. The administrative fee will cover ordinary administrative expenses such as cell
             phone charges, faxes, general copying expenses and similar ordinary expenses.
                 (g) Payment Terms; Interest. Fees and other amounts owed hereunder are due immediately upon receipt
             of an invoice. In the event that any amounts become past due by more than thirty (30) days, such amounts will
             accrue interest in the amount of 18.0% per annum.
             2. Paladin Personnel
                 Except as otherwise provided in this Agreement, the Services may be performed by such employees,
             agents or independent contractors of Paladin, or of any subsidiary or affiliate of Paladin, as Paladin may
             determine. References to “Paladin Personnel” herein include those employees, agents, and independent
             contractors of Paladin and its subsidiaries or affiliates that perform Services for the Company.
             3. Independent Contractor Status
                  Paladin shall serve as an independent contractor under this Agreement. Paladin will have exclusive
             control over the management and operation of the Services provided by Paladin Personnel and will be
             responsible for hiring, supervising and paying the wages or other compensation due to the Paladin Personnel
             in connection with this Agreement. No Paladin Personnel will be employed or engaged by the Company either
             as a director, officer, member, manager, partner, control person, employee, representative, agent or

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             independent contractor, or in any other capacity; provided that the CRO will serve as an officer of the Company.
             No Paladin Personnel will be entitled to receive from the Company any compensation, vacation pay, sick leave,
             retirement, pension or social security benefits, workers’ compensation, disability, unemployment insurance
             benefits or any other employee benefits. Paladin will be responsible for all employment, withholding, income
             and other taxes incurred in connection with the Services.
             4. Company Acknowledgements
                  The Company acknowledges and agrees that neither Paladin, nor any Paladin Personnel, make any
             representations, guarantees or predictions that, inter alia: (i) An appropriate restructuring proposal or strategic
             alternative can be formulated; (ii) Any restructuring proposal or strategic alternative formulated by Paladin will
             achieve the intended results or will be more successful than other possible restructuring proposals or strategic
             alternatives; (iii) Restructuring is the best course of action for the Company; (iv) Any restructuring proposal or
             strategic alternative formulated by Paladin will be accepted by the Board, or the Company’s creditors,
             shareholders and other stakeholders. The Company further acknowledges that numerous factors affect the
             Company’s actual financial and operational results, and that these results may materially and adversely differ
             from the objectives of the restructuring plan or strategy formulated or proposed by Paladin.
             5. Accuracy and Completeness of Information
                  The Company is responsible for providing Paladin with accurate and complete information and materials.
             The Company will provide Paladin with full and timely access to all Company personnel, books and records,
             including those of the Company’s attorneys, accountants, other agents and third-party representatives, that
             Paladin Personnel reasonably request in connection with the performance of the Services. Paladin Personnel
             are entitled to rely on the accuracy of the information and materials provided and shall have no duty to verify
             the reliability, accuracy or completeness of such information. The Company is responsible for the accuracy and
             reliability of any plans, strategies, forecasts, quantitative financial models, projections and related
             computations prepared by Paladin in reliance upon any inaccurate or incomplete information or materials
             provided. Paladin shall incur no liability to the Company or any third-party arising out of any unreliable,
             inaccurate or incomplete information or materials provided by the Company.
             6. Company Responsibilities
                  Except as set forth in the final sentence of this section, (i) the Company will make all decisions relating to
             whether the Company pursues or does not pursue a particular proposal, transaction, plan or strategy, and (ii)
             the Company is responsible for the implementation and outcome of any proposal, transaction, plan or strategy
             pursued by the Company. The Company is responsible for any Work Product (as defined below) that is modified
             in any material respect without Paladin’s approval. In the event that Paladin Personnel are appointed an
             officer or director of the Company, this Section will not apply with respect to the specific decisions made or
             directed by such appointed officer or director.
             7. Excluded Services
                 Neither Paladin nor any Paladin Personnel will perform any of the following services: insurance advice;
             investment advice; asset management services, legal, tax or regulatory advice or services; or accounting or
             audit services, including any financial statement reporting services that are subject to the rules of the AICPA,
             SEC or other state or national professional or regulatory body.
             8. Bankruptcy Proceedings
                 In the event the Company resolves to file for bankruptcy under Chapter 11 of the Bankruptcy Code or has
             reason to believe an involuntary petition is likely to be filed, the following provisions shall apply:
                 (a) Approval of Engagement. The Company will promptly seek the Bankruptcy Court's approval of
             Paladin’s engagement under this Agreement. The application, proposed order and other supporting documents
             submitted to the Bankruptcy Court seeking such approval must be satisfactory to Paladin in all respects.
             Unless agreed otherwise by Paladin, retention of Paladin shall be pursuant to section 363 of the Bankruptcy
             Code.
                 (b) Bankruptcy Services. The term Services as used in this Agreement shall include the services provided
             by Paladin Personnel in connection with any Bankruptcy Court proceedings (“Bankruptcy Services”). The term
             “Services” as used herein shall include the Bankruptcy Services.

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                 (c) Retainer. Paladin may increase the Retainer amount to account for the additional Bankruptcy Services
             and the Company shall promptly pay Paladin the additional Retainer amount.
                 (d) Reimbursement of Costs. Subject to the approval of the Bankruptcy Court, the Company shall pay or
             reimburse Paladin for all costs reasonably incurred by Paladin or Paladin Personnel in connection with the
             Bankruptcy Services, including attorney fees.
             9. Insurance, Indemnification & Limitation of Liability
                As an inducement to Paladin to agree to the Engagement and as further consideration for the Services, the
             Company agrees to indemnify, insure, defend and limit Paladin’s liability as provided below.
                  (a) Indemnification. The Company agrees to indemnify, defend and hold harmless Paladin, the CRO,
             Paladin Personnel, and their respective affiliates, former and present members, managers, insurers, directors,
             officers, employees, agents, independent contractors and controlling persons (each an "Indemnified Party" and
             collectively, the "Indemnified Parties") to the fullest extent permitted by law against any and all actual or
             threatened liabilities, losses, judgments, proceedings, litigations, or expenses (including legal fees and other
             costs reasonably incurred, including expert witness and investigator fees) (collectively, “Indemnified Claims”),
             arising out of or relating to (i) the Services performed under this Agreement, (ii) Paladin’s or the CRO’s
             involvement with the Company or its operations, or (iii) the Company’s restructuring efforts generally; provided
             that indemnity in the preceding sentence shall not apply to any loss, claim, damage, liability or expense to the
             extent it is found in a final judgment by a court of competent jurisdiction (not subject to further appeal) to have
             resulted primarily and directly from such Indemnified Party's gross negligence or willful misconduct.
             Promptly after receipt by an Indemnified Party of notice of its involvement in any threatened or actual action,
             matter, proceeding or investigation to which this Section might apply, the Indemnified Party shall, if a claim for
             indemnification in respect thereof is to be made hereunder, notify the Company of such involvement. Failure by
             an Indemnified Party hereunder to so notify the Company shall not relieve the Company from its obligations
             under this Section, except to the extent that the Company suffers actual prejudice as a result of such failure.
             The Indemnified Party shall have the option to control the defense of any Indemnified Claim, subject to
             reasonable consultation with the Company; in the event that the Indemnified Party so elects, the Company
             shall promptly advance or commence payment of any and all fees, expenses, and amounts incurred or to be
             incurred by the Indemnified Party in connection with the Indemnified Claim, in such frequency and amounts so
             as to ensure that the Indemnified Party does not pay any such amounts directly. In the event that the
             Indemnified Party elects for the Company to assume the defense of any Indemnified Claim:
                         i. the counsel selected by the Company for such defense shall be reasonably satisfactory to the
                            Indemnified Party;
                        ii. the Indemnified Party shall have the right to participate in such action or proceeding and to
                            retain its own counsel, but the Company shall not be liable for any legal expenses of other
                            counsel subsequently incurred by the Indemnified Party in connection with the defense thereof
                            unless (a) the Company has agreed to pay such fees and expenses, or (b) the Company shall
                            have failed to employ counsel reasonably satisfactory to the Indemnified Party in a timely
                            manner; and
                        iii. The Company shall not consent to the terms of any compromise or settlement of any
                             Indemnified Claim without the prior written consent of the Indemnified Party, which shall not be
                             unreasonably withheld or delayed.
             In the event that the parties dispute whether a claim, proceeding, or litigation constitutes an Indemnified
             Claim, the Company shall treat such claim, proceeding or litigation as an Indemnified Claim and honor its
             defense obligations with respect thereto until and unless a court of competent jurisdiction determines in a
             final, non-appealable order or judgment that the claim, proceeding, or litigation does not qualify for defense
             under this Section; in that event, the Indemnified Party shall be required to repay any out-of-pocket expenses
             or amounts previously paid by the Company as part of its defense obligations under this Section.
                 (b) Limitation of Liability. No Indemnified Party shall be liable (directly or indirectly, in contract or tort or
             otherwise) to the Company (including its successors and creditors) for any claim arising out of or relating to this
             Agreement, including any acts or omissions committed by Paladin Personnel in the performance of the
             Services. Notwithstanding the above, an Indemnified Party may be liable for such losses, claims, damages,

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             liabilities or expenses if they are found by a court of competent jurisdiction in a final judgment not subject to
             further appeal to have resulted primarily and directly from such Indemnified Party's gross negligence or willful
             misconduct or breach of Paladin’s obligations under this Agreement; provided that: (i) no Indemnified Party will
             have any liability for special, consequential, incidental or exemplary damages or loss (including lost profits,
             savings or business opportunity); and (ii) the Indemnified Parties’ aggregate liability is limited to and shall not
             exceed the total fees paid to Paladin by the Company for Services under this Agreement.
                 (c) Additional Indemnification and/or Insurance of the CRO.
                         i. Indemnification of CRO. The Company shall indemnify the CRO to the same extent as the most
                            favorable indemnification it extends to its officers or managers.
                        ii. Within thirty (30) days of the CRO’s appointment, the Company shall purchase, at its sole cost
                            and expense, a Side A Directors and Officers insurance policy with the CRO as the sole
                            beneficiary, with policy limits agreeable to the CRO from a carrier an subject to terms and
                            conditions acceptable to the CRO.
                 (d) The Company agrees that it will not, without the prior consent of the Indemnified Party, settle or
                     compromise or consent to the entry of any judgment in any pending or threatened claim, action, suit or
                     proceeding in respect of which such Indemnified Party seeks indemnification hereunder (whether or
                     not such Indemnified Party is an actual party to such claim, action, suit or proceedings) unless such
                     settlement, compromise or consent includes an unconditional release of such Indemnified Party from
                     all liabilities arising out of such claim, action, suit or proceeding.
                  (e) The indemnification and limited liability provisions contained in this Agreement, including those
             contained in Section, shall survive and remain in full force and effect upon the termination of this Agreement
             and the filing of a petition under Chapter 7 or 11 of the United States Bankruptcy Code (or the conversion of an
             existing case to one under a different chapter).
                  (f) The rights provided herein are in addition to and shall not be deemed exclusive of any other rights to
             which the Indemnified Parties may be entitled under this Agreement, applicable law or otherwise. The Parties
             agree that failure by the Company to honor its obligations under this Section will result in irreparable harm and
             injury to the affected Indemnified Party that monetary damages will not be sufficient to address. As such, the
             Company agrees that, in addition to any and all remedies provided hereunder, breach of this Section shall
             entitle the Indemnified Parties to injunctive and other equitable relief deemed appropriate by a court of
             competent jurisdiction, without the need for entry of a bond or other security.
             10. Conflicts
                  Paladin is not currently aware of any relationships with other clients that create actual or potential conflicts
             of interest with the Company. However, because Paladin serves clients on an international basis, it is possible
             that Paladin has rendered services to entities or individuals who are in competition with the Company or whose
             interests potentially conflict with the Company’s interests, including creditors of the Company. Nothing in this
             Agreement prevents Paladin from providing services to such other entities or individuals now or in the future,
             provided Paladin makes appropriate arrangements to ensure that the confidentiality of the Company’s
             information is maintained. Further, Paladin will not represent the interests of any entities or individuals whose
             interests are known by Paladin to directly conflict with the Company’s interests in connection with any matter in
             which Paladin is currently providing services to the Company.
             11. Confidential Information
                  Paladin acknowledges and agrees that Paladin Personnel will have access to certain Confidential
             Information belonging to the Company the disclosure or the use of which in a manner that does not serve the
             interests of the Company will cause irreparable damage and loss to the Company. For these reasons, Paladin
             covenants and agrees as follows:
                 (a) Use of Confidential Information. Except as otherwise expressly provided herein, Paladin will use the
             Confidential Information only in connection with the performance of the Services. Paladin will use reasonable
             efforts to maintain the confidentiality of the Confidential Information.
                 (b) Confidential Information.
                         i. “Confidential Information” means any data or information that is proprietary to the Company

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                            and/or its affiliates that is not generally known to the public, whether in tangible or intangible
                            form, in any and all mediums, including, but not limited to: (i) financial information, projections,
                            operations, sales estimates, business plans and performance results, marketing strategies, and
                            business plans; (ii) plans for products or services, and customer or supplier lists; (iii) any
                            scientific or technical information, invention, design, process, procedure, formula, improvement,
                            technology or method; (iv) any concepts, reports, data, know-how, works-in-progress, designs,
                            development tools, specifications, computer software, source code, object code, flow charts,
                            databases, inventions, information and trade secrets; (v) any other information that should
                            reasonably be recognized as confidential information of the Company; and (vi) any Work Product
                            excluding the Engagement Tools (as those terms are defined in Section 13). Confidential
                            Information need not be novel, unique, patentable, copyrightable or constitute a trade secret in
                            order to be designated Confidential Information.
                        ii. Confidential Information shall not include information which: (i) was lawfully possessed by
                            Paladin prior to receiving the Confidential Information from the Company; (ii) becomes rightfully
                            known by Paladin from a third-party source not under an obligation to Company to maintain
                            confidentiality; (ii) is generally known by the public through no fault of or failure to act by Paladin
                            inconsistent with its obligations under this Agreement; (iv) is required to be disclosed in a
                            judicial or administrative proceeding, or is otherwise requested or required to be disclosed by
                            law or regulation, although the requirements of paragraph 5 hereof shall apply prior to any
                            disclosure being made; and (v) is or has been developed by employees, consultants or agents of
                            Paladin without violation of the terms of this Agreement, including the Engagement Tools.
                  (c) Permitted Disclosures. Paladin may disclose Confidential Information: (i) to third parties in
             connection with the performance of its services under this Agreement so long as such disclosures are made
             pursuant to a confidentiality agreement in form and substance satisfactory to the Company or otherwise with
             the knowledge and consent of the Company; (ii) in connection with any dispute between Paladin and the
             Company under or concerning this Agreement, and (iii) pursuant to any request by FINRA, the Securities and
             Exchange Commission or any other regulatory authority, or pursuant to any order, subpoena or other regulatory
             or legal process. Paladin shall have the unrestricted right to use and disclose the Engagement Tools, and
             Paladin shall have the right to use the Company's name and logo, and to provide a description of the services
             provided by Paladin under this Agreement, in Paladin's public marketing materials.
                  (d) Compelled Disclosure of Confidential Information. In the event that Paladin becomes legally compelled
             to disclose any Confidential Information, to the extent practicable and permitted by applicable law, Paladin
             shall provide the Company with prompt notice thereof prior to any disclosure of Confidential Information so
             that the Company may contest such requirement or seek a protective order or other appropriate remedy.
             Paladin shall use its reasonable best efforts to assist Company in such efforts. In the event that disclosure is
             required, Paladin will furnish only that portion of the Confidential Information which is legally required.
                  (e) Warranty Regarding Authority to Disclose Confidential Information, Indemnification. The Company
             represents and warrants to Paladin that it has the authority to disclose the Confidential Information to Paladin
             and agrees to indemnify and defend Paladin against any claims or liability arising out of the Company’s
             disclosure of the Confidential Information to Paladin and/or Paladin’s use and disclosure of the Confidential
             Information pursuant to and in accordance with this Agreement.
                  (f) Survival. The rights and obligations of the Parties under this Agreement shall survive the termination
             of this Agreement and remain binding for a period of one (1) year from the termination date.
                  (g) Injunctive Relief. Paladin acknowledges and agrees a violation of this Agreement could cause
             irreparable injury to the Company and as there is no adequate remedy at law for such violation, the Company
             may, in addition to any other remedies available to it at law or in equity, enjoin Paladin in a court of equity for
             violating or threatening to violate this Agreement.
                (h) Ownership of Confidential Information. All Confidential Information disclosed to Paladin by the
             Company shall remain the property of the Company.
                 (i) Return or Destruction of Confidential Information. Upon written request of the Company, Paladin shall
             promptly return to the Company all Confidential Information and documents received or otherwise obtained
             from the Company and all copies and excerpts of the same. Upon written request of the Company, Paladin


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             shall also permanently destroy all electronic and digital versions of the Confidential Information and the
             documents.
                  (j) This Agreement shall supersede any preexisting Confidentiality and/or Nondisclosure of Confidential
             Information Agreement between Paladin and the Company.
             12. Work Product; Engagement Tools
                 (a) Work Product. Work Product refers to all work product created or produced by Paladin Personnel
             directly for the Company and delivered to the Company as part of this Engagement, including advice, analyses,
             financial models, reports, strategies, plans, proposals, and presentation materials.
                 (b) Engagement Tools. Engagement Tools includes all methodologies, processes, techniques, ideas,
             concepts, know-how, procedures, software, templates, models and other intellectual property created,
             acquired or developed by Paladin Personnel independently of or in connection with this Engagement that are
             employed by Paladin Personnel in the development and creation of the Work Product.
                 (c) Ownership and License. The Engagement Tools are the sole and exclusive property of Paladin. The
             Company shall not acquire any interest in the Engagement Tools except that Paladin grants the Company a
             royalty free, worldwide, perpetual, non-transferable license to use the Engagement Tools to the extent they are
             contained in the Work Product. The Work Product, excluding the Engagement Tools contained therein, is the
             sole and exclusive property of the Company.
                  (d) No Third-Party Beneficiaries. The Work Product is intended solely for the use and benefit of the
             Company and this Agreement shall not be interpreted as conferring any rights on any other individual as a
             third-party beneficiary or otherwise.
                 (e) Time and Data Sensitive Material. The Company acknowledges that the appropriateness, accuracy
             and reliability of the Work Product is specific to factors existing at the time the Work Product is developed and
             that any changes in those factors including those resulting from the passage of time, and any modifications to
             the Work Product can materially affect the appropriateness, accuracy and reliability of the Work Product.
                 (f) Non-Disclosure. The Company covenants and agrees not to disclose Work Product to any persons
             other than the Company’s equity holders, board members, managers, officers, employees, attorneys, agents
             and other representative, unless:
                         i. Paladin consents to the disclosure;
                        ii. The Work Product contains no material modifications that have not been approved by Paladin;
                            and
                        iii. The disclosure includes a disclaimer approved by Paladin.
                  (g) Non-Responsibility; Indemnification. Neither Paladin nor any Indemnified Party (as defined in the
             Section entitled “Insurance, Indemnification & Limitation of Liability”) shall be liable for, and the Company shall
             indemnify, defend, and hold the Indemnified Parties harmless against, any claims, damages or expense,
             including attorney fees, arising out of the disclosure of Work Product by the Company or any of its
             representatives that is not authorized pursuant to subparagraph (f).
             13. Alternative Dispute Resolution Procedure
                  Any controversy or claim arising out of or relating to this Agreement, or any breach thereof, shall be settled
             by arbitration seated in New York, New York. The physical location of the arbitration hearings shall be held in
             New York, New York, unless the Parties agree otherwise. All proceedings, filings, and statements made in such
             arbitration shall be confidential. The arbitration shall be administered by the American Arbitration Association
             in accordance with its Commercial Arbitration Rules and, with respect to discovery and the taking of evidence,
             the International Bar Association’s Rules on the Taking of Evidence in International Arbitration (the “IBC
             Rules”). Notwithstanding the IBC Rules, however, the Parties shall be entitled to up to twenty-five (25) written
             requests for admission (“RFA’s”) and up to two (2) depositions, each without leave of the arbitral tribunal. The
             deponent’s attendance may be compelled by either request to the arbitral tribunal or order from a court of
             competent jurisdiction. Failure by either Party to timely respond to RFA’s shall be deemed an admission to
             such RFA’s. Failure by either Party to participate in the arbitration (including failure to attend a properly
             scheduled deposition, conference, or hearing) shall be deemed default and consent to the immediate entry by

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             the arbitral tribunal of an award in favor of the other Party in an amount equal to the maximum damages
             reasonably requested by such Party (giving all possible deference to the Parties’ limited ability to prove
             damages in the absence of the other Party’s participation). The arbitral tribunal shall immediately enter such
             award upon request by the participating Party. Any award granted to a Party pursuant to an arbitration in
             accordance with this Agreement shall be enforceable in foreign jurisdictions in the manner contemplated by
             the Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the “New York Convention”).
             Notwithstanding the foregoing, any Party may seek and obtain injunctive and other equitable relief from a court
             of competent jurisdiction to enforce the provisions of this Agreement without first seeking or obtaining any
             decision of the arbitral tribunal, with respect to the subject matter of this Agreement.
             14. Company’s Joint and Several Liability; Right of Setoff
                 If the Company consists of one or more individuals or entities, then the Company’s obligations under this
             Agreement shall be joint and several obligations of each individual or entity comprising the “Company.” Each
             such individual or entity shall execute this Agreement. Without limiting any other remedy that may be available
             to Paladin under this Agreement or applicable law, where the “Company” under this Agreement consists of
             more than one individual or entity, then Paladin shall have against each such individual or entity a right of
             setoff (notwithstanding any lack of mutuality) under which Paladin may set off against any claim against
             Paladin by any individual or entity comprising the Company group, all of the claims that Paladin may have
             against any or all of the individuals or other entities that comprise the Company.
             15. Attorneys’ Fees and Expenses
                 In the event of any dispute arising from or relating to these terms or the Agreement, Paladin and the CRO
             shall be entitled to reimbursement of any and all reasonable costs, damages, and expenses, including
             attorneys' fees, expended or incurred in connection with such dispute (whether or not Paladin is the
             substantially prevailing party).
             16. Consent; Entire Agreement
                 In any instance under this Agreement where a party’s consent is permitted or required to be given, such
             consent shall not be withheld unreasonably. This Agreement contains the entire Agreement of the parties with
             respect to its subject matter and supersedes all prior agreements and understandings between the Company
             and Paladin with respect to such subject matter. Any modification of or supplement to this Agreement shall be
             effective only if such modification or supplement is in writing and signed by all parties.
             17. Multiple Originals
                  This Agreement may be executed in any number of counterparts, each of which shall be deemed an
             original, but all of which together shall constitute one and the same document. This Agreement may be
             executed by facsimile signatures or signatures forwarded via email.
             18. Governing Law; Venue
                This Agreement shall be governed by and construed and interpreted in accordance with the laws of
             Nevada (without regard to conflict of laws principles). Venue for all purposes shall be Washoe County, Nevada.




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                                                               CLIENT LIST
                                                               -Attached-




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                                                               Schedule 1

                                  Company
                                  iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                                  Icap Pacific NW Management, LLC
                                  Vault Holding, LLC
                                  iCap Vault Management, LLC
                                  iCap Vault, LLC
                                  iCap Vault I, LLC
                                  Vault Holding 1, LLC
                                  iCap Investments, LLC
                                  iCap Pacific Northwest Opportunity and Income Fund, LLC
                                  iCap Equity, LLC
                                  iCap Pacific Income 4 Fund,, LLC
                                  iCap Pacific Income 5 Fund, LLC
                                  iCap Northwest Opportunity Fund, LLC
                                  iCap Funding LLC
                                  iCap Management LLC
                                  iCap Pacific Development LLC
                                  iCap Holding LLC
                                  iCap Holding 5 LLC
                                  iCap Holding 6 LLC
                                  iCap Realty LLC
                                  725 Broadway, LLC
                                  Senza Kenmore, LLC
                                  iCap Campbell Way, LLC
                                  UW 17TH AVE,LLC
                                  iCap Broadway, LLC
                                  VH 1121 14TH LLC
                                  VH Senior Care LLC
                                  VH Willows Townhomes LLC
                                  iCap @ UW, LLC
                                  VH 2nd Street Office LLC
                                  VH Pioneer Village LLC
                                  CS2 Real Estate Development LLC
                                  Lofts@Camas Meadows Phase I, LLC
                                  Lofts@Camas Meadows Phase II, LLC




             BN 78827470v1


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 Fill in this information to identify the case and this filing:


 Debtor Name    iCap Pacific Development, LLC
 United States Bankruptcy Court for the: Eastern                     District of Washington
                                                                                 State)

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

             Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.




       Executed on         09/30/2023                        
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  Lance Miller
                                                                  Printed name


                                                                  Manager
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

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      Fill in this information to identify the case:

      Debtor name iCap Enterprises, Inc, and affiliated Debtors

      United States Bankruptcy Court for the: Eastern                       District of Washington

      Case number (If known):
                                                                                      (State)
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete                 Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code           email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                   contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated, total claim amount and deduction for value of
                                                                                    services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if   Deduction         Unsecured
                                                                                                                          partially         for value of      claim
                                                                                                                          secured           collateral or
                                                                                                                                            setoff
     Yongzhi Liang                         bonniebinbin@126.com                     Money Loaned
1    103-2-1105, Bai Zi Wan Home, Chaoyang
     District
     Beijing, Beijing 100124                                                                                                                                     $10,543,746.61
     China

     Mingyi Hu                              cansolh@gmail.com                       Money Loaned
2
     Room 2606, Qinzhou Mansion, No.6, Lane
     111, Qinzhou Road
     Shanghai
     China                                                                                                                                                        $9,619,348.65

     CWN Holdings Limited                         Lin Lan Sun                       Money Loaned
3
     Trinity Chambers, PO Box 4301                sun2015@vip.163.com
     Road Town, Tortola
     British Virgin Island                                                                                                                                        $5,000,011.40

     Devont Capital Limited                       Lin Lan Sun                       Money Loaned
4
     PO Box 4301, Road Town                       sun2015@vip.163.com
     Tortola, British Virgin Islands
     British Virgin Islands                                                                                                                                       $4,106,119.25

     Sinolite Industrial Co.                      Zhanyun Zheng                     Money Loaned
5    Bldg DEF, 19th Floor, Zhejiang Wuchan        kassy@sinolite.net
     Intl Plaza
     No.445 Kaixuan Road, Jianggan District
     Hangzhou                                                                                                                                                     $3,727,518.70
     China
     Cooperativa De Seguros Multiples             Ramon A. Rodriguez Rosa           Money Loaned
6
     PO Box 363846                                787-622-8585
     San Juan, PR 00936                           ramonr@segurosmultiples.com
                                                                                                                                                                  $2,765,640.46

     Ruihua Ji                                                                      Money Loaned
7    No. 11, Lane 688, Pingji Road, Minhang
     District                                     jiruihua@gmail.com
     Shangai, Shangai 201100                                                                                                                                      $2,678,960.88
     China



    Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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Debtor:     iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
            Name




      Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
      mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                    contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated, total claim amount and deduction for value of
                                                                                  services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if   Deduction         Unsecured
                                                                                                                        partially         for value of      claim
                                                                                                                        secured           collateral or
                                                                                                                                          setoff

      Zheng Revocable Foreign Grantor Trust       Greg Bowman                     Money Loaned
8
      7307 N Division St. Suite 303               kassy@sinolite.net
      Spokane, WA 99208                           aburgeson@nwtrustee.com
                                                                                                                                                                $2,271,679.27

   Chunying Tian                                  wbyan1105@gmail.com             Money Loaned
9
   No. 102, 1st Floor, Unit 2, Building 11
   No. 1999 Beichen Avenue, Weiyang
   District
   Xi'an, Shanxi                                                                                                                                                $2,000,000.00
   China
   Universal Insurance Company                    Raul Ramirez                    Money Loaned
10 PO Box 71338                                   787-706-7150
   San Juan, PR 00936                             raramirez@universalpr.com
                                                                                                                                                                $2,000,000.00

   Ruzhen Zhang                              reneeyangny@gmail.com                Money Loaned
11 No.1904, Building 1, No. 1, Shangdi Xinxi
   Road
   Haidian District
   Beijing, Beijing 100085
   China                                                                                                                                                        $1,732,387.13

   Qingxiao Jiang                          nickeyjiang@163.com                    Money Loaned
12 Room 1201, Unit 2, BLD #8, Zhijing Yuan
   Xixi Cheng Yuan, Xihu District
   Hangzhou, Zhejiang 310000                                                                                                                                    $1,616,716.41
   China

   Tat Iu                                         iutat@sina.com                  Money Loaned
13 Room 2301,Block A, Gaxaly Intl Building
   167 Huancheng North Road
   Hangzhou, Zhejiang 310005                                                                                                                                    $1,422,689.57
   China

      Huimin Zhang                                dalianlfx@126.com               Money Loaned
14
      Xishan St, Building 1, Room 1-4-3
      Dalian, Liaoning 116000
      China                                                                                                                                                     $1,419,998.33

   Kun Wang                                  mayandmay@sina.com                   Money Loaned
15 No.144, Building 14, No.6 Crouching Tiger
   Bridge
   Haidian District
   Beijing, Beijing 100044
   China                                                                                                                                                        $1,315,140.86

   Zhuhua Li                                      springzhang66@gmail.com         Money Loaned
16 17225 NE 126th Pl
   Redmond, WA 98052
                                                                                                                                                                $1,296,196.01

   Ping Zhang                                     joannaheart@163.com             Money Loaned
17 Room 252, Unit 2, No. 67 East Orchard
   Tongzhou District
   Beijing, Beijing 101116                                                                                                                                      $1,258,981.43
   China




     Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
                    23-01271-11                Doc 1        Filed 09/30/23         Entered 09/30/23 12:11:26                        Pg 29 of 314
Debtor:   iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
          Name




    Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
    mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if   Deduction         Unsecured
                                                                                                                      partially         for value of      claim
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

   Yunhua Liu                                   443-256-8594                    Money Loaned
18 1155 Northeast 55th Street                   1669043402@qq.com
   Seattle, WA 98105
                                                                                                                                                              $1,050,000.00

   Robert W. Alfini                             847-259-1871                    Money Loaned
19 419 E. Orchard St.                           bobalfini@aol.com
   Arlington Heights, IL 60005
                                                                                                                                                              $1,019,207.88

   Thomas and Jodi Temple w/ rights of          Thomas Temple                   Money Loaned
20 survivorship                                 484-467-3373
   21 Sycamore Ln.                              tom_temple@me.com
   Chester Springs, PA 19425                                                                                                                                  $1,015,984.76

   Azure Blue Service Limited                   Xueqin Yang                     Money Loaned
21 Trinity Chambers, PO Box 4301, Road          sun2015@vip.163.com
   Town
   Tortola, British Virgin VG1110
                                                                                                                                                              $1,000,002.08
   United Kingdom

   Peng Lyu and Li Tan                          Peng Lyu                        Money Loaned
22 1124 E Lake Sammamish Pkwy NE                lilian.tan@maxsolution.com.cn
   Sammamish, WA 98074
                                                                                                                                                              $1,000,000.00

   Shiying Chen                                 8407046@qq.com                  Money Loaned
23 1102, unit 1, building 5, Mingliyuan
   Xixi Chengyuan, Xihu District
   Hangzhou, Zhejiang 310012                                                                                                                                    $946,390.95
   China

   Ching-Ping Hu (Grace Shin)                   Ching-Ping Hu                   Money Loaned
24 3rd Flr, No. 143, Section 6                  jessica.cp.hu@gmail.com
   Nanjing East Road, Neihu District
   Taipei City, Taiwan 114                                                                                                                                      $942,299.35

   Barry M. Abzug Revocable Trust               Barry Abzug                     Money Loaned
25 1949 Leonard Road Falls Church               barry.abzug@verizon.net
   Falls Church, VA 22043
                                                                                                                                                                $902,229.86

   Yi Xia                                       xyi9458@gmail.com               Money Loaned
26 Building no.8, Lane 600
   Fei Hong Road, Yangpu District
   Shanghai, Shanghai                                                                                                                                           $880,307.51
   China

   Steven W. Shaw                               (860) 538-2347                  Money Loaned
27 11 River Park Drive                          dr.shaw@shawchiropractic.com
   Cormwell, CT 06416
                                                                                                                                                                $793,689.54




  Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 3
                  23-01271-11                Doc 1        Filed 09/30/23         Entered 09/30/23 12:11:26                        Pg 30 of 314
Debtor:   iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
          Name




    Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
    mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if   Deduction         Unsecured
                                                                                                                      partially         for value of      claim
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

   Junming Chen                                 jimmy@fsiheater.com             Money Loaned
28 10-2-402 Zhichengyuan Xixichengyuan,
   Xihu Dist.
   Hangzhou, Zhejiang 310030
   China                                                                                                                                                        $765,912.14

   Elizabeth Plaza                              eplaza@sconsultantsint.com      Money Loaned
29 1121 Parrotts Cove Rd
   Greensboro, GA 30642

                                                                                                                                                                $750,000.00

   Yulan Ren                                miloyezhu@gmail.com                 Money Loaned
30 No. 5, Building 15, Meidu Huating
   76 Lianhua North Road
   Dujiangyan City, Sichuan Province 611800
   China                                                                                                                                                        $730,063.95




  Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 4
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                    IN THE UNITED STATES BANKRUPTCY COURT

                    FOR THE EASTERN DISTRICT OF WASHINGTON

In re:                                                Chapter 11

ICAP ENTERPRISES, INC., et al.,1                      Case No. 23-_____ (___)

                Debtors.                              (Joint Administration Requested)




                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
iCap Enterprises, Inc., a Washington corporation, (“iCap”) and the affiliated debtors and debtors
in possession (each a “Debtor”), hereby state as follows:

        1.       The ownership chart that follows identifies all entities having a direct or indirect
ownership interest in the Debtors. Unless otherwise indicated, each entity owns 100% of those
entities falling directly below it in the ownership chart.

                            [Remainder of Page Intentionally Left Blank]




1
  The last four digits of iCap’s federal tax identification number are 0913. The mailing address
for iCap is P.O. Box 53232, Bellevue, WA 98015. Due to the large number of debtors in these
cases, for which the Debtors have requested joint administration, a complete list of the Debtors,
the last four digits of their federal tax identification numbers, and their addresses are not
provided herein. A complete list of such information may be obtained on the website of the
Debtors’ proposed noticing and claims agent, at cases.creditorinfo.com/iCap, or by contacting
the proposed undersigned counsel for the Debtors.

                                                 1
BN 78727841v1


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iCap Debtor Organizational Chart
                                                                                                                                   Christopher J.
                                                                                                                                    Christensen                                                                    Box A1

     Dotted Line indicates Class A Member. Class B Units
     were not issued with respect to: (i) iCap Northwest                  100% Sole                                                                                                                100% Sole
          Opportunity Fund, LLC and (ii) iCap Pacific                     Shareholder                                                                                                              Member
       Northwest Opportunity and Income Fund, LLC
                                                                           iCap Enterprises, Inc.                                                                                                 iCap Investments, LLC
                                                                                   (WA)                                                                                                                   (WA)


 100% Sole                                                                100% Sole                                                            100% Sole
 Member                                                                   Member                                                               Member
                                                                               iCap Vault
   iCap Vault, LLC (DE)                                                     Management, LLC3                                                   iCap Equity, LLC (WA)
                                                                                  (DE)

  100% Sole                                           100% Sole                          100% Sole                                            100% Sole                 100% Sole
  Member                                              Member                             Member                                               Member                    Member
                                                                                           iCap Pacific NW
                                                           iCap Broadway, LLC                                                                   iCap Pacific Income
  iCap Vault 1, LLC (DE)                                                                  Management, LLC4                                                              iCap @UW, LLC (WA)
                                                                  (WA)                                                                            Fund 4, LLC (DE)
                                                                                                (WA)

 100% Sole                           100% Sole                                     100% Sole          100% Sole                 100% Sole
 Member                              Member                                        Member             Member                    Member
                                                                                                       iCap Northwest          iCap Pacific Northwest
    Vault Holding, LLC               Vault Holding 1, LLC               iCap Pacific Income                                                                              UW 17th Ave, LLC5,6
                                                                                                     Opportunity Fund, LLC        Opportunity and
           (DE)                             (DE)                          Fund 5, LLC (DE)                                                                                     (WA)
                                                                                                            (DE)               Income Fund, LLC (DE)

 100% Sole
 Member

    VH Property                                                                                      725 Broadway, LLC 5,6                      iCap Campbell Way,                             Senza Kenmore, LLC5,6
   Owner Entities 2,5                                                                                       (WA)                                    LLC5,6 (WA)                                        (WA)


1. Box A consists of the Class A Units holders of Senza Kenmore, LLC: (i) Devout Capital Limited, (ii) Shiyu Zhang, (iii) Qiong Huang, and (iv) Fengdi Chen.
2. VH Property Owner Entities consists of the following prop co. Debtors, all of which are Delaware limited liability companies: (i) VH Willows Townhomes, LLC; (ii) VH Senior Care, LLC; (iii) VH 1121 14th,, LLC; (iv) VH 2nd
   Street Office, LLC; and (v) VH Pioneer Village, LLC.
3. iCap Vault Management, LLC is the Manager of (i) all prop co. Debtors included in VH Property Owner Entities, (ii) Vault Holding, LLC, (iii) Vault Holding 1, LLC, and (iv) iCap Vault 1, LLC.
4. iCap Pacific NW Management, LLC is the Manager of (i) 725 Broadway, LLC; (ii) iCap Campbell Way, LLC; (iii) UW 17th Ave, LLC; (iv) Senza Kenmore, LLC; (v) iCap Pacific Income Fund 4, LLC; (vi) iCap Pacific Income Fund
   5, LLC; (vii) iCap Northwest Opportunity Fund, LLC; (viii) iCap Northwest Opportunity and Income Fund, LLC; and (viiii) iCap Equity LLC.
5. Highlighted entities in green are prop co. Debtors.
6. See property specific organizational charts for further details and ownership percentages.




                                                             23-01271-11              Doc 1         Filed 09/30/23           Entered 09/30/23 12:11:26                 Pg 33 of 314
 1       Dakota Pearce (WSBA #57011)                           HONORABLE
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 2       1420 5th Avenue, Suite 3100
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 3       Telephone: (206) 319-7052
         Email: dpearce@buchalter.com
 4
         Bernard D. Bollinger, Jr. (pro hac vice
 5       pending) (CA SBN: 132817)
         Julian I. Gurule (pro hac vice pending)
 6       (CA SBN: 251260)
         Khaled Tarazi (AZ SBN: 032446) (pro
 7       hac vice pending)
         BUCHALTER
 8       1000 Wilshire Blvd., Suite 1500
         Los Angeles, California 90017
 9       Telephone: (213) 891-0700
         Email: jgurule@buchalter.com
10
         Proposed Counsel to Debtors
11
                               UNITED STATES BANKRUPTCY COURT
12                             EASTERN DISTRICT OF WASHINGTON
13   In re:                                                      Chapter 11
14   iCAP ENTERPRISES, INC., et al.,                             Lead Case No. 23-01243-11
                                                                 Jointly Administered
15                                        Debtors.1
                                                                 CERTIFICATION OF CREDITOR
16                                                               MATRIX
17
18
19   1
      The Debtors (along with their case numbers) are iCap Enterprises, Inc. (Case No. 23-01243-11); iCap Pacific NW
     Management, LLC (Case No. 23-01261-11); iCap Vault Management, LLC (Case No. 23-01258-11); iCap Vault, LLC
20   (Case No. 23-01256-11); iCap Vault 1, LLC (Case No. 23-01257-11); Vault Holding 1, LLC (Case No. 23-01256-11);
     iCap Investments, LLC (Case No. 23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC (Case No.
21   23-01253-11); iCap Equity, LLC (Case No. 23-01247-11); iCap Pacific Income 4 Fund, LLC (Case No. 23-01251-11);
     iCap Pacific Income 5 Fund, LLC (Case No. 23-01249-11); iCap Northwest Opportunity Fund, LLC (Case No. 23-
22   01253-11); 725 Broadway, LLC (Case No. 23-01245-11); Senza Kenmore, LLC (Case No. 23-01254-11); iCap
     Campbell Way, LLC (Case No. 23-01250-11); UW 17th Ave, LLC (Case No. 23-01267-11); iCap Broadway, LLC
23   (Case No. 23-01252-11); VH 1121 14th LLC (Case No. 23-01264-11); VH Senior Care LLC (Case No. 23-01266-11);
     VH Willows Townhomes LLC (Case No. 23-01262-11); iCap @ UW, LLC (Case No. 23-01244-11); VH 2nd Street
24   Office, LLC (Case No. 23-01259-11); VH Pioneer Village LLC (Case No. 23-01263-11); iCap Funding LLC (Case No.
     23-01246-11); iCap Management LLC (Case No. 23-01268-11); iCap Realty, LLC (Case No. 23-01260-11); Vault
25   Holding, LLC (Case No. __________); iCap Pacific Development LLC (Case No. __________); iCap Holding LLC
     (Case No. __________); iCap Holding 5 LLC (Case No. __________); and iCap Holding 6 LLC (Case No.
26   __________).


         CERTIFICATION OF CREDITOR MATRIX                                                  BUCHALTER
                                                                                       1420 FIFTH AVENUE, SUITE 3100
                                                                                         SEATTLE, WA 98101-1337
                                                                                         TELEPHONE: 206.319.7052
     BN 78737701v1
     23-01271-11      Doc 1     Filed 09/30/23       Entered 09/30/23 12:11:26            Pg 34 of 314
 1           Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, the
 2   above captioned Debtor hereby certifies that the Creditor Matrix submitted herewith
 3   contains the names and addresses of the Debtor’s creditors. To the best of the Debtor’s
 4   knowledge, the Creditor Matrix is complete, correct, and consistent with the Debtor’s
 5   books and records.
 6           The information contained herein is based upon a review of the Debtor’s books
 7   and records as of the petition date. However, no comprehensive legal and/or factual
 8   investigations with regard to possible defenses to any claims set forth in the Creditor
 9   Matrix have been completed. Therefore, the listing does not, and should not, be deemed
10   to constitute: (1) a waiver of any defense to any listed claims; (2) an acknowledgement
11   of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
12   position of the Debtor.
13
14
15
16
17
18
19
20
21
22
23
24
25
26


      CERTIFICATION OF CREDITOR MATRIX                                        BUCHALTER
                                                                          1420 FIFTH AVENUE, SUITE 3100
                                                                            SEATTLE, WA 98101-1337
                                                                            TELEPHONE: 206.319.7052
     BN 78737701v1
     23-01271-11     Doc 1   Filed 09/30/23   Entered 09/30/23 12:11:26      Pg 35 of 314
725 BROADWAY, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP BROADWAY, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP CAMPBELL WAY, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP ENTERPRISES INC F/K/A ALTIUS
PO BOX 53232
BELLEVUE, WA 98015

ICAP EQUITY, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP INVESTMENTS, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP NORTHWEST OPPORTUNITY FUND, L
PO BOX 53232
BELLEVUE, WA 98015

ICAP PACIFIC INCOME 4 FUND,, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP PACIFIC INCOME 5 FUND, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP PACIFIC NW MANAGEMENT, LLC
PO BOX 53232
BELLEVUE, WA 98015




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ICAP PACIFIC NW OPPORTUNITY & INCO
PO BOX 53232
BELLEVUE, WA 98015

ICAP VAULT I, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP VAULT MANAGEMENT, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP VAULT, LLC
PO BOX 53232
BELLEVUE, WA 98015

ICAP@UW, LLC
PO BOX 53232
BELLEVUE, WA      98015

SENZA KENMORE, LLC
PO BOX 53232
BELLEVUE, WA 98015

UW 17TH AVE,LLC
PO BOX 53232
BELLEVUE, WA 98015

VAULT HOLDING 1, LLC
PO BOX 53232
BELLEVUE, WA 98015

VAULT HOLDING, LLC
PO BOX 53232
BELLEVUE, WA 98015

VH 1121 14TH ST LLC
PO BOX 53232
BELLEVUE, WA 98015




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VH 2ND STREET OFFICE LLC
PO BOX 53232
BELLEVUE, WA 98015

VH PIONEER VILLAGE LLC
PO BOX 53232
BELLEVUE, WA 98015

VH SENIOR CARE LLC
PO BOX 53232
BELLEVUE, WA 98015

VH WILLOWS TOWNHOMES LLC
PO BOX 53232
BELLEVUE, WA 98015

BUCHALTER
ATTN: B.D. BOLLINGER, J. GURULE
1000 WILSHIRE BLVD, SUITE 1500
LOS ANGELES, CA 90017-1730

BUCHALTER
ATTN: KHALED TARAZI
15279 N SCOTTSDALE ROAD, SUITE 400
SCOTTSDALE, AZ 85254-2659

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220 FIRST AVENUE, LLC
PO BOX 3907
BELLEVUE, WA 98009

4740, LTD
4740 CHAPEL HILL RD
DALLAS, TX 75214

5K FOR THE FALLEN
ADDRESS UNAVAIL AT TIME OF FILING




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5K PARTNERS LTD.
319 E HICKORY RIDGE CIR
ARGYLE, TX 76226

725 BROADWAY LLC
3535 FACTORIA BLVD SE #500
BELLEVUE, WA 98006

A&S DIIESO NOMINEE TRUST U/A 10/9/
23 DESMOND AVE.
WATERTOWN, MA 02472

A3 ACOUSTICS, LLP
241 S LANDER ST. SUITE 200
SEATTLE, WA 98134

AAR TESTING LABORATORY, INC
7126 180TH AVE NE, SUITE C101
REDMOND, WA 98052

AARON AND CHRISTY GURLEY
721 HILDEBRAND CIRCLE
FOLSOM, CA 95630

AARON SARNA AND TALYA HOUSMAN
322 HARVARD ST.
CAMBRIDGE, MA 02139

AARON VAUGHAN
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ABLE SPIFFY BIFFY
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FALL CITY, WA 98024

ABM
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ABOSSEIN ENGINEERING CORP
18465 NORTHEAST 68TH STREET
REDMOND, WA 98052

ABOVE & BEYOND FENCING
5931 238TH STREET SOUTHEAST
STE 1C
WOODINVILLE, WA 98072

ABRAHAM AND MARIAMMA PETER
47 BROAD AVENUE
PARAMUS, NJ 07652

ACCOUNT TEST
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ACCOUNTEMPS A ROBERT HALF COMPANY
PO BOX 743295
LOS ANGELES, CA 90074-3295

ACKERSON FAMILY LIVING TRUST
4685 AMANDA CT
PLANO, TX 75024

ACME (SAMPLE)
10 MAIN RD
NEW YORK, NY 31349

ACRE CAPITAL
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ACY - DEUCY CRANE SERVICE
3424 SOUTH 256TH STREET
KENT, WA 98032

ADAM AND ALYSON TROUTMAN
2315 ASH LANE
NORTHBROOK, IL 60062




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ADAM B AND SANDRA K YOUNKER
1112 THOMPSON AVE
LEHIGH ACRES, FL 33972

ADAM B YOUNKER
1112 THOMPSON AVE
LEHIGH ACRES, FL 33972

ADISA
10401 NORTH MERIDIAN STREET
SUITE 202
INDIANAPOLIS, IN 46290

ADP, INC
255 S KING ST
SEATTLE, WA 98134

ADVANCED STRATEGIES, INC.
362 NORTH MAIN STREET
HURON, OH 44839

ADVANTA
PO BOX 660676
DALLAS, TX 75266-0676

ADVANTAGE UTILITY CONSULTING,LLC
PO BOX 748
MONROE, WA 98272

ADVISORS ON CALL LLC
23276 SOUTH POINTE DRIVE, STE 209
LAGUNA HILLS, CA 92653

ADVISORY GROUP EQUITY SERVICE, LTD
444 WASHINGTON STREET, SUITE 407
WODBURN, MA 01801

ADVISORY GROUP EQUITY SERVICES
10-12 PHOENIX ROW
HAVERHILL, MA 01832




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AFFIRMA CONSULTING, LLC
3380 146TH PL, SE, STE 200
BELLEVUE, WA 98007

AFH SENIOR CARE C CORP
405 SW 41ST ST SUITE #407
RENTON, WA 98057

AGGREKO INC
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AGORAPULSE
132 RUE DE RIVOLI
PARIS, 75001
FRANCE

AGV CONSTRUCTION LLC
31920 162ND PLACE SOUTHEAST
AUBURN, WA 98092

AHLERS CRESSMAN & SLEIGHT PLLC
999 3RD AVENUE, SUITE 3800
SEATTLE, WA 98104

AHMAD S MAZUMDER
ADDRESS UNAVAIL AT TIME OF FILING

AI INSIGHT
659 HIGH ST.
WORTHINGTON, OH 43085

AIDA ILIYA ESTATE
441 LIBERTY ST
SAN FRANCISCO, CA 94114

AIRLINK HOLDING LLC
ADDRESS UNAVAIL AT TIME OF FILING

AIRLINK MARKETS LLC
ADDRESS UNAVAIL AT TIME OF FILING




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AJMP ANESTHESIA SERVICES RETIREMEN
CARRION COURT ST. #6 APT 704,
COND CARRION COURT PLAZA
SAN JUAN, PR 00911

ALAN C PURSLEY & KATHY L PURSLEY
702 DURHAM COURT
SAN ANGELO, TX 96073

ALAN DEMAR
612 STANFORD LANE
BUFFALO GROVE, IL 60089

ALAN GORSUCH
743 BROADWAY
TACOMA, WA 98402

ALAN J ROSS
15865 BABCOCK STREET
SAN DIEGO, CA 92127

ALAN SETH RUDOLPH
4539 ROCKY MOUNTAIN RD
LOVELAND, CO 80538

ALAN SULLIVAN
767 MARRON WAY
GARDNERVILLE, NV 89460

ALASKA AIRLINES INC
PO BOX 68900
SEATTLE, WA 98168

ALBERT SEWELL
96 SATINWOOD LANE
PALM BEACH GARDENS, FL 33410

ALBERT YALE & MARILYN YALE
PO BOX 4421 DOWLING PARK DRIVE
DOWLING PARK, FL 32064




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ALCHEMY REAL ESTATE
88 EAST HAMLIN STREET
SEATTLE, WA 98102

ALDRICH WEALTH LP
5946 PRIESTLY DR # 200
CARLSBAD, CA 92008

ALENE BERG
4810 E STATE RD 64
SAINT ANTHONY, IN 47575

ALENE T BERG
4810 E STATE RD 64
SAINT ANTHONY, IN 47575

ALERA MANAGEMENT GROUP
ATTN: BEN WILTGEN
5800 SW MEADOWS RD , #230
LAKE OSWEGO, OR 97035

ALFA ELECTRIC INC
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ALFONSE LEONARDIS
34 MINE HILL ROAD
HACKETTSTOWN, NJ 07840

ALICE CHANG
1201 N WILLET CIRCLE
ARAHEIM, CA 92807

ALICIA J THOMAS
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KENNETT, MO 63857

ALISA B BISHOP
5482 S COOLIDGE COURT
AURORA, CO 80016




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ALL DRYWALL SERVICES LLC
17607 32ND AVENUE EAST
TACOMA, WA 98446

ALLAN AND JANISE KLAIMAN
1602 HOLTS GROVE CIRCLE
WINTER PARK, FL 32789

ALLAN P KLAIMAN
1602 HOLTS GROVE CIRCLE
WINTER PARK, FL 32789

ALLEN D ANDERSON
8372 SE ENCHANTED WAY SPACE #266
TURNER, OR 97392

ALLEN ROBERT FINFROCK 2011 TRUST
1288 ALABAMA DR
WINTER PARK, FL 32789

ALLIANCE 2020, INC.
PO BOX 4248
RENTON, WA 98057

ALLIANT CREDIT UNION
PO BOX 1098
DES PLAINES, IL 60017-1098

ALLIED NATIONAL
PO BOX 29189
SHAWNEE MISSION, KS 66201

ALLISON SANTOS
5 WEBSTER STREET
LINCOLN, RI 02865

ALLWAYS DRYWALL & REPAIR LLC
PO BOX 1197
EATONVILLE, WA 98328




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ALMIGHTY TECH INC
1317 CYPRESS ST.
VANCOUVER, BC V6J 3L1
CANADA

ALPHA 1 PHOTO + STUDIO
14919 NE 20TH ST
BELLEVUE, WA 98007

ALPHA SOLUTIONS
5033 227TH AVE SE
ISSAQUAH, WA 98029

ALPHONSE JOHN BALTES LL
PEKING UNIV SHENZHEN GRAD SCHOOL
BLDG 2, XILI UNIVERSITY TOWN
SHENZHEN, GUANGDONG 518005 CHINA

ALTIUS DEVELOPMENT, INC.
PO BOX 3907
BELLEVUE, WA 98009

ALTIUS LEGAL, PLLC
3535 FACTORIA BLVD SE
SUITE 500
BELLEVUE, WA 98006

AM TRUST NORTH AMERICA, INC.
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CLEVELAND, OH 44101-1939

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AMARILLO SKY
1848 72ND AVE SE
MERCER ISLAND, WA 98040

AMAZON.COM, INC.
410 TERRY AVE N
SEATTLE, WA 98109-5210




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AMENDMENT AND RESTATEMENT OF THE W
DTD. 6/30/1997
233 KAVENISH ROAD
RANCHO MIRAGE, CA 92270

AMERICAN CAPITAL SECURITIES
13769 MYATT AVE.
FRISCO, TX 75035

AMERICAN CUSTOM
19405 68TH DRIVE NORTHEAST
UNIT B
ARLINGTON, WA 98223

AMERICAN LIGHTING CORP
ADDRESS UNAVAIL AT TIME OF FILING

AMERICAN METAL SPECIALTIES
ADDRESS UNAVAIL AT TIME OF FILING

AML DEVELOPMENT LLC
ADDRESS UNAVAIL AT TIME OF FILING

AMY HUDSON
3402 GARDEN SHADOW LANE
HOUSTON, TX 77018

AMY WALTON PHOTOGRAPHY
3739 138TH PLACE SOUTHEAST
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ANDREA ENGELMAN
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SCOTTSDALE, AZ 85258

ANDREA MAKS
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ANDREA PINCUS AND JONATHAN PINCUS
303 VILLAGE LANE
ROCHESTER, NY 14610

ANDREW AND MICHAEL OLSON
2132 WESTLAKE AVENUE NORTH #110
SEATTLE, WA 98109

ANDREW COSTER
708 GALLEGOS CIRCLE
ERIE, CO 80516

ANDREW DEVOLDER
3865 EAST DUBOIS AVE.
GILBERT, AZ 85297

ANDREW DINKELMEYER
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ANDREW RING
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ANDREW T MURDOCH
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ANDREW WILLETT
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MERCER ISLAND, WA 98040

ANDREW WILLINGER
125 WESTCHESTER RD
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ANDREWS FIXTURE CO
ADDRESS UNAVAIL AT TIME OF FILING

ANDY PING
ADDRESS UNAVAIL AT TIME OF FILING




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ANGEL G BERRÍOS AND IRIS A ORTIZ
PO BOX 2725
CIDRA, PR 00739-9608

ANGEL G BERRIOS CASTRODAD
RR 1 BOX 2725
CIDRA, PR 00739-9871

ANGEL OAK MORTGAGE SOLUTIONS LLC
2493 NE LAUREL CREST LN
ISSAQUAH, WA 98029

ANGELA JANE ARENDSEE
408 WATERTON CT
BRENTWOOD, TN 37027

ANGELA SCHRIMPL REVOCABLE LIVING T
62 HUNTINGTON CT
BURR RIDGE, IL 60527

ANGELA WARM
1228 HOLLOW PONE DRIVE
OVIEDO, FL 32765

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DOWNEY, CA 90240

ANITA C HENRY
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JEFFERSON, GA 30549

ANITA DELLE HERRING
PO BOX 214
MILES, TX 76861

ANJIE LI
12-101, HEJIAYUAN DINGYUAN
XIHU DISTRICT
HANGZHOU, ZHEJIANG, 242332 CHINA




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ANJU ANAND AND AMRAT ANAND
4124 CASUEWAY VISTA DR
TAMPA, FL 33615

ANN MARIE DEIASI
4054 MONTEVERDE WAY
SAN ANTONIO, TX 78261

ANN SULLIVAN
1987 GARY COURT UNIT A
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ANNETTE GOETZ
191 BAY LAUREL LANE
HENDERSONVILLE, NC 28791

ANTHONY CICCOLO
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SUDBURN, MA 01776

ANTHONY L G , PLLC
625 N FLAGLER DRIVE, STE 600
WEST PALM BEACH, FL 33401

ANTHONY THOMPSON
5655 S TROPICAL TRAIL
MERRIT ISLAND, FL 32952

ANTHONY WALLACE
12087 HIDDEN LINKS DRIVE
FORT MYERS, FL 33913

ANTONIA D CHOWDHARI AND SHAUKAT H
TENANTS BY ENTIRETY
5181 NEAL DRIVE
TAMPA, FL 33617

ANUPAM ASHOK KUMAR GUPTA & KOMAL S
TTEES OF ANUPAM ASHOK KUMAR GUPTA
480 BRIDLE CT
SAN RAMON, CA 94582




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APEX ENGINEERING LLC
2601 S 35TH ST #200
TACOMA, WA 98409

APEX SPECIALTY COATINGS, INC.
979 INDUSTRY DR
SEATTLE, WA 98188

APEXICO, LLC
625 DAVID ROAD
SANDUSKY, MI 48471

APPLIANCE SERVICE STATION INC
12546 AURORA AVE N
SEATTLE, WA 98133-8036

APPLIED PROFESSIONAL SERVICES INC.
43530 SE NORTH BEND WAY
NORTH BEND, WA 98045

ARBOR OPTIONS, LLC
21508 52ND PLACE WEST
MOUNTLAKE TERRACE, WA 98043

ARIANA HOLDINGS, LLC
PO BOX 1847
FRIDAY HARBOR, WA 98250

ARISING PROPERTIES, LLC
103 BROAD VISTA COURT
GEORGETOWN, TX 78628

ARIZONA CORPORATION COMISION, SECU
1300 WEST WASHINGTON
3RD FLOOR
PHOENIX, AZ 85007

ARLAN B AND SUEANN SHERRILL
10114 BIRDIE CT
ROWLETT, TX 75089




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ARLAN B SHERRILL
10114 BIRDIE CT
ROWLETT, TX 75089

ARNDT COMPANY
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ARNOLD CHO
14581 MEDITERRANEAN DR
FRISCO, TX 78035

ARONT MASONRY
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ARPAD FEJOS & MADELEINE FEJOS
69 BROADFIELD ROAD
HAMDEN, CT 06517

ARPAD FEJOS
69 BORADFIELD ROAD
HAMDEN, CT 06517

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ARTHUR O KAPLAN
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PELHAM, NH 03076

ARTHUR PROTAS
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PRESCOTT, AZ 86305

ARTURO BENAVENT
1490 S 22ND STREET
EL CENTRO, CA 92243




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ASAP QUALITY REPAIR, INC
19216 SE 328TH PLACE
KENT, WA 98042

ASBESTO-TEST, INC
1429 AVENUE D #187
SNOHOMISH, WA 98290

ASCENT CAPITAL
500 108TH AVENUE NORTHEAST
STE 2000
BELLEVUE, WA 98004

ASHBAUGH BEAL, LLP
701 5TH AVE.
SUITE 4400
SEATTLE, WA 98104

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ASI CAPITAL INVESTMENTS, LLC
2150 S 1300 E , SUITE 360
SALT LAKE CITY, UT 84106

ASM AFFILIATES
2034 CORTE DEL NOGAL
CARLSBAD, CA 92011

ASM AFFILIATES
2034 CORTE DEL NOGAL
CARLSBAD, CA 92011

ASPECT CONSULTING
350 MADISON AVENUE NORTH
BAINBRIDGE ISLAND, WA 98110

ASPHALT PATCH SYSTEMS, INC.
8812 CANYON ROAD EAST
PUYALLUP, WA 98371




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ASSET FINANCIAL GROUP (AFG)
ADDRESS UNAVAIL AT TIME OF FILING

ASSOCIATED EARTH SCIENCES
911 5TH AVENUE
KIRKLAND, WA 98033

ASSURE FUND MANAGEMENT, LLC
2150 S 1300 E , SUITE 360
SALT LAKE CITY, UT 84106

ASSURE HOLDINGS, LLC
2150 S 1300 E , SUITE 360
SALT LAKE CITY, UT 84106

ASYA ROSENFELD
67 BEACONWOOD RD
NEWTON, MA 02461

ATLAS GEOSCIENCES NW, LLC
PO BOX 1009
SUMNER, WA 98390

ATTORNEY`S TITLE OF WASHINGTON
3906 S 74TH STREET
TACOMA, WA 98409

ATWATER ONE, INCORPORATED
17006 22ND STREET NORTHEAST
SNOHOMISH, WA 98290

AUSDAL FINANCIAL PARTNERS
5187 UTICA RIDGE ROAD
DAVENPORT, IA 52807

AUSTIN M CAVELLI
1750 SOUTH EL CAMINO REAL #103
ENCINITAS, CA 92024




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AUTOMATED ACCOUNTS INC
430 W SHARP AVE
SPOKANE, WA 99201

AUTOMATIC WILBERT VAULT CO
ADDRESS UNAVAIL AT TIME OF FILING

AVANTAX WEALTH MANAGEMENT
ADDRESS UNAVAIL AT TIME OF FILING

AVATAR FINANCIAL GROUP
1200 WESTLAKE AVE NORTH
SUITE 1006
SEATTLE, WA 98109

AVENUE5 RESIDENTIAL LLC
901 5TH AVENUE, SUITE 3000
SEATTLE, WA 98164

AVI SURIEL
1826 BAGLEY AVE.
LOS ANGELES, CA 90035

AXIS SURVEY & MAPPING, INC.
15241 NORTHEAST 90TH STREET
REDMOND, WA 98052

AXOS CLEARING
1200 LANDMARK CENTER, SUITE 800
OMAHA, NE 68102

AZURE BLUE SERVICE LIMITED
TRINITY CHAMBERS, PO BOX 4301
ROAD TOWN
TORTOLA, BRITISH VIRGIN, VG1 110

B & R PLUMBING INC
ADDRESS UNAVAIL AT TIME OF FILING




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B E E CONSULTING, LLC
170 W DAYTON ST. SUITE 206
EDMONDS, WA 98020

B E WINTERS CO INC.
CHADWICK & WINTERS LAND SURVEYING
1422 N W 85TH ST.
SEATTLE, WA 98117

B EST PARTNERS, LTD.
600 WILKINSON ST., SUITE 300
ORLANDO, FL 32803

B R AND E LAMORRIS THOMPSON
6741 WOLTERS RD
SCHUKENBURG, TX 78956

B2
ADDRESS UNAVAIL AT TIME OF FILING

BABAROVICH BUILDERS, LLC
ADDRESS UNAVAIL AT TIME OF FILING

BAKER & HOSTETLER LLP
PO BOX 70189
CLEVELAND, OH 44190

BALANCE ARCHITECTS PLLC
22927 INDIANOLA ROAD NE
POULSBO, WA 98370

BALLARD TREE SERVICE INC
14419 GREENWOOD AVE N
SUITE A - PMB 330
SEATTLE, WA 98133

BAMBOOHR LLC
333 S 520 W
LINDON, UT 84042-1911




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BANK OF AMERICA BUSINESS CARD (DO
PO BOX 15796
WILMINGTON, DE 19886

BANKDIRECT CAPITAL FINANCE LLC
PO BOX 660448
DALLAS, TX 75266-044

BANNER BANKS
ADDRESS UNAVAIL AT TIME OF FILING

BAOGUO LONG
902 MILL CREEK N, UNIT 902
ROSLYN, NY 11576

BARBARA ANN VAN DRIEL
PO BOX 953
BANDERA, TX 78003

BARBARA B WEYMOUTH
297 OAK HILLS ROAD
BAR HARBOR, MA 04609

BARBARA BERRY
8250 N 61ST PL.
PARADISE VALLEY, AZ 85253

BARBARA ENKE
1226 VISTA SOL
PALM SPRINGS, CA 92262

BARBARA F AND MICHAEL J HOSKINS
366 ENGLEWOOD DR
KERRVILLE, TX 78028

BARBARA LEE BUCEK MOELLENBERNDT EX
U/A DATED 02/24/2012
101 N UPTON AVE
SCHULENBURG, TX 78956




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BARBARA M WILEY
4014 102ND AVE E
EDGEWOOD, WA 98371

BARBARA R DEGNAN
4157 COUNTY RD 328
PROCTOR, TX 76468

BARBARA SEITZINGER
2935 STANBRIDGE CT
BETHLEHEM, PA 18020

BARBARA SPITZOCK
14495 W WINDSOR AVE.
GOODYEAR, AZ 85395

BARCELO HOMES INC.
PO BOX 1639
MERCER ISLAND, WA 98040

BARCELO HOMES, INC
PO BOX 1639
MERCER ISLAND, WA 98040

BARGHAUSEN CONSULTING ENGINEERS IN
18215 72ND AVE S
KENT, WA 98032-1006

BARRY ABZUG
1949 LEONARD ROAD
FALLS CHURCH, VA 20043

BARRY M ABZUG REVOCABLE TRUST
1949 LEONARD ROAD FALLS CHURCH
FALLS CHURCH, VA 22043

BARRY SARNACKI
6000 ELDORADO PARKWAY #914
FRISCO, TX 75033




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BARRY SCHNEIDER
6616 RIVER BEND RD
FORTH WORTH, TX 76132

BASH CONSTRUCTION LLC
4624 29TH AVENUE NORTHEAST
TACOMA, WA 98422

BBG
600 UNIVERSITY ST. SUITE 1617
SEATTLE, WA 98101

BCRA
2106 PACIFIC AVENUE, SUITE 300
TACOMA, WA 98402

BDI INSTALLED BUILDING PRODUCTS
PO BOX 11388
BAKERSFIELD, CA 93389

BDR CAPITAL PARTNERS
ADDRESS UNAVAIL AT TIME OF FILING

BDR ISSAQUAH 15 LLC
ADDRESS UNAVAIL AT TIME OF FILING

BEACHWORKS LLC
ADDRESS UNAVAIL AT TIME OF FILING

BECKER HARDWOOD
ADDRESS UNAVAIL AT TIME OF FILING

BED BATH AND BEYOND
650 LIBERTY AVE
UNION, NJ 07083-8107

BEIJING DHH LAW FIRM
16 F S. TWR SHANGHAI STK EXCH BLDG
528 S PUDONG RD
SHANGHAI,   CHINA




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BELVIDERE
ADDRESS UNAVAIL AT TIME OF FILING

BENCHMARK RECYCLING, INC.
3024 SOUTH MULLEN STREET SUITE E
TACOMA, WA 98409

BENJAMIN BROUWER
16538 E WESTWIND CT
FOUNTAIN HILLS, AZ 85268

BENJAMIN CANNON
4518 VISTA GRANDE
ABILENE, TX 79606

BENJAMIN SCHICK
116TH 7TH AVE NE
ST. PETERSBURG, FL 33701

BENTLEY SECURITIES CORP
250 PARK AVENUE, SUITE 1101
NEW YORK, NY 10177

BENTON-FRANKLIN TITLE COMPANY
510 N COLORADO ST. STE B
KENNEWICK, WA 99336

BERG EQUIPMENT & SCAFFOLDING CO IN
2130 EAST D ST
TACOMA, WA 98421

BERING FINANCIAL
546 SILICON DRIVE #103
SOUTHLAKE, TX 76092

BERNTSON PORTER & COMPANY, PLLC
155 108TH AVE NE STE 510
BELLEVUE, WA 98004




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BERT GREENWALT
913 FAIRWAY CIRCLE
JONESBORO, AR 72401

BERTRAND L POIRIER
8790 MAPLE ASH TRAIL
LELAND, NC 28451

BERTRAND POIRIER & DIANA POIRIER
8790 MAPLE ASH TRAIL NE
LELAND, NC 28451

BETTENCOURT FAMILY REVOCABLE TRUST
377 OCEAN BLVD #6
HAMPTON, NH 03842

BETTY A HESSE
14425 SE 240TH ST.
KENT, WA 98042

BETTY DOYLENE PILLANS
1420 KARLA DR
HURST, TX 76053

BETTY INGLE TOD
4327 S OHIO STREET
ST. ANTHONY, IN 47575

BETTY YURKANIN
11596 W SIERRA DAWN BLVD #282
SURPRISE, AZ 85378

BEVERLY A BUCEK EXEMPT TRUST U/A D
106 KEUPER AVE
SCHULENBURG, TX 78956

BEVERLY ANNE RAPP
9805 CORNWELL DR
HUNTINGTON BEACH, CA 92646




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BEVERLY MOSS
2705 BRITTANY LANE
GRAPEVINE, TX 76051

BEYLER CONSULTING, LLC
5920 100TH STREET SOUTHWEST
LAKEWOOD, WA 98499

BIG MOUNTAIN ENTERPRISES LLC
PO BOX 1001
ENUMCLAW, WA 98022

BIG ROCK CAPITAL PARTNERS, LLC
ADDRESS UNAVAIL AT TIME OF FILING

BILL C NG
PO BOX #14857
SCOTTSDALE, AZ 85267

BILL WALNER
ADDRESS UNAVAIL AT TIME OF FILING

BILLIE POIROT
PO BOX 217
FORESTBURG, TX 76239

BINA AND RENATO PENAFLOR
1109 MACKIE DR
CARROLLTON, TX 75007

BINGBING MENG
BEIFUMINGYUAN, HUANAN SQ, BLDNG 7
UNIT 1, ROOM 301
DALIAN, LIAONING, 116000 CHINA

BINGQING GU
ROOM 2102, BUILDING 2, NO. 1378,
ZHONGHUA ROAD,, HUANGPU DISTRICT
SHANGHAI, 200010 CHINA




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BISMARK MORTGAGE
ADDRESS UNAVAIL AT TIME OF FILING

BITSURE AGENCY LLC
1856 S ELMHURST RD
MOUNT PROSPECT, IL 60056

BKS HOLDINGS
4500 WESTRIDGE AVE, APT #18
FORT WORTH, TX 76116

BLACK SHEEP DEVELOPMENT COMPANY
810 N 36TH ST.
SEATTLE, WA 98103

BLACK TAP
136 W 55TH ST.
NEW YORK, NY 10019

BLOOMINGWELL REAL ESTATE
ADDRESS UNAVAIL AT TIME OF FILING

BLUELINE
25 CENTRAL WAY SUITE 400
KIRKLAND, WA 98033

BOBBIE DAWN LANDER ESTATE
4516 LOVERS LANE SUITE 266
DALLAS, TX 75225

BOBENHOUSE INDUSTRIES
952 N WOOD
CHICAGO, IL 60622

BOGY`S CONSTRUCTION & LANDSCRAPING
ADDRESS UNAVAIL AT TIME OF FILING
ELLENSBURG, WA




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BOLONG HUANG
48 AIRONG RD, YONG JING WAN
BUILDING 7, UNIT 2, #28B
SHENZHEN, CHINA

BONNIE J ZULAWINSKI
8135 W BERWYN AVE.
CHICAGO, IL 60656

BOULEVARD GROUP
ADDRESS UNAVAIL AT TIME OF FILING

BOWMAN CREEK CONTRACTING, LLC
PO BOX 2234
TACOMA, WA 98401

BOYD AND MICHELE TAYLOR
3410 WILLIAMS DR, SUITE 420.214
MONTROSE, CO 81401

BOYER ELECTRIC
ADDRESS UNAVAIL AT TIME OF FILING

BRADLEY DESIGN GROUP, INC.
4330 N LEXINGTON STREET
TACOMA, WA 98407

BRADLEY LAWRENCE PRIVATE CAPITAL
ADDRESS UNAVAIL AT TIME OF FILING

BRADLEY VAN VECHTEN
ADDRESS UNAVAIL AT TIME OF FILING

BRADLEY WEALTH MANAGEMENT
4422 N 75TH STREET, SUITE 8001
SCOTTSDALE, AZ 85251

BRALEY-GRAY & ASSOCIATES INC
2818 E 2ND ST
VANCOUVER, WA 98661




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BRALEY-GRAY
ADDRESS UNAVAIL AT TIME OF FILING

BRANDON AND ANDREA WOLFE
567 PEBBLE BND
NEW BRAUNFELS, TX 78130

BRANDON N TZOU
22704 SE 51ST ST
ISSAQUAH, WA 98029

BRENDA GARD
125 BRIARCLIFF DR
MONETA, VA 24121

BRENDA L REID
6004 PEDERNALES RIDGE
NORTH RICHLAND HILLS, TX 76180

BRENT A & KIMBRA L BISHOP
PO BOX 232
MEGORGEL, TX 76370

BRENT B AND KARLA M BERRY
1195 COUNTY RD 3545
HONEY GROVE, TX 75446

BRETT JOHNSON
ADDRESS UNAVAIL AT TIME OF FILING

BRIAN AND SHANNON LIEBROCK
2062 EAST WESTCHESTER DR
CHANDLER, AZ 85249

BRIAN GOLDENBERG
6706 SHELL FLOWER LN
DALLAS, TX 75252




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BRIAN GORSKI
30040 12TH AVE SW
FEDERAL WAY, WA 98023

BRIAN J SPITZOCK
14494 WEST WINDSOR AVENUE
GOODYEAR, AZ 85395

BRIAN JEWELL
8939 WINDING PRAIRIE TRAIL
BELVIDERE, IL 61008

BRIAN KIRSCHNER REVOCABLE TRUST AG
1246 WOOD LILY CIRCLE
LELAND, NC 28451

BRIAN P NICKELS
1412 TUCKER STATION ROAD APT #322
LOUISVILLE, KY 40299

BRIAN R AND KATHERINE B MALLORY
3050 STANFIELD AVE
ORLANDO, FL 32814

BRIAN ROGER
4015 FOREST BEACH BEACH DRIVE NW
GIG HARBOR, WA 98335

BRIDGE LENDING ASSOCIATES, LLC
5150 VILLAGE PARK DR SE
SUITE 107
BELLEVUE, WA 98006

BRINK CREATIVE LTD - PAY BY WIRE!
20B REEF ST
ISLAND BAY, WELLINGTON, 6023
NEW ZEALAND

BRONALYN REPPERT
2231 DAWES PLACE
ST. LOUIS, MO 63114




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BRONNER HANDWERGER FAMILY TRUST DA
14326 TWISTED BRANCH RD
POWAY, CA 92064

BRONNER HANDWERGER
14326 TWISTED BRANCH RD
POWAY, CA 92064

BRONNER HANDWERGER, N D APC
14326 TWISTED BRANCH RD
POWAY, CA 32131

BRUCE BONADIES
209 BOX MOUNTAIN DR
VERNON, CT 06066

BRUCE S BURCH TOD
517 BUCKINGHAM RD
MUNDELEIN, IL 60060-1406

BRUCE S BURCH
517 BUCKINGHAM RD
MUNDELEIN, IL 60060-1406

BRUCE WORRALL
ADDRESS UNAVAIL AT TIME OF FILING

BRUNETTE MASONRY
8305 135TH ST. E
PUYALLUP, WA 98373

BRYAN AND COLLEEN BONADIES
134 JONATHAN TRUMBULL HWY
COLUMBIA, CT 06237

BRYAN AND GEORGIA D TROUTMAN
PO BOX 1292
BOCA GRANDE, FL 33921




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BRYAN BROWN
PO BOX 2054
TACOMA, WA 98401

BRYANT K ALLEMAN & JANICE N ALLEMA
123 BAY VIEW ST.
SEQUIM, WA 98382

BSP HOLDING LLC
COND PARK TERRACE
1501 AVE. ASHFORD, APT. 11B
SAN JUAN, PR 00911

BU 1121 14TH AVE
ADDRESS UNAVAIL AT TIME OF FILING

BU 2412 10TH
ADDRESS UNAVAIL AT TIME OF FILING

BU 6647 WINDERMERE
ADDRESS UNAVAIL AT TIME OF FILING

BU 7902 GREENLAKE, LLC
ADDRESS UNAVAIL AT TIME OF FILING

BUILD URBAN
999 N NORTHLAKE WAY, SUITE 215
SEATTLE, WA 98103

BUILD WITH STYLE
ADDRESS UNAVAIL AT TIME OF FILING

BUILDER SALES GROUP, LLC
11820 NORTHUP WAY, #E-130
BELLEVUE, WA 98005

BUILDERS CAPITAL
ADDRESS UNAVAIL AT TIME OF FILING




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BUMGARDNER ARCHITECTS
2111 THIRD AVENUE
SEATTLE, WA 98121

BUSH KORNFELD LLP
601 UNION STREET, SUITE 5000
SEATTLE, WA 98101

BUSH, ROED & HITCHINGS, INC
15400 SE 30TH PLACE, SUITE 100
BELLEVUE, WA 98007

BUSINESS CARD (BANK OF AMERICA)
PO BOX 15796
WILMINGTON, DE 19886

BUSINESS IMPACT GROUP LLC
2411 GALPIN COURT SUITE 120
CHANHASSEN, MN 55317

BUTTONWOOD INVESTMENT SERVICES, LL
7901 SOUTHPARK PLAZA, STE 212
LITTLETON, CO 80120

C AND K JOINT TRUST
412 8TH ST.
LAKE OSWEGO, OR 97034

C&S CONSTRUCTION NW INC
ADDRESS UNAVAIL AT TIME OF FILING

CAI & ASSOCIATES P C
355 118TH AVE SE
BELLEVUE, WA 98005

CAIFENG YU
12A, BLOCK 1, DI TING XUAN, URBAN
NO. 4003 XINZHOU ROAD, FUTIAN DST
SHENZHEN, GUANGDONG 518048 CHINA




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CAIJUAN CHEN
605 W WISTARIA AVE
ARCADIA, CA 91007

CAIRNCROSS & HEMPELMANN
524 2ND AVENUE SUITE 500
SEATTLE, WA 98104

CAIXIA CHEN
ROOM 602, BUILDING 3, LANE 2466
JINXIU ROAD
SHANGHAI, 201204 CHINA

CAL CONSTRUCTION
3730 178TH PL NE
ARLINGTON, WA 98223

CALHOUN LIVING TRUST DTD 2/23/2010
2100 FALCON`S ROOST DR
PRESCOTT, AZ 86303

CALIBER HOMES
ADDRESS UNAVAIL AT TIME OF FILING

CAMBRIDGE INVESTMENT RESEARCH, INC
6905 GREENBAY RD #202
KENSOUHA, WI 53142

CANON FINANCIAL SERVICES, INC.
14904 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

CANOPY WORLD INC
ADDRESS UNAVAIL AT TIME OF FILING

CAPITAL INSURANCE GROUP
PO BOX 630610
CINCINNATI, OH 45263




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CAPITAL MARKETS IQ
427 N TATNALL ST. STE 52811
WILMINGTON, DE 19801

CAPITAL ONE VISA
ADDRESS UNAVAIL AT TIME OF FILING

CAPITOL SERVICES
108 LAKELAND AVE
DOVER, DE 19901

CAPTISCAPES CURB APPEAL MAINTENANC
4029 EAST F STREET
TACOMA, WA 98404

CAREY C BURNS
13 SAWMILL RD
ATKINSON, NH 03811

CARL B HINTON
2331 GIRKIN ROAD
BOWLING GREEN, KY 42101

CARL S GEDER
28 CLEEK CT
NORTH READING, MA 01864

CARLA P LANE
14 BROWNE ST, UNIT 3
BROOKLINE, MA 02446

CARLENE E WRIGHT
7244 SHADY OAK DR
NEWBURGH, IN 47630

CARLOS AMIGUET
PO BOX 270094
SAN JUAN, PR 00928




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CARLOS ESTRADA GUTIERREZ, MD
1 AVE PALMA REAL APT 414
GUAYNABO, PR 00969

CARLOS M CHIPI
ESTANCIAS DE TORRIMAR
6 PALMA REAL
GUAYNABO, PR 00966

CARMEN M COLLADO
MANSION REAL 522 CALLE CASTILLA
COTTO LAUREL, PR 00780

CARMEN TORRES CRUZ
PO BOX 309
NARANJITO, PR 00719

CARMONA CONST. & RALPH`S CONC PUMP
3229 PINE ST SUITE C
EVERETT, WA 98201

CAROL A POOL
23535 HATTERAS ST.
WOODLAND HILLS, CA 91367

CAROL B MOORE
427 BAKER STREET
ORLANDO, FL 32806

CAROL DONSBACH TRUST UAD 11/13/14
2734 SHERBROOKE LANE #C
PALM HARBOR, FL 34684

CAROL L MONAHAN LIVING TRUST DATED
14601 SHERBROOK PL. UNIT 206
FORT MYERS, FL 33912

CAROL MARTIN
8 GLEN OAKS DR
PRESCOTT, AZ 86305




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CAROL POOLE
5107 MILBURN ROAD
ST. LOUIS, MO 63129

CAROL REED
8531 VICTORY RD
LA MESA, CA 91942

CAROL S PORTORS TRUST DATED 1/24/2
51 FERNWOOD AVE
BRADFORD, MA 01835

CAROL S PORTORS
51 FERNWOOD AVE
BRADFORD, MA 01835

CAROLYN A DEAN
3925 MASSIE AVENUE
LOUISVILLE, KY 40207

CAROLYN ANSLEY
1430 SADDLE CT,
WILLOW PARK, TX 76087

CAROLYN GOINS
133 PRAIRE STAR RD
ABILENE, TX 79602

CAROLYN J BRYANT
244 PUEBLO
HENRIETTA, TX 76365

CARON ARCHITECTURE LLC
PO BOX 31578
SEATTLE, WA 98103

CARRADA`S LANDSCAPING & HOUSE CLEA
7303 NORTHEAST 143RD STREET
KIRKLAND, WA 98034




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CARY DAVID MCMANUS
201 JOSEPH DR
GLENN HEIGHTS, TX 75154

CASCADE BUILDER SERVICES
3519 FOX CT
GIG HARBOR, WA 98335

CASCADE BUILT
ADDRESS UNAVAIL AT TIME OF FILING

CASCADE CLEAN TEAM, LLC
PO BOX 2388
NORTH BEND, WA 98045

CASCADE COLORS
ADDRESS UNAVAIL AT TIME OF FILING

CASCADE DRILLING LP
PO BOX 844046
LOS ANGELES, CA 90084-4046

CASCADE MILLWORK & SUPPLY
6534 20TH ST E SUITE 200
FIFE, WA 98424

CASCADE WEST TITLE
ADDRESS UNAVAIL AT TIME OF FILING

CASEY REVOCABLE TRUST DTD 7/30/201
2209 CHULA VISTA DRIVE
PLANO, TX 75023

CASSANDRA J JOHNSON
ADDRESS UNAVAIL AT TIME OF FILING

CASSONDRA GRAFF SEPARATE PROPERTY
22 HANCOCK ST. UNIT #204
PORTLAND, ME 04101




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CASTLE SOLO 401K TRUST
35230A SE SEQUOIA PLACE
SNOQUALMIE, WA 98065

CATHERINE MIKHLIN
1846 9TH ST. W
KIRKLAND, WA 98033

CATHY ZIEGENFUSS
4349 KING GEORGE DR
NAZARETH, PA 18064

CBRE, INC.
1300 SW FIFTH AVE, SUITE 3500
PORTLAND, OR 97201

CC EDWARDS CONSTRUCTION, INC.
PO BOX 1387
SUMNER, WA 98390

CCM COMMERCIAL
13500 BEL-RED ROAD
BELLEVUE, WA 98005

CECI MONTILLA
PO BOX 20868
SAN JUAN, PR 00928

CECIL AND JOANNE WARD
3979 SKYLAND DR
KINGSPORT, TN 37664

CECIL E AND BARBARA J MILLER TRUST
6231 N MONTE BELLA RD APT 245
TUCSON, AZ 85704

CELIA HOWELL-OSBORNE
1252 REED HOLLOW RD
GATE CITY, VA 24251




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CENTER STREET SECURITIES, INC.
2 INTERNATIONAL PLAZA
SUITE 301
NASHVILLE, TN 37217

CENTURY PACIFIC LLLP
920 5TH AVENUE
SEATTLE, WA 98104

CENTURYLINK COMMUNICATIONS, LLC (L
BUSINESS SERVICES
PO BOX 52187
PHOENIX, AZ 85072-2187

CERTIFIED MAIL ENVELOPES
320 CHARLESTON PL.
KISSIMMEE, FL 34747

CES NW, INC.
310 29TH ST NE STE 101
PUYALLUP, WA 98372

CFGI HOLDINGS, LLC
PO BOX 791561
BALTIMORE, MD 21279

CHAD AND LINDSEY VALENZUELA
820 EAST SAN LUCAS ROAD
PALM SPRINGS, CA 92264

CHANDRA SINHA
5533 E MURIEL DR
SCOTTSDALE, AZ 85254

CHANDRAMANI GOWDA
5838 ELO DORADO LANE
DUBLIN, CA 94568

CHANGGUO TANG
8513 BRYAN AVE
SAINT LOUIS, MO 63117




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CHANGHAO QIAN
ROOM 906, NO. 86, CAOBAO RD
XUHUI DISTRICT
SHANGHAI, 200235 CHINA

CHARBONEAU FAMILY FOUNDATION
43536 CANLA DR
PAW PAW, MI 49079

CHARLES A MCCORD AND JANET E MCCOR
15533 NORTHEAST STAG HOLLOW ROAD
YAMHILL, OR 97148

CHARLES B LEMPESIS, CHTD
1950 BELLERIVE LANE, #110
COEUR D` ALENE, ID 83814

CHARLES C ALLABEN
22510 NE 114TH ST
REDMOND, WA 98053

CHARLES J FEBEL TRUST U/T/D 9/10/1
12941 SOUTH OAK PARK AVENUE
PALOS HEIGHTS, IL 60463

CHARLES L LANZA, SR
7292 OAK VILLA DRIVE
GERMANTOWN, TN 38138

CHARLES LANZA
119 INVERNESS DR
TROPHY CLUB, TX 76262

CHARLES MOORE
2014 CHURCH
SULPHUR SPRINGS, TX 75482

CHARLES ROSS MCKENRICK
32 WALKER STREET
SEEKONK, MA 02771




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CHARLES S AND BETH A HALL
516 SYLVAN DR
WINTER PARK, FL 32789

CHARLES T AND SANDRA C FROST
905 CRESTMOOR DR
ALLEN, TX 75013

CHARLES W AND JOYLYN M WHITAKER
149 E COVE RD
SARATOGA SPRINGS, UT 84045

CHARLES W WHITAKER
149 E COVE RD
SARATOGA SPRINGS, UT 84045

CHARLOTTE PARNAGIAN
38 GLENDALE ROAD
BOXFORD, MA 01921

CHARWYNNE SCHNEIDER
6616 RIVER BEND RD
FT WORTH, TX 76132

CHASE BANK
ADDRESS UNAVAIL AT TIME OF FILING

CHAUNER SECURITIES
666 DUNDEE RD , STE 903
NORTHBROOK, IL 60062

CHAYA VIVIAN KRASNOW FAMILY TRUST
3 DOVE LN
LAKEWOOD, NJ 08701

CHEN JIN
RM 1701, 100#, YU SHAN RD
SHANGHAI,
CHINA




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CHEN XI
6910 OLD REDMOND RD APT 122
REDMOND, WA 98052-6829

CHENGLING SU
NO.14, JIAJIA VILLAGE, DAQIAO TOWN
TIANQIAO DISTRICT
JINAN, SHANDONG, CHINA

CHERIE BECK
4903 NORTHAVEN AVE.
SAN DIEGO, CA 92110

CHERIE S NILES
88 ENGLISH TURN DR
NEW ORLEANS, LA 70131

CHERYL HENLEY
15 PALOMA
PACIFICA, CA 94044

CHICAGO TITLE COMPANY OF WASHINGTO
ATTN: MELANIE MINOR
701 5TH AVE SUITE 2700
SEATTLE, WA 98101

CHICAGO TITLE INSURANCE COMPANY
701 FIFTH AVENUE,
SUITE 2700
SEATTLE, WA 98104

CHIH-CHENG WANG (GRACE SHIN)
2F, NO, 15-1, LANE 61, LINYI ST.,
ZHONGZHENG DISTRICT
TAIPEI CITY, TAIWAN 100012

CHIHPING MICHAEL LO
4720 227TH PL SE
SAMMAMISH, WA 98075




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CHINA OFFICE
ADDRESS UNAVAIL AT TIME OF FILING

CHING-AN LIU (GRACE SHIN)
19, JALAN DAUN INAI
9 SUNWAY SPK DAMANSARA
KUALA LUMPUR, 52200 MALAYSIA

CHING-PING HU (GRACE SHIN)
3RD FLR, NO. 143, SECTION 6
NANJING EAST ROAD,, NEIHU DST
TAIPEI CITY, TAIWAN 114

CHINOISE CAFE
936 NE PARK DR
ISSAQUAH, WA 98029

CHINOOK ROOFING & GUTTERS
5113 PACIFIC HIGHWAY EAST
SUITE 8
FIFE, WA 98424

CHRIS BOWN
10222 WATERS AVE S
SEATTLE, WA 98178

CHRIS CHRISTENSEN
3535 FACTORIA BLVD SE, SUITE 500
BELLEVUE, WA 98006

CHRIS SPARKS
ADDRESS UNAVAIL AT TIME OF FILING

CHRISTINA A WHITE
19 WHIPPLE ROAD
KITTERY, ME 03904

CHRISTINA E HITE REVOCABLE TRUST
426 W LYMAN AVENUE
WINTER PARK, FL 32987




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CHRISTINA O SLIGAR
4028 102ND AVE E
EDGEWOOD, WA 98371

CHRISTINE TAYLOR
11664 SPOTTED MARGAY AVENUE
VENICE, FL 34292

CHRISTOPHER A AND JANICE A BREIT
24108 W 79TH TERRACE
LENEXA, KS 66227

CHRISTOPHER AND MEGHAN CAIN DAVIS
3315 SADDLEWOOD CT
NEW ALBANY, IN 47150

CHRISTOPHER CHRISTENSEN
2493 NE LAUREL CREST LN
ISSAQUAH, WA 98029-7613

CHRISTOPHER D SNELLING
ADDRESS UNAVAIL AT TIME OF FILING

CHRISTOPHER J MATZ
42 COMMONS DR
PALOS PARK, IL 60464

CHRISTOPHER JONES ARCHITECTS
509 OLIVE WAY, SUITE 1416
SEATTLE, WA 98101

CHRISTOPHER KEARNEY
2210 EAST LYNX PLACE
CHANDLER, AZ 85249

CHRISTOPHER KEEN
3202 W PAUL AVE
TAMPA, FL 33611




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CHUNYING TIAN
NO. 102, 1ST FLR, UNIT 2, BLDNG 11
NO. 1999 BEICHEN AVENUE, WEIYANG
XI`AN, SHANXI, CHINA

CIL GROUP LTD
FLOOR 48, NO 3, HONGQIAO RD
SHANGHAI,
CHINA

CITY BANK
ADDRESS UNAVAIL AT TIME OF FILING

CITY OF BELLEVUE
PO BOX 90012
BELLEVUE, WA 98009-9012

CITY OF BREMERTON
345 6TH STREET, SUITE 100
BREMERTON, WA 98337

CITY OF BUCKLEY
ADDRESS UNAVAIL AT TIME OF FILING

CITY OF CAMAS
COMMUNITY DEV DEPT OF PLANNING
616 NE FOURTH AVE
CAMAS, WA 98607

CITY OF KENMORE
18120 68TH AVE NE
KENMORE, WA 98028

CITY OF KIRKLAND
PO BOX 3865
SEATTLE, WA 98124-3865

CITY OF NEWCASTLE
12835 NEWCASTLE WAY
NEWCASTLE, WA 98056-1316




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CITY OF RENTON COMMUNITY & ECONOMI
ATTN H BAHNMILLER RENTON CTY HALL
1055 SOUTH GRADY WAY
RENTON, WA 98055

CITY OF RENTON
CITY OF RENTON CLERK`S OFFICE
1055 S GRADY WAY
RENTON, WA 98055

CITY OF RENTON, TAX & LICENSE
PO BOX 35136
SEATTLE, WA 98124

CITY OF RUSTON
ADDRESS UNAVAIL AT TIME OF FILING

CITY OF SEATTLE - SDOT
TREASURY DEPT ACCTS RECEIVABLE
PO BOX 94626
SEATTLE, WA 98124

CITY OF SEATTLE - SEATTLE LIGHT &
PO BOX 35177
SEATTLE, WA 98124

CITY OF SEATTLE
DEPT OF PLANNING AND DEVELOPMENT
700 FIFTH AVENUE, SUITE 2000
SEATTLE, WA 98124-4019

CITY OF TACOMA
747 MARKET ST. ROOM 345
TACOMA, WA 98402-3701

CITY TREASURER
PW CONSTRUCTION
PO BOX 11367
TACOMA, WA 98411-0367




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CLARAPHI ADVISORY NETWORK
120 VANTIS DR SUITE 585
ALISO VIEJO, CA 92656

CLARENCE MILLER
309 SPRINGFIELD LANE
WAXAHACHIE, TX 75165

CLARK COUNTY PUBLIC WORKS
ATTN: LIZ APOSTOLIS
1300 FRANKLIN STREET – 4TH FLOOR
VANCOUVER, WA 98660

CLARK COUNTY
PO BOX 5000
VANCOUVER, WA 98666

CLARK REGIONAL WASTEWATER DISTRICT
PO BOX 8979
VANCOUVER, WA 98668

CLEARVIEW VENTURE GROUP
ADDRESS UNAVAIL AT TIME OF FILING

CLIFFORD M KARLIN
319 PROVINCIAL DR
MORGANVILLE, NJ 07751

CLINTON SANNER ARASELI SANNER JT
600 NEW HOPE ROAD
EAST MCKINNEY, TX 75071

CLOSET CREATIONS
3609 168TH ST NE
#3008
ARLINGTON, WA 98223

CLOSING BALANCES CUSTOMER&VENDOR A
ADDRESS UNAVAIL AT TIME OF FILING




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CMS, CORP
ADDRESS UNAVAIL AT TIME OF FILING

CNA SURETY CORPORATION
PO BOX 957312
ST. LOUIS, MP 63195

CNP TX VENMO
ADDRESS UNAVAIL AT TIME OF FILING

COAKLEY DEVELOPMENT GROUP LLC
3933 LAKE WASHINGTON BLVD NE
STE 100
KIRKLAND, WA 98033

COAL CREEK UTILITY DISTRICT
6801 132ND PLACE SOUTHEAST
NEWCASTLE, WA 98059

COAST COMMUNICATIONS
349 DAMON RD NE
OCEAN SHORES, WA 98569

COASTAL CLOUD, LLC
1 HAMMOCK BEACH PKWY
PALM COAST, FL 32137

COBALT CAPITAL, INC
250 INTERNATIONAL PARKWAY
SUITE 270
LAKE MARY, FL 32746

COBALT DEVELOPMENT, LLC
8215 SW TUALATIN SHERWOOD RD #200
TUALATIN, OR 97062

COHEN FAMILY TRUST UAD 10/26/11
11725 SPRINGSIDE ROAD
SAN DIEGO, CA 92128




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COHO CAFE
8976 161ST AVE NE
REDMOND, WA 98052-7554

COLBY WANG
125 BRANCH
IRVINE, CA 92618

COLLIERS INTERNATIONAL, SEATTLE
ADDRESS UNAVAIL AT TIME OF FILING

COLLIERS INTERNATIONAL, SEATTLE
ADDRESS UNAVAIL AT TIME OF FILING

COLLIERS VALUATION & ADVISORY SERV
700 WASHINGTON STREET,
SUITE 608
VANCOUVER, WA 98660

COLONIAL LIFE & ACCIDENT INSURANCE
1200 COLONIAL LIFE BLVD W
COLUMBIA, SC 29210-7670

COLORADO FEDERAL
ADDRESS UNAVAIL AT TIME OF FILING

COLPITTS DEVELOPMENT COMPANY, LLC
ADDRESS UNAVAIL AT TIME OF FILING

COLPITTS SUNSET, LLC
ADDRESS UNAVAIL AT TIME OF FILING

COLUMBIA COMMERCIAL, LLC
PO BOX 820406
VANCOUVER, WA 98682

COLUMBIA PROPERTY MANAGEMENT
ADDRESS UNAVAIL AT TIME OF FILING




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COMCAST XFINITY
ADDRESS UNAVAIL AT TIME OF FILING

COMERCIAL BERRÍOS, INC.
CALLE BARCELO #64
CIDRA, PR 00739

COMMISSIONER OF SECURITIES
STATE OF LA OFFICE OF FIN INST
PO BOX 94095
BATON ROUGE, LA 70804-9095

COMMUNITY NATIONAL BANK
225 MAIN STREET, PO BOX 225
SENECA, KS 66538

COMPACTION AND RECYCLING EQUIPMENT
12250 SE CAPPS RD
CLACKAMAS, OR 97015

CONCUR INC
ADDRESS UNAVAIL AT TIME OF FILING

CONE ARCHITECTURE, LLC
1319 N 49TH STREET
SEATTLE, WA 98103

CONNOR HUDSON
ADDRESS UNAVAIL AT TIME OF FILING

CONSTANCE CROTHERS
3214 186TH PL. SE
BOTHELL, WA 98012

CONSTRUCTION TESTING LAB, INC
400 VALLEY AVENUE NORTHEAST
SUITE 102
PUYALLUP, WA 98372




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CONTEMPORARY HOME SERIVES, INC.
2002 WEST VALLEY HWY N STE 600
AUBURN, WA 98001

CONTOUR ENGINEERING LLC
PO BOX 949
GIG HARBOR, WA 98335

COOPERATIVA DE SEGUROS MULTIPLES
PO BOX 363846
SAN JUAN, PR 00936

CORE DESIGN, INC.
14711 NE 29TH PL #101
BELLEVUE, WA 98007

CORPORATE CREATIONS INTERNATIONAL
11380 PROSPERITY FARMS ROAD
#221 E
PALM BEACH GARDENS, FL 33410

COSTAR
ATTN: ACCOUNTING DEPT. - CONTRACTS
1331 L STREET
NW, WA 20005

COSTCO BUSINESS CENTER
19105 HIGHWAY 99
LYNNWOOD, WA 98036

COSTCO CHECKS - HARLAND CLARKE CHE
PO BOX 351220
NEW BRAUNFELS, TX 78135

COSTCO.COM
1801 10TH AVE NW
ISSAQUAH, WA 98027

COUNTERBALANCE CONSULTING GROUP LL
932 W EMERSON ST, APT C
SEATTLE, WA 98119




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COUNTRY GREEN TURF FARM
ADDRESS UNAVAIL AT TIME OF FILING

COURTESY GLASS (USI)
15530 WOODINVILLE REDMOND RD NE
SUITE B100
WOODINNVILLE, WA 98072

COURTNEY BARTON
15507 SE 176TH PLACE
RENTON, WA 98058

COURTNEY PATTERSON
15 PALOMA
PACIFICA, CA 94044

COX FAMILY TRUST
11827 SOUTH TUZIGOOT COURT
PHOENIX, AZ 85044

COZY HEATING INC.
20221 67TH AVE NE
ARLINGTON, WA 98223

CPH CONSULTANTS LLC
11321-B NE 120TH STREET
KIRKLAND, WA 98034

CR GUTTERS INC. (DO NOT USE)
ADDRESS UNAVAIL AT TIME OF FILING

CR GUTTERS, INC.
PO BOX 1602
SUMNER, WA 98390

CRAIG FREEBORN
6421 MCKINNEY RANCH PARKWAY#4012
MCKINNEY, TX 75070




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CRAIG HERRING
100 SEAN LN
GLENMORE, PA 19343

CRANE WORKS 4X4 LLC
ADDRESS UNAVAIL AT TIME OF FILING

CREATIVE CIRCLE LLC
PO BOX 74008799
CHICAGO, IL 60674-8799

CRESCENT GROVE ADVISORS LLC
ADDRESS UNAVAIL AT TIME OF FILING

CRESTRIDGE CAPITAL
ADDRESS UNAVAIL AT TIME OF FILING

CROWN CFR
ADDRESS UNAVAIL AT TIME OF FILING

CRUTTERS
ADDRESS UNAVAIL AT TIME OF FILING

CRYSTAL CLEAR CLEANING SERVICES
20228 109TH STREET SOUTHEAST
SNOHOMISH, WA 98290

CS REAL ESTATE DEVELOPMENT LLC
18323 BOTHELL EVERETT HWY
SUITE 2200
BOTHELL, WA 98012

CS REAL ESTATE DEVELOPMENT LLC
ADDRESS UNAVAIL AT TIME OF FILING

CS REAL ESTATE DEVELOPMENT
ADDRESS UNAVAIL AT TIME OF FILING




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CS2 REAL ESTATE DEVELOPMENT LLC
18323 BOTHELL EVERETT HWY STE 220
BOTHELL, WA 98012-5246

CUSHMAN & WAKEFIELD OF WASHINGTON,
VALUATION & ADVISORY
200 SW MARKET ST, SUITE 200
PORTLAND, OR 97201

CUSTOM CHOICE DOOR AND MILLWORK LL
8607 DURANGO ST SW STE B
LAKEWOOD, WA 98499

CWN HOLDINGS LIMITED
TRINITY CHAMBERS, PO BOX 4301
ROAD TOWN,
TORTOLA, BRITISH V ISLANDS

CYAN
ADDRESS UNAVAIL AT TIME OF FILING

CYNTHIA M GAUTHIER
4105 EAST HOOT OWL TRAIL
CAVE CREEK, AZ 85331

D BUGBEE & SCALIA, PLLC
155 NORTHEAST 100TH STREET
SUITE 205
SEATTLE, WA 98125

DALE AND MICHAEL BLANCHETTE
1 CHASE LN
LINCOLN, RI 02865

DALE SHOE MAKER DO NOT USE
ADDRESS UNAVAIL AT TIME OF FILING

DALE SHOEMAKER
ADDRESS UNAVAIL AT TIME OF FILING




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DALE WILLIAMS
755 SHADOW CREEK TRAIL
AMHERST, OH 44001

DAMIEN BEACH
PO BOX 461
ELDORADO, TX 76936

DAN WANG
ADDRESS UNAVAIL AT TIME OF FILING

DANA HOOSTON
59 SARATOGA
NEWPORT BEACH, CA 92660

DANFAN LIN
ROOM 2001, 4C, WANKE HUXIN ISLAND
HU LI DISTRICT
XIAMEN, FUJIAN, CHINA

DANIEL BERTONCINI
2140 THORNBURY LN
ALLEN, TX 75013

DANIEL C VAN HESPEN
12580 PATHOS LN
SAN DIEGO, CA 92129

DANIEL J HOFFMAN
PO BOX 812
SEAHURST, WA 98062

DANIEL K SCHWARTZ
14732 BEVERLY STREET
OVERLAND PARK, KS 66223

DANIEL M SUTCH
422 GLENDORA AVE.
DAYTON, OH 45409




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DANIEL STREHLOW
12355 220TH STREET E
HASTINGS, MN 55033

DANIEL TOOMEY
129 BRISTOL RD
WELLESLEY, MA 02481

DANNY G DEWOLF REVOCABLE LIVING TR
DATED APRIL 14, 2021
4450 PARK PLACE DR
SHELBY TOWNSHIP, MI 48316

DARLING FAMILY TRUST
4 AVIS CT
ORINDA, CA 94563

DARREN P AND VIRGINIA M EVANS
5012 MANCHESTER ROAD
HIGHLAND VILLAGE, TX 75077

DAVES SEPTIC SERVICES, INC.
PO BOX 826
SEABECK, WA 98380

DAVID & EMILY TROUTMAN W/ RIGHTS O
1331 WEST MOUNTAIN AVENUE
FORT COLLINS, CO 80521

DAVID & KATHERINE EMANUEL REVOCABL
6745 MILPA ALTA NE
RIO RANCHO, NM 87144

DAVID A STRAZ, JR FOUNDATION
4401 W KENNEDY BLVD , STE 105
TAMPA, FL 33609

DAVID A STRAZ, JR REVOCABLE TRUST
4401 W KENNEDY BLVD , STE 105
TAMPA, FL 33609




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DAVID AND LOIS GARDNER, TTEES OF C
6915 E DAVIS RD
SCOTTSDALE, AZ 85266

DAVID ANSLEY
1430 SADDLE COURT
WILLOW PARK, TX 76087

DAVID B SALTZMAN
24 MULLARKEY DRIVE
WEST ORANGE, NJ 07052

DAVID C AND MARY SUE SCHICK
2610 E PRAIRIE CREEK DRIVE
RICHARDSON, TX 75080

DAVID CRAIG COLLISON
9752 TWIN CREEK DR
DALLAS, TX 75228

DAVID E AND PATRICIA BROWN, JTWROS
5814 JESTER DR
GARLAND, TX 75044

DAVID EHRLICH
340 GONOWABIE ROAD
INCLINE VILLAGE, NV 89450

DAVID ELKIN
10701 STONEYHILL DRIVE
SILVER SPRING, MD 20901

DAVID EMANUEL & KATHERINE EMANUEL
6745 MILPA ALTA NE
RIO RANCHO, NM 87144

DAVID F COOK 2011 TRUST
801 VIA LUGANO
WINTER PARK, FL 32789




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DAVID F COOK
801 VIA LUGANO
WINTER PARK, FL 32789

DAVID G STEVANS
771 FOLLY HILL RD
WEST CHESTER, PA 19382

DAVID GOLD
782 MERCER LN
WEST CHESTER, PA 19380

DAVID JONES
925 S HWY 208
COLORADO CITY, TX 79512

DAVID K GEDER
245 ARROWHEAD RD
MARSHFIELD, MA 02050

DAVID KIMBLE
3038 PRESTON CLUB DRIVE
SHERMAN, TX 75092

DAVID L RODGERS
3106 MEADOW WOOD DR
RICHARDSON, TX 75082

DAVID M BURNS FAMILY TRUST
75 FRANCIS STREET, UNIT 1
BROOKLINE, MA 02446

DAVID M DAVIS, JR
7236 BAY HILL DR
FRISCO, TX 75034

DAVID M GARDNER IRA
1905 B LYDIA COURT
URBANA, IL 61802




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DAVID MADDOCK
ADDRESS UNAVAIL AT TIME OF FILING

DAVID P EMANUEL
6745 MILPA ALTA NE
RIO RANCHO, NM 87144

DAVID P GIANAKOS
21 MOUNTAIN HIGH CT
LITTLETON, CO 80127

DAVID SCOTT MCMANIS
5304 CHINN CHAPEL RD
FLOWER MOUND, TX 75028

DAVID TROUTMAN
1331 WEST MOUNTAIN AVENUE
FORT COLLINS, CO 80521

DAVID W CAMPBELL
32 PHILLIPS DR
MARBLEHEAD, MA 01945

DAVIDO CONSULTING GROUP, INC (D C
9706 4TH AVE NE, SUITE 300
SEATTLE, WA 98115

DAVIS CRAIG, PLLC
13355 NOEL ROAD, SUITE 2018
DALLAS, TX 75240

DAWN BRADLEY
2433 ARNOLD PALMER DRIVE
BLAINE, MN 55449

DEBORAH S HOFFMAN
5844 112TH AVE E
PARRISH, FL 34219




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DEBRA BENVENISTE
1005 CARAWAY DRIVE
WHITTIER, CA 90601

DEBRA C WALLACE
51 WINTERBERRY TRAIL
CLAYTON, GA 30525

DEBRA D PAYNE
1008 HIDDEN OAKS CT
COLLEYVILLE, TX 76034

DEBRA J MAY
331 REMINGTON RD
EAST STROUDBURG, PA 18302

DEBRA UNRUH
2775 SHADOW DANCER TRAIL
RENO, NV 89511

DEEPAK KHUNTIA
1358 COUNTRY CLUB DR
LOS ALTOS, CA 94024

DEFINITI LLC
2201 TIMBERLOCH PLACE, STE 150
THE WOODLANDS, TX 77380

DEL FRISCO`S DOUBLE EAGLE STEAKHOU
1221 6TH AVE
NEW YORK, NY 10020

DELICATE GRASS
18824 SE 164TH ST
RENTON, WA 98058

DELIVERY EXPRESS INC.
405 EVANS BLACK DRIVE
TUKWILA, WA 98188




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DELONG LANDSCAPING
9822 CANYON RD E
PUYALLUP, WA 98373

DELTA AIR LINES, INC.
1030 DELTA BLVD
ATLANTA, GA 30354-1989

DELTA DENTAL
ADDRESS UNAVAIL AT TIME OF FILING

DENA KAPLAN
6737 TEMA ST.
SAN DIEGO, CA 92120

DENALI TOWNHOMES
ADDRESS UNAVAIL AT TIME OF FILING

DENISE BROWN
8345 CR 422
CROSS PLAINS, TX 76433

DENISE BRUNAL-HICKS
300 DUNES BLVD #901
NAPLES, FL 34110

DENISE M ARNOLD TRUST
5482 S COOLIDGE CT
AURORA, CO 80016

DENNIS MATYJA
3812 PARK BLVD UNIT 313
SANI DIEGO, CA 92103

DENNIS ROSINI
5113 MARBLE FALLS LN
PLANO, TX 75093




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DENNIS SHIRLEY
4531 EAST PEPPER TREE LANE
PARADISE VALLEY, AZ 85253

DEPT. OF TRANSPORATION NW REGION
PO BOX 330310
SEATTLE, WA 98133

DEREK E WOODS
2129 FOREST LAGOON PL.
WILMINGTON, NC 28405

DEREK SHEN
ADDRESS UNAVAIL AT TIME OF FILING

DERMOT ROGERS
440 SW FOREST DR
ISSAQUAH, WA 98027

DEVINDRANAUTH S KISSOON
1821 DITMARS BLVD
ASTORIA, NY 11105

DEVONT CAPITAL LIMITED
PO BOX 4301, ROAD TOWN
TORTOLA,
BRITISH VIRGIN ISLANDS

DEWEI ZOU
4209 WHITMAN AVENUE N
SEATTLE, WA 98103

DIAMOND ENTERPRISES (DIAMOND PARKI
605 FIRST AVE, SUITE 600
SEATTLE, WA 98104-2224

DIAMOND POLISHING SYSTEMS
ADDRESS UNAVAIL AT TIME OF FILING




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 DIANA WHITE
 1201 C R 290
 RISING STAR, TX 76471

 DIANE M MORIN
 5 JUNIPER LN
 NEWTON, NH 03858

 DIANNE HOTMER
 817 KIMBERLY LANE
 WEST CHESTER, PA 19382

 DIANNE M SHEEHAN
 40494 CALLE LAMPARA
 MURRIETA, CA 92562

 DIANNE SCHECHTER TRUST DTD. 11/05/
 6738 E MORNING VISTA LN
 SCOTTSDALE, AZ 85266

 DICK AND KAREN HUMMEL JTWROS
 2233 N SAN CLEMENTE DR
 PALM SPRINGS, CA 92262

 DICK CRAIG
 1118 CANSLER DR
 ENID, OK 73703

 DICK`S SPORTING GOODS INC
 345 COURT ST, CORAOPOLIS
 CORAOPOLIS, PA 15108

 DILLARD AND PHYLLIS STONE
 10009 WANDERING WAY
 BENBROOK, TX 76126

 DILLE LAW, PLLC
 2010 CATON WAY SOUTHWEST
 OLYMPIA, WA 98502




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 DIM SUM FACTORY
 4092 FACTORIA BLVD SE
 BELLEVUE, WA 98006

 DIRECT LENDING GROUP
 ADDRESS UNAVAIL AT TIME OF FILING

 DIRECT TRUST COMPANY
 3033 N CENTRAL AVE., SUITE 415
 PHOENIX, AZ 85012

 DIVYANG P AND DAYA D SORATHIA
 2524 REGAL RIVER RD
 VALRICO, FL 33596

 DIXITA P AND PRIYANK K DESAI,
 TENANTS BY THE ENTIRETY
 105 ASHMORE LN
 ROCKY MOUNT, NC 27804

 DK FISHER ARCHITECTS
 ADDRESS UNAVAIL AT TIME OF FILING

 DK WOZNIAK DESIGN BUILD, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 DLA PIPER
 PO BOX 75190
 BALTIMORE, MD 21275

 DM PLUMBING & BACKFLOW TESTING, LL
 PO BOX 11082
 TACOMA, WA 98411

 DOCUSIGN INC
 221 MAIN ST.,
 SUITE 1000
 SAN FRANCISCO, CA 94105




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 DOMINIC AND MAGDALENA D`GUERRA
 316 PLEASANT VALLEY AVE.
 MOORESTOWN, NJ 08057

 DOMUS HOMES, LLC
 1420 NW GILMAN BLVD
 SUITE 2, #2617
 ISSAQUAH, WA 98027

 DON ECKROD
 1118 BASIL RD
 MCLEAN, VA 22101

 DON GAUBE
 3201 DANVILLE BLVD, SUITE 175
 ALAMO, CA 94507

 DON R AND MARY S MOORE
 3505 TURTLE CREEK BLVD 5G
 DALLAS, TX 75219

 DON W PELLEY
 5001 46TH AVENUE CT E
 TACOMA, WA 98443

 DONALD AND DEBRA UNRUH
 2775 SHADOW DANCER TRAIL
 RENO, NV 89511

 DONALD CRAIG SPARKS & SONS
 3416 107TH AVENUE COURT EAST
 EDGEWOOD, WA 98372

 DONALD GREENOUGH
 1725 DOGWOOD FOREST WAY
 LAKE MARY, FL 32746

 DONALD J AND DENESE J ODERMANN
 201 N 61ST ST.
 SUPERIOR, WI 54880




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 DONALD J ODERMANN
 2564W COUNTY ROAD J
 MERCER, WI 54547

 DONALD TAYLOR
 11664 SPOTTED MARGAY AVENUE
 VENICE, FL 34292

 DONALD W WILLIAMS
 4787 GALICIA WAY
 OCEANSIDE, CA 92056

 DONARON FRICKS
 ADDRESS UNAVAIL AT TIME OF FILING

 DONNA DAVIS
 150 CHEROKEE RIDGE
 BERTRAM, TX 78605

 DONNA EVANS
 382 DAVOS ROAD,
 GIRDWOOD, AK 99587

 DONNA L BOYD
 791 FM 217
 VALLEY MILLS, TX 76689

 DONNA LOU KEIM
 802 A BRIARWOOD DR
 BETHLEHEM, PA 18020

 DORIS RIBALI
 2706 DOLLAR ST.
 LAKEWOOD, CA 90712

 DORIS ROBERTS
 118 ALBION RD
 WELLESLEY, MA 02481




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 DOROTHY DEAN
 11543 LAKE RIDE DR
 JACKSONVILLE, FL 32223

 DOROTHY GIEREN
 9127 MALLARD RD
 BLAINE, WA 98230

 DOUBLE J RETIREMENT PLAN
 PO BOX 1570
 CAGUAS, PR 00726

 DOUGLAS AND JOSETTE CHRYSTALL
 396 WASHINGTON ST., UNIT 293
 WELLESLEY HILLS, MA 02481

 DOUGLAS C AND MARIE P HARTMAN
 1209 STONEWALL TRAIL
 HEATH, TX 75032

 DOUGLAS E SPROUSE & FRANCES KAY SP
 JOINT REVOCABLE TRUST
 110 ARAPAHO TRAIL
 GREENWOOD, MO 64034

 DOUGLAS HARTMAN
 1209 STONEWALL TRAIL
 HEATH, TX 75032

 DOUGLAS J WOOD
 10199 WIEGLEIB AVE
 LOUISVILLE, KY 40223

 DOUGLAS YOUNG
 2912 COTTAGE COVE DR
 RICHMOND, VA 23233

 DOYLEEN TERELL
 3334 FRONT NINE DR
 ABILENE, TX 79606




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 DR ALAN ASKINAS AND MRS NANCY ASKI
 966 ROCK CREEK RD
 WEST CHESTER, PA 19380

 DR FARHAD ELMI AND DR ARAM YOUSEFI
 480 CHRISTINE ANN LN
 NAZARETH, PA 18064

 DR FARHAD ELMI
 480 CHRISTINE ANN LN
 NAZARETH, PA 18064

 DR FERNANDO REGIS
 PO BOX 3878
 AGUADILLA, PR 00605

 DR JOHN W BERRY
 27 MUSKET COURT
 WEST CHESTER, PA 19382

 DRAIN-PRO INC.
 5111 85TH AVENUE EAST C-2
 PUYALLUP, WA 98371

 DSE EXCAVATING, INC.
 14603 154TH ST E
 ORTING, WA 98360

 DSH TRUST
 8601 138TH AVE. SE
 NEWCASTLE, WA 98059

 DTK CONTRUCTION INC
 ADDRESS UNAVAIL AT TIME OF FILING

 DUKE B MOSELEY III
 7624 E SOLANO DRIVE
 SCOTTSDALE, AZ 85250




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 DULCE DESIGN CO.
 4701 SW ADMIRAL WAY
 SEATTLE, WA 98116

 DWOLLA INC
 909 LOCUST ST, SUITE 201
 DES MOINES, IA 50309

 E&N INVESTMENTS, LLC
 6785 ERICA LN
 SARASOTA, FL 34241

 E78 PARTNERS
 ELEMENT 78, LLC
 1301 W 22ND ST, SUITE 410
 OAK BROOK, IL 60523

 EAGLE ASPHALT
 ADDRESS UNAVAIL AT TIME OF FILING

 EAGLE BUILDING SERVICES, INC.
 2525 BLUEBERRY RD STE 105
 ANCHORAGE, AK 99503

 EAGLE PINES, LLC
 676 N MICHIGAN AVE. STE 3860
 CHICAGO, IL 60611

 EARTH SOLUTIONS NW, LLC
 15365 NE 90TH ST
 SUITE 100
 REDMOND, WA 98052

 EASTSIDE FUNDING, LLC
 3927 LAKE WASH BLVD NE
 KIRKLAND, WA 98033

 EASTWEST BANK
 ADDRESS UNAVAIL AT TIME OF FILING




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 EBERHARDT FAMILY TRUST
 31281 VIA FAJITA
 SAN JUAN CAPISTRANP, CA 92675

 ECO ENVIRONMENTAL SERVICE, INC
 711 W TITUS ST
 KENT, WA 98032

 ECOLOGICAL LAND SERVICES
 1157 3RD AVE., SUITE 220A
 LONGVIEW, WA 98632

 EDDIE T AND JANICE L SATO
 CHARITABLE REVOCABLE TRUST
 804 JODY BROOK CT
 LAS VEGAS, NV 89145

 EDGE CONSTRUCTION, LLC
 PO BOX 2054
 TACOMA, WA 98401

 EDITE M AND TIMMY PACHECO
 916 SALEM RD
 DRACUT, MA 01826

 EDWARD AND JUDY ELLIS TRUST DATED
 2721 ERVIN WAY
 MANSFIELD, TX 76063

 EDWARD EARL MAINE, JR
 18691 MUSICK DR
 BRISTOL, VA 24202

 EDWARD GNADINGER
 714 RIVER PL.
 BUTLER, NJ 07405

 EDWARD WEBSTER
 3151 E COMMUNITY DRIVE
 JUPITER, FL 33458




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 EFD
 ADDRESS UNAVAIL AT TIME OF FILING

 EL ARCHITECTS, PS
 3200 SOUTHEAST 164TH AVE
 SUITE 302
 VANCOUVER, WA 98683

 EL GAUCHO
 450 108TH AVE NE
 BELLEVUE, WA 98004

 ELAINE LAND DEXTER
 700 FRONT ST. UNIT 1403
 SAN DIEGO, CA 92101

 ELEANOR S BROOKS
 7885 LANDOWNE DRIVE
 SANDY SPRINGS, GA 30350

 ELECTRONIC BUSINESS MACHINES (EBM)
 ADDRESS UNAVAIL AT TIME OF FILING

 ELENA RUNYAN
 7861 WESTRA LN
 LA PALMA, CA 90623

 ELITE FABRICATION SYSTEMS
 5020 146TH ST E
 TACOMA, WA 98446

 ELITE FLOOR COVERINGS, INC.
 3902 AUBURN WAY NORTH
 AUBURN, WA 98002

 ELITE HOMES BY APEX
 PO BOX 50573
 BELLEVUE, WA 98105




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 ELIZABETH A NIXON TRUST DTD 9/24/2
 1127 LOS CAMPANEROS
 SAN MARCOS, CA 92078

 ELIZABETH PLAZA
 1121 PARROTTS COVE RD
 GREENSBORO, GA 30642

 ELLEN B KRASNEY
 205 MEADOW STREET EXTENSION
 FRAMINGHAM, MA 01701

 ELLEN ROZENFELD
 2041 N HALSTED STREET
 CHICAGO, IL 60614

 EMERALD CITY ENGINEERS
 21705 HIGHWAY 99
 LYNNWOOD, WA 98036

 EMERALD CITY INTERNATIONAL CONSULT
 3535 FACTORIA BLVD SE, STE 500
 BELLEVUE, WA 98006

 EMERALD CITY STATEWIDE, LLC
 13728 BEACON COAL MINE ROAD SOUTH
 SEATTLE, WA 98178

 EMILY RUSSELL LANDSCAPE ARCHITECTU
 245 4TH STREET SUITE 501
 BREMERTON, WA 98337

 EMMA L QUINE
 2717 ALBATROSS LN
 FT WORTH, TX 76177

 ENGLISH LIVING TRUST DATED 9/15/17
 1207 CARNOUSTIE CT
 KATY, TX 77494




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 ENUMCLAW LANDSCAPE MAINTENANCE
 ADDRESS UNAVAIL AT TIME OF FILING

 ENVIRONIX
 2027 196TH STREET SOUTHWEST
 SUITE A101
 LYNNWOOD, WA 98036

 ENVISION NORTHWEST
 ADDRESS UNAVAIL AT TIME OF FILING

 EQUITY SLICE TECHNOLOGIES INC
 ADDRESS UNAVAIL AT TIME OF FILING

 EQUITY TITLE OF WASHINGTON
 ADDRESS UNAVAIL AT TIME OF FILING

 EQUITY TRUST
 1 EQUITY WAY
 WESTLAKE, OH 44145

 ERIC AND SARAH SCHMIDT
 315 N UNION ST
 KENNETT SQUARE, PA 19348

 ERIC ENGEL
 908 W KINGBIRD DRIVE
 CHANDLER, AZ 85286

 ERIC STRADDECK
 1105 W LINDA LN
 RAYMORE, MO 64083

 ERIK NELSON
 1651 STARDANCE CIRCLE
 LONGMONT, CO 80504

 ERIK RADLE
 3162 SPUR TRAIL
 DALLAS, TX 75234




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 ESPACIO INC. RETIREMENT PLAN
 PO BOX 192572
 SAN JUAN, PR 00919

 ESTATE OF LOIS ALTENKIRCH
 1105 SUMMIT AVE APT 2
 JERSEY CITY, NJ 07307

 ETHEL LINN LANDERS
 5956 MYRTLE BEACH DR
 BANNING, CA 92220

 EUGENE PUGH
 4740 S 900 W
 SAN PIERRE, IN 46374

 EUGENE SCHELLENBERGER
 90 FIELDSTONE CT
 NEW ALBANY, IN 47150

 EUROMONEY USA, LLC (IMN)
 1120 AVENUE OF THE AMERICAS
 6TH FLOOR, FINANCE DEPARTMENT
 NEW YORK, NY 10036

 EVELYN STEELE GILBERT
 1001 PIEDMONT AVE
 BRISTOL, VA 24201

 EVENTBRITE.COM
 ADDRESS UNAVAIL AT TIME OF FILING

 EVERGREEN BUILDERS
 2818 E 2ND STREET
 VANCOUVER, WA 98661

 EVERGREEN CERTIFIED
 502 RAINIER AVE S SUITE 206
 SEATTLE, WA 98144




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 EVERGREEN CONCRETE CUTTING, INC.
 PO BOX 1751
 SUMMER, WA 98390

 EVERGREEN MANAGEMENT CAPITAL LLC
 11400 SE 8TH ST STE 225B
 SUITE 225B
 BELLEVUE, WA 98004

 EVERGREEN TREE CARE INC.
 PO BOX 11155
 SPOKANE, WA 99211

 EVOLUTION REAL ESTATE II, LLC
 16775 ADDISON ROAD SUITE 202
 ADDISON, TX 75001

 EVOLVE BANK AND TRUST
 9070 POPLAR AVE, STE 100
 MEMPHIS, TN 38119

 EXPLENDID VIDEOS
 45333 FREMONT BLVD,
 STE#5
 FREMONT, CA 94538

 FACTRIGHT LLC
 7500 FLYING CLOUD DR
 SUITE 755
 EDEN PRAIRIE, MN 55344

 FAIRCHILD RECORD SEARCH
 PO BOX 1368
 OLYMPIA, WA 98507-1368

 FAITH B ABZUG REVOCABLE TRUST
 1949 LEONARD ROAD
 FALLS CHURCH, VA 22043




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 FAITH B ABZUG
 1949 LEONARD ROAD
 FALLS CHURCH, VA 22043

 FALCON RAILING & SUPER DECK INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 FAN SU
 #302 BUILD 12 LVLINYUAN, NANXI RD
 DAXING DIST.
 BEIJING, 100162 CHINA

 FAN YANG
 3-10-2 LONGQUAN COMMUNITY,
 LONGQUAN ROAD, XIXIU DISTRICT
 ANSHUN, GUIZHOU, 516000 CHINA

 FAN ZHANG
 GUANGTAI XIAOQU DONGQU NO.1
 BUILDING 3-102
 BEIJING, HAIDIAN, 100091 CHINA

 FANG LOU AND JINGFENG ZHAO
 18 ZHUANSHAN W RD, ROOM 2-3-101
 JINAN, SHANDONG, 250014
 CHINA

 FARALLON, INC
 PO BOX 94147
 SEATTLE, WA 98124

 FARRUKH AND SHELA ZAIDI TEN-BY-ENT
 3818 AMBASSADOR DR
 PALM HARBOR, FL 34685

 FARSIDEHR SOLUTIONS
 4313 BAT FALCON DRIVE
 AUSTIN, TX 78738




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 FASTSIGNS
 12644 NORTHEAST 85TH STREET
 KIRKLAND, WA 98033

 FEDERAL GOV CARES ACT
 ADDRESS UNAVAIL AT TIME OF FILING

 FEDEX CORPORATION
 942 S SHADY GROVE RD
 MEMPHIS, TN 38120

 FEI HAN
 RM 601, BLDNG 26, SHANG FENG NO.1,
 ZHAO QUAN YING TOWN, SHUN YI DST
 BEIJING,   CHINA

 FEINBERG FAMILY TRUST DTD 1/24/12
 22 TURNER RD
 FRAMINGHAM, MA 01701

 FELIX J SEDA ENT PSC RETIREMENT PL
 URB MONTEHIEDRA
 CALLE BIEN TE VEO #2
 SAN JUAN, PR 00926

 FELIX SEDA
 PO BOX 70344 PMB 187
 SAN JUAN, PR 00936

 FENGDI CHEN
 NO. 2, LANE 208, GUANGYUAN RD
 XUHUI DISTRICT
 SHANGHAI, 200000 CHINA

 FERGUSON ENTERPRISES
 824 NW 18TH AVE
 PORTLAND, OR 97209




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 FERNANDO FIGUEROA NEVAREZ
 LA VILLA DE TORRIMAR 267
 CALLE REY GUSTAVO #267
 GUAYNABO, PR 00969

 FERNANDO REGIS PURCHASE PLAN
 446 PLUMOSO STREET
 PASEOS DE PLAN BONITO
 CABO ROJO, PR 00623-9381

 FIDELITY INSURANCE
 ADDRESS UNAVAIL AT TIME OF FILING

 FIDELITY NATIONAL TITLE
 655 W COLUMBIA WAY, SUITE 200
 VANCOUVER, WA 98660

 FINANCE & BUSINESS OPERATIONS DIVI
 DEPARTMENT OF EXECUTIVE SERVICES
 401 5TH AVE STE 0300
 SEATTLE, WA 98104

 FINANCIAL GOAL SECURITIES, INC. (F
 35900 BOB HOPE DRIVE, SUITE 202
 RANCHO MIRAGE, CA 92270

 FINANCIAL INDUSTRY REGULATORY AUTH
 ADDRESS UNAVAIL AT TIME OF FILING

 FINANCIAL PLANNERS OF AMERICA
 ADDRESS UNAVAIL AT TIME OF FILING

 FINOP CONSULTING, LLC
 PO BOX 1015
 RYE, NH 03870

 FIRESIDE CONTRACTING SERVICES, LLC
 18389 SW BOONES FERRY RD
 PORTLAND, OR 97224




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 FIRESIDE HOME SOLUTIONS
 18389 SW BOONES FERRY ROAD
 PORTLAND, OR 97224

 FIRGROVE MUTUAL INC
 ADDRESS UNAVAIL AT TIME OF FILING

 FIRST AMERICAN TITLE INSURANCE COM
 920 5TH AVENUE
 SUITE 1250
 SEATTLE, WA 98104

 FIRST WESTERN PROPERTIES, INC.
 6402 TACOMA MALL BOULEVARD
 TACOMA, WA 98409

 FISHER ARCHITECTS PS
 708 MARKET STREET, SUITE 415
 TACOMA, WA 98402

 FIVE STAR COMFORT, LLC
 2209 BEDAL LN
 EVERETT, WA 98208

 FJ TORRES MD PSC RETIREMENT PLAN
 HACIENDA SAN JOSÉ
 CALLE VIA SOL 673
 CAGUAS, PR 00725

 FLOQAST INC
 14721 CALIFA ST
 SHERMAN OAKS, CA 91411

 FLORIDA FINANCIAL ADVISORS
 2330 W HORATIO STREET
 TAMPA, FL 33609

 FORTUNE INSURANCE
 705 S 9TH ST. #302
 TACOMA, WA 98405




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 FORTUNE SMART (HK) INTERNATIONAL L
 FLAT/RM 504, 5/F, HO KING COMM CTR
 2-16 FA YUEN STREET
 MONG KOK, KOWLOON, CHINA

 FOSTER GARVEY
 LAKE WASHINGTON CREST DIV II HOA
 8024 122ND AVE SE
 NEWCASTLE, WA 98056

 FOSTER PEPPER PLLC
 1111 3RD AVENUE, SUITE 3000
 SEATTLE, WA 98101

 FOUNDATION GROUP REAL ESTATE
 718 RAINIER AVENUE SOUTH
 SEATTLE, WA 98144

 FOX BROS DRYWALL
 PO BOX 4592
 SPANAWAY, WA 98387

 FOX ROTHSCHILD, LLP
 1001 FOURTH AVENUE
 SUITE 4500
 SEATTLE, WA 98154

 FP MAILING SOLUTIONS, INC
 PO BOX 157
 BEDFORD PARK, IL 60499-0157

 FRANCES J FONTI REVOLVING TRUST DT
 24950 N 90TH ST
 SCOTTSDALE, AZ 85255

 FRANCES M BUDD
 3322 GREAT MEADOW RD
 DEDHAM, MA 02026




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 FRANCES WATERS TRUST
 6132 WALNUT DR
 FORT WORTH, TX 76114

 FRANCIS G SILVA
 11 MARILYN DR
 ATKINSON, NH 03811

 FRANCIS GANNON
 ADDRESS UNAVAIL AT TIME OF FILING

 FRANCIS SZYMBORSKI REVOCABLE TRUST
 1755 N MEADE STREET
 CHICAGO, IL 60639

 FRANCISCO A PACHECO
 30 LISA LN
 BRADFORD, MA 01835

 FRANCISCO J ARRAIZA RETIREMENT PLA
 B-5 URB LA COLINA
 GUAYNABO, PR 00969

 FRANCISCO SALA
 3 CALLE FLAMBOYAN APT. #311
 GUAYNABO, PR 00966

 FRANK BELCASTRO
 3403 SHINNSTON PIKE
 HEPZIBAH, WV 26369

 FRANK BRANCATO
 42 WESTMOOR TERRACE, W
 ROXBURY, MA 02132

 FRANK CHAUNER
 666 DUNDEE RD , STE 903
 NORTHBROOK, IL 60062




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 FRANKLIN AND JULIE A BOSIA
 4785 SEA CORAL DR
 SAN DIEGO, CA 92154

 FREDERICK AND DORIS ROBERTS
 118 ALBION RD
 WELLESLEY, MA 02481

 FREDERICK B AND MARY WAYNE BYWATER
 3201 ARDSLEY DR
 ORLANDO, FL 32804

 FREDERICK L CHAPPELL
 6488 HWY 145
 CORYDON, KY 42406

 FREDRICK W CORWIN, JR
 4580 OSPREY DR S, APT. 201
 ST PETERSBURG, FL 33711

 FRIEDMAN LLP
 301 LIPPINCOTT DRIVE, 4TH FLOOR
 MARLTON, NJ 08053

 FUHONG LIANG
 18025 NE 136TH ST.
 REDMOND, WA 98052

 FUNG CHANG REVOCABLE TRUST (GRACE
 5111 N TRAVIS ST #311
 SHERMAN, TX 75092

 FUXIANG WU
 5900 138TH PLACE SOUTHEAST
 BELLEVUE, WA 98006

 FUXU LIANG
 XISHAN ST, BUILDING 1, ROOM 1-4-3
 DALIAN, LIAONING, 116000 CHINA




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 G & C CRANSTON, LLC
 4192 BAY BEACH LANE #866
 FORT MYERS BEACH, FL 33931

 G S CLEANING SERVICE
 ADDRESS UNAVAIL AT TIME OF FILING

 GAMUT 360
 ADDRESS UNAVAIL AT TIME OF FILING

 GARDNER FINANCIAL SERVICES
 ADDRESS UNAVAIL AT TIME OF FILING

 GARNER ELECTRIC WASHINGTON, LLC
 402 VALLEY AVENUE NORTHWEST
 PUYALLUP, WA 98371

 GARRETT MARKQUART
 WILLOWS UNIT 4922 A

 GARRY SANNER
 1006 FM 131 S
 DENISON, TX 75020

 GARRY SAVAGE
 1225 MARINA DR
 HURON, OH 44839

 GARY & DAWN GUGLIELMINO FAMILY TRU
 783 WOODWIND PLACE
 WALNUT CREEK, CA 94598

 GARY BRYANT
 8963 FM 2606
 HENRIETTA, TX 76365

 GARY F BROCK
 661 NORTH LONGVIEW PLACE
 LONGWOOD, FL 32779




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 GARY G AND JANIS M BELCHER
 2085 SE ST. LUCIE BLVD
 STUART, FL 34996

 GARY L ALLGEIER
 709 WINDING OAKS TRAIL
 LOUISVILLE, KY 40223

 GARY L AND BARBARA A MORRISS, JTWR
 28131 232ND PL SE
 MAPLE VALLEY, WA 98038

 GARY LIND
 2265 CHIMNEY SWIFT CIR
 MARIETTA, GA 30062

 GARY SEARS
 241 DINANA DR
 GRAHAM, TX 76450

 GCM RETIREMENT PLAN
 3604 CALLE CUMBRE, URB EL MONTE
 PONCE, PR 00716

 GCW ELECTRIC
 ADDRESS UNAVAIL AT TIME OF FILING

 GE APPLIANCES
 PO BOX 840255
 DALLAS, TX 75284

 GEICO GENERAL INSURANCE COMPANY
 ONE GEICO PLAZA
 BETHESDA, MD 20810-0001

 GENE & MARGIE STRECKER
 3404 EDDY STREET
 AMARILLO, TX 79109




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 GENE CHOI
 4350 VIA MAJORCA
 CYPRESS, CA 90630

 GENERAL BUILDERS SUPPLY, INC.
 510 STRANDER BOULEVARD
 TUKWILA, WA 98188

 GENNADIY VILCHIK
 520 NORTH CANON DRIVE
 BEVERLY HILLS, CA 90210

 GENNARO GIANVITO
 24673 N 118 ST.
 SCOTTSDALE, AZ 85255

 GENNARO SARNATARO
 10552 E WINROSE DR
 SCOTTSDALE, AZ 85259

 GENUINE AUTO GLASS
 2609 S TACOMA WAY
 TACOMA, WA 98409-7525

 GEO RESOURCES INC
 ADDRESS UNAVAIL AT TIME OF FILING

 GEORESOURCES, LLC
 4809 PACIFIC HWY E
 FIFE, WA 98424

 GEORGE A BEDNARZ
 13752 EVERGREEN DRIVE
 FRISCO, TX 75035

 GEORGE AND BARBARA CAMP
 4674 MONONGAHELA ST.
 SAN DIEGO, CA 92117




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 GEORGE IVAN VACEK
 2330 SANDY FIELDS LN
 SPRING, TX 77386

 GEORGE R AND TINA M WALZ
 10 PINEWOOD DR
 COVINGTON TWP, PA 18424

 GEORGE T HOTTER
 15 SADDLEBACK RD
 LONDONDERRY, NH 03053

 GEORGE WHITE
 107 HUNTINGTON PLACE
 ORMOND BEACH, FL 32174

 GEORGE WITTMAN JR
 15 FIFTH LANE
 WINGDALE, NY 12594

 GEORGES BASSOUS
 180 SCHOLES ST, APARTMENT 1C
 BROOKLYN, NY 11206

 GEORGIA D TROUTMAN RVCB TRUST 0614
 PO BOX 1292
 BOCA GRANDE, FL 33921

 GEORGIA STEDRONSKY
 1345 SKYFIRE CT
 SPARKS, NV 89441

 GEOTECH CONSULTANTS, INC.
 2401 10TH AVE E
 SEATTLE, WA 98102

 GERALD GOLDMAN
 11885 E CHARTER OAK CIR.
 SCHOTTSDALE, AZ 85259




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 GERALD L KIRKPATRICK
 311 WEST MAIN ST.
 HORSE CAVE, KY 42749

 GERALD LARSON
 ADDRESS UNAVAIL AT TIME OF FILING

 GERALD LARUE
 1611 SOUTH MELROSE DRIVE
 SUITE A399
 VISTA, CA 92081

 GERMAN AND GRACE CHAVEZ
 3604 CALLE CUMBRE, URB EL MONTE
 PONCE, PR 00716

 GIANCARLO AND DAPHNE ANDREANI
 127 PROFESSIONAL CENTER PKWY
 SAN RAFAEL, CA 94903

 GILLIAN MARY KRUSING
 2903 OAKWOOD CT
 MCKINNEY, TX 75070

 GLEN WAITE
 4800 SACHSE RD
 SACHSE, TX 75048

 GLENN R AND DIEDRA A PETERS, JTWRO
 1366 N GROSSMAN ST.
 SEYMORE, TX 76380

 GLOBAL MEDIA (SAMPLE)
 150 CHESTNUT STREET
 TORONTO, ON L4B 1Y3
 CANADA

 GLOTRADE S R O
 1321 UPLAND DRIVE SUITE 8441
 HOUSTON, TX 77043-4718




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 GOLDSMITH LAND DEVELOPEMENT SERVIC
 PO BOX 3565
 BELLEVUE, WA 98009

 GOLDSTAR
 1401 4TH AVE
 CANYON, TX 79015

 GOOGLE PAYMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 GOOSE DEVELOPMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 GORDAN R TOEDMAN
 5308 FEAGAN
 HOUSTON, TX 77007

 GORDON DREAGER
 18501 WEST POST DR
 SURPRISE, AZ 85388

 GOVIND RAJAN
 4908 64TH DR W
 BRADENTON, FL 34210

 GRACE YUN RU SHIH
 22704 SE 51ST STREET
 ISSAQUAH, WA 98029

 GRAEME L HUDSON
 920 EVERGREEN LN
 CHESTER SPRINGS, PA 19425

 GRAFF FAMILY TRUST UAD 11/29/99
 10459 N 98TH STREET
 SCOTTSDALE, AZ 85258




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 GRAYDON H FULLER DECLARATION OF TR
 5317 N 46TH ST.
 PHEONIX, AZ 85018

 GRAYS HARBOR COUNTY TREASURER
 PO BOX 831
 MONTESANO, WA 98563

 GRAYS HARBOR COUNTY UTILITIES DIVI
 100 W BROADWAY AVE - SUITE #31
 MONTESANO, WA 98563

 GRAYS HARBOR PUD
 PO BOX 510
 ABERDEEN, WA 98520-115

 GREATAMERICA FINANCIAL SERVICES CO
 PO BOX 660831
 DALLAS, TX 75266

 GREEN VISTA CAPITAL
 222 NORTH PARK AVENUE
 WINTER PARK, FL 32789

 GREENHOME SOLUTIONS
 ADDRESS UNAVAIL AT TIME OF FILING

 GREENTECH INDUSTRIES LLC
 130 LEGACY DR
 WOODLAND, WA 98674

 GREENWAY HOMES INC
 ADDRESS UNAVAIL AT TIME OF FILING

 GREG CLARK COPELAND
 3955 BELVEDERE COURT
 SPRINGFIELD, MO 65807




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 GREG COLELLA
 6298 STABLE FALLS ACRE
 RANCHO CUCAMONGA, CA 91739

 GREG PIEKARSKI
 ADDRESS UNAVAIL AT TIME OF FILING

 GREGORY & MECCA DAYKO WITH RIGHT O
 514 SWEET BAY CIR.
 JUPITER, FL 33458

 GREGORY AND JAMIE ATWOOD
 758 E DESERT BLOOM COURT
 WASHINGTON, UT 84780

 GREGORY BUBB
 11838 E MARIPOSA GRANDE DR
 SCOTTSDALE, AZ 85255

 GREGORY DAYKO
 110 FRONT STREET, SUITE 300
 JUPITER, FL 33477

 GREGORY LYNN GILBERT
 159 BEAVER CREEK RD
 BLUFF CITY, TN 37618

 GREGORY S LUKENS
 408 NORTH 1ST STREET #707
 MINNEAPOLIS, MN 55401

 GRIFFIN FEIN
 ADDRESS UNAVAIL AT TIME OF FILING

 GRIFFIN FEIN
 ADDRESS UNAVAIL AT TIME OF FILING

 GRIFFITH WALTERS
 206 HIGHLAND TRAIL
 LAGRANGE, GA 30240




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 GROUND UP BUILDERS INC
 ADDRESS UNAVAIL AT TIME OF FILING

 GROUND UP LLC
 250 EAST OSPREY LANE
 SHELTON, WA 98584

 GUANGZHOU OFFICE (WOFE)
 ADDRESS UNAVAIL AT TIME OF FILING

 GUANGZHOU PAWEI BUSINESS CONSULTIN
 1602A NORTH TOWER GUANGZHOU WORLD
 TRADE CENTER NO 371 375 HUASHI E
 YUEXIU DISTRICT, GUANDONG CHINA

 GUIFANG WANG
 3-303 NO. 38 YAN`AN RD , GUILIN ST
 ZHONGSHAN DISTRICT
 DALIAN CITY, LIAONING 116007 CHINA

 GUILAN ZHANG
 RM 503 UNIT 3, BLDG 4, HUIRUNYUAN
 TONGHUIJIAYUAN, GAOBEIDIAN TOWN,
 BEIJING CHAOYANG DISTRICT CHINA

 GUISON FAMILY TRUST
 5748 SPINNAKER DR
 LONG BEACH, CA 90803

 GUOQIANG WANG
 NO.51, LANE 1669, YINDU ROAD
 SHANGHAI, 201108
 CHINA

 GUOYU WANG
 14455 17A AVE
 SURREY, BC V4A 5P5
 CANADA




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 H JOSEPH SCHILMILLER
 6855 STILLER RD
 FLOYDS KNOBS, IN 47119

 HAI HUANG
 ADDRESS UNAVAIL AT TIME OF FILING

 HAIYAN LI
 ADDRESS UNAVAIL AT TIME OF FILING

 HAL RAYMOND DEUTSCH
 6508 APPLE VALLEY PL.
 PLANO, TX 75023

 HALCYON PI, LLC
 950 N KINDS RD UNIT 304
 WEST HOLLYWOOD, CA 90069

 HALCYON RETIREMENT TRUST
 950 N KINGS RD UNIT 304
 WEST HOLLYWOOD, CA 90069

 HAMPTON INN SEAPORT HOTEL
 320 PEARL ST
 NEW YORK, NY 10038

 HANG NGOC HOANG
 17017 TALBOT ROAD
 EDMONDS, WA 98026

 HANGZHOU QICHUANG CHEMICAL CO., LT
 75 WESTMORELAND AVENUE, WELLING
 LONDON, ENGLAND, DA16 2QB
 UNITED KINGDOM

 HANK JENKINS
 4920 B S WILLOW STREET
 SEATTLE, WA 98118




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 HANNAH EAGLE
 56-783 KUALAPA PLACE
 HAWI, HI 96719

 HANS-CHRISTIAN WINKLER
 3505 72ND ST., APT. 6D
 JACKSON HEIGHTS, NY 11372

 HANSON BAKER
 HANSON BAKER LUDLOW DRUMHELLER PS
 2229 - 112TH AVE NE, SUITE 200
 BELLEVUE, WA 98004-2936

 HAO ZHANG
 3A1001, SHANGTANG JINMAO MANSION,
 LONGHUA DISTRICT
 SHENZEN, GUANGDONG 518000 CHINA

 HARBOR PLATFORM, INC
 580 PACIFIC AVE.
 SAN FRANCISCO, CA 94133

 HARBOR WEALTH SERVICES
 14987291
 SEATTLE, WA 98006

 HARDY DEVELOPMENT COMPANIES
 ADDRESS UNAVAIL AT TIME OF FILING

 HARLAND CLARKE CHECK PRINTING
 PO BOX 351220
 NEW BRAUNFELS, TX 78135

 HARLOW MONTAGUE
 20047 MCCRAY DRIVE
 ABINGDON, VA 24211

 HAROLD E WILLIAMS III
 6249 AMETHYST DRIVE
 WAUNAKEE, WI 53597




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 HAROLD J MOLLOY
 608 EASTHAM CT
 MURRELLS INLET, SC 29576

 HAROLD S STEWART
 536 DETOUR RD
 BOWLING GREEN, KY 42101

 HARRELL & SON PLUMBING, INC.
 PO BOX 8213
 BONNEY LAKE, WA 98390

 HB PORTABLES
 PO BOX 1820
 MCCLEARY, WA 98557

 HD PARTNERS, LLC
 1535 NW 49TH ST
 SEATTLE, WA 98107

 HEADSETS.COM
 211 AUSTIN STREET
 SAN FRANCISCO, CA 94109

 HEALTH AND ASSOCIATES, INC
 2214 TACOMA ROAD
 PUYALLUP, WA 98371

 HEALY CAPITAL LLC
 2938 LIMITED LANE NW
 SUITE A-1
 OLYMPIA, WA 98502

 HEB BUSINESS SOLUTIONS
 375 SOUTH 300 WEST
 SALT LAKE CITY, UT 84101

 HELEN ANN DEAN ESTATE
 3925 MASSIE AVENUE
 LOUISVILLE, KY 40207




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 HELEN WILKERSON AND STACI ROBINSON
 7068 FM 142
 STANFORD, TX 79553

 HELENE BROTMAN
 100 SOUTH EOLA DRIVE, UNIT 1008
 ORLANDO, FL 32801

 HEMA AND VIMAL SHAH
 20116 OAK ALLEY DR
 TAMPA, FL 33647

 HENGXIN PHARMA CO., LIMITED
 15/F , JSH906, HIGHGRADE BUILDING,
 117 CHATHAM ROAD,
 TSIMSHATSUI, KOWLOON, HK

 HENRI HENRIKSEN
 ADDRESS UNAVAIL AT TIME OF FILING

 HENRI HENRIKSEN
 ADDRESS UNAVAIL AT TIME OF FILING

 HENRY AND LANA VARSHAVSKY
 21 BRIAR HILL RD
 SHARON, MA 02067

 HENRY G TAYLOR
 20550 ROSEWOOD MANOR SQUARE
 ASHBURN, VA 20147

 HENTSCHELL & ASSOCIATES, INC.
 1436 S UNION AVE
 TACOMA, WA 98405-1925

 HERB YOUNGBLOOD
 6108 88TH PL.
 LUBBOCK, TX 79424




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 HERITAGE BANK
 ADDRESS UNAVAIL AT TIME OF FILING

 HERMAN AVILA
 11435 STAPLETON CT
 CERRITOS, CA 90703

 HIGH COUNTRY HOMES 1, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 HIGH COUNTRY SOUNDVIEW MANOR, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 HIGHGAZ DERBOGOSIAN
 HIGHGAZ DERBOGOSIAN C/O G JOHNSON
 PO BOX 7138
 RANCHO SANTA FE, CA 92067

 HIGHMARK HOMES, LLC
 700 M STREET NE
 AUBURN, WA 98002

 HILTON R MILLER
 199 BALLENGER RD
 MOOREBORO, NC 28114

 HILYER DISPUTE RESOLUTION (HDR)
 1000 2ND AVENUE
 30TH FLOOR
 SEATTLE, WA 98104

 HIMANSHU TIWARI
 ADDRESS UNAVAIL AT TIME OF FILING

 HINES LIVING TRUST
 1373 E PRESCOTT PL.
 CHANDLER, AZ 85249




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 HIRSCH FAMILY REVOCABLE LIFETIME T
 5070 CORINTHIA WAY
 OCEANSIDE, CA 92056

 HIWAYS INTERNATIONAL, PLLC
 11900 NORTHEAST 1ST STREET
 SUITE 300
 BELLEVUE, WA 98005

 HOME DEPOT
 PO BOX 6032
 THE LAKES, NV 88901-6029

 HONEY BUCKET
 PO BOX 73399
 PUYALLUP, WA 98373

 HONG FAN
 ROOM 503, NO.9, LANE 1045
  TONGXIN ROAD, HONGKOU DISTRICT
 SHANGHAI, 200083 CHINA

 HONG JIANG
 RM 201, NO.2 KECHUANG BLDNG LINA
 1588 LIANHANG ROAD
 MINHANG, CHINA

 HONG LI
 14TH FLR MIDDLE TWR GT LAND PLAZA
 45 JIEFANG ROAD, JIANGGAN DST
 HANGZHOU, ZHEJIANG,   CHINA

 HONGKONG WILSUN HI-TECH MATERIALS
 13A FLOOR, GLOBAL FIN CTR SOUTH
 HARBOUR CITY, 17 CANTON RD,
 TSIM SHA TSUI,KOWLOON, HK

 HONGSHAO LIANG
 625 BUZZARD LAKE TRAIL
 FORT WORTH, TX 76120




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 HORIZON VIEW HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 HOROWITZ INSURANCE, INC
 300 WEST 15TH STREET, SUITE 300-2
 VANCOUVER, WA 98660

 HOTEL CONCEPTS
 ADDRESS UNAVAIL AT TIME OF FILING

 HOUSE BROTHERS CONSTRUCTION
 PO BOX 1820
 MCCLEARY, WA 98557

 HOWARD AND LAURIE LAZOFF
 18010 COACHMANS ROAD
 GERMANTOWN, MD 20874

 HOWARD REICH
 1 OXFORD CT
 RANCHO MIRAGE, CA 92270

 HQC USA
 ADDRESS UNAVAIL AT TIME OF FILING

 HRISHI T & HIRAL H PATEL, TENANTS
 16447 IVY LAKE DR
 ODESSA, FL 33556

 HUA WANG
 # 802, BUILDING 8, QIUMA SIJI CMT
 DAYU STREET, MENTOUGOU DISTRICT
 BEIJING, 065001 CHINA

 HUAIYI HAN
 RM 1801, UNIT 3, BLDG 6, BAOYU
 NO.88, BEIMA RD, DAOWAI QU PRC
 HA`ERBIN, HEILONGJIANG, 150036




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 HUASHENG, LLC
 1155 NE 55TH ST.
 SEATTLE, WA 98105

 HUGH DEVELOPMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 HUIFANG YANG
 ROOM 302, UNIT 4, BUILDING 10,
 CHENGBEI JIEDAO, CHANGPING DIST.
 BEIJING,   CHINA

 HUIMIN ZHANG
 XISHAN ST, BUILDING 1, ROOM 1-4-3
 DALIAN, LIAONING, 116000 CHINA

 HUIWEI ZHANG
 ROOM 906, BLDNG 4, SOUTH RING ST
 GUANGNI GRD, TIANKUN 1ST RD,
 TIANHE GUANGZHOU GUANGDONG CHINA

 HULL-FAUDOA TRUST DTD 3/28/2002
 210 SWAN RETREAT ROAD
 BIGFORK, MT 59911

 HULTQUIST HOMES INC
 12570 OLD SEWARD HWY
 ANCHORAGE, AL 99515

 HUY T AND HEATHER MAI
 8104 W 130TH ST.
 OVERLAND PARK, KS 66213

 HYDE PARK PRIME STEAKHOUSE
 569 N HIGH ST.
 COLUMBUS, OH 43215

 I G B A
 ADDRESS UNAVAIL AT TIME OF FILING




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 I HAUL LLC
 1005 N MOUNTAIN VIEW AVE
 TACOMA, WA 98406

 IBN FINANCIAL
 404 OLD LIVERPOOL RD
 LIVERPOOL, NY 13088

 ICAP @ UW, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP 134TH STREET, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP B1, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP B2, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP BRISLAWN LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP BROADWAY, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP CAMPBELL WAY, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP DEVELOPMENT, LLC
 3535 FACTORIA BLVD SE #500
 BELLEVUE, WA 98006

 ICAP ENTERPRISES, INC.
 PO BOX 3907
 BELLEVUE, WA 98009




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 ICAP EQUITY, LLC
 3535 FACTORIA BLVD SE, SUITE 500
 BELLEVUE, WA 98006

 ICAP EVO, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP FINN HILL, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP FINN MEADOWS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP FUNDING INVESTMENTS
 3535 FACTORIA BLVD SE #500
 BELLEVUE, WA 98006

 ICAP FUNDING, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP INTERNATIONAL INVESTMENT LLC
 3535 FACTORIA BLVD SE #500
 BELLEVUE, WA 98006

 ICAP INVESTMENTS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP INVESTOR RELATIONS
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP LAKE VIEW, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP MANAGEMENT, LLC
 3535 FACTORIA BLVD SW, STE 500
 BELLEVUE, WA 98006




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 ICAP NORTHCREEK, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP NORTHWEST OPPORTUNITY FUND, L
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP PACIFIC INCOME FUND 4, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP PACIFIC INCOME FUND 5, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP PACIFIC NRTHWST OPORTUNITY &
 3535 FACTORIA BLVD SE, SUITE 500
 BELLEVUE, WA 98006

 ICAP PACIFIC NW FUND 2I
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP PACIFIC NW MANAGEMENT, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP PNW FUND 2I
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP REALTY
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP REALTY, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP RHODY RIDGE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP VAULT HOLDING, LLC
 ADDRESS UNAVAIL AT TIME OF FILING




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 ICAP VAULT I, LLC
 PO BOX 3907
 BELLEVUE, WA 98009

 ICAP VAULT MANAGEMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 ICAP VAULT, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ICON IMAGERY
 2620 BELLEVUE WAY NE #116
 BELLEVUE, WA 98004

 IFIC
 ONE NEWARK CENTER
 20TH FLOOR
 NEWARK, NJ 07102

 IGOR ZAIKA
 ADDRESS UNAVAIL AT TIME OF FILING

 IHG TRI CITIES, LLC
 2300 EAST 3RD LOOP, SUITE 100
 VANCOUVER, WA 98661

 ILYAS ILIYA
 441 LIBERTY STREET
 SAN FRANCISCO, CA 94114

 IMAGEARTS PRODUCTIONS
 13211 4TH AVE NW
 SEATLE, WA 98177

 IND: JIMBOY DE CASTRO
 ADDRESS UNAVAIL AT TIME OF FILING

 INDIGO REAL ESTATE SERVICES, INC
 5415 CALIFORNIA AVE SW
 SEATTLE, WA 98136




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 INFINITI REAL ESTATE & DEVELOPMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 INGA L HUGHES
 7500 CAMP WISDOM RD
 DALLAS, TX 75236

 INGALLINA`S BOX LUNCH
 135 S LUCILE ST.
 SEATTLE, WA 98108

 INLET CAPITAL GROUP LLC DEFINED BE
 110 FRONT STREET, SUITE 300
 JUPITER, FL 33477

 INMAN ENTERPRISES DESIGN & STAGE L
 19029 36TH AVE W, SUITE F
 LYNNWOOD, WA 98036

 INNOVATIVE LANDSCAPE TECHNOLOGIES
 10 - 108TH ST SE
 EVERETT, WA 98208

 INSPIRE PLANNER INC.
 PO BOX 75335 LESLIE STREET PO
 TORONTO, ON M4M 1B0
 CANADA

 INSTITUTIONAL CAPITAL NETWORK INC
 60 E 42ND ST
 FLOOR 26
 NEW YORK, NY 10165

 INSTITUTO CIRUGIA ORBITO FACIAL RE
 PO BOX 8508
 SAN JUAN, PR 00910

 INSULATION NORTHWEST, LLC
 PO BOX 790
 MILTON, WA 98354




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 INTEGRAL NORTHWEST CORPORATION
 ADDRESS UNAVAIL AT TIME OF FILING

 INTEGRATED ADVISORS NETWORK, LLC
 PO BOX 6
 PALOS VERDES ESTATES, CA 90274

 INTEGRATED CONCRETE SYSTEMS
 PO BOX 1227
 PUYALLUP, WA 98371

 INTEGRATED DESIGN ENGINEERS
 2101 4TH AVE
 SUITE 1980
 SEATTLE, WA 98121

 INTEGRITY LAW GROUP, PLLC
 2033 6TH AVENUE, SUITE 920
 SEATTLE, WA 98121

 INTEGRITY WINDOW COVERINGS
 PO BOX 935
 MILTON, WA 98354

 INTELLASPHERE INC
 4725 200TH ST SW
 SUITE D226
 LYNNWOOD, WA 98036

 INTERAMERICAN INVESTMENT, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 INTERNAL REVENUE SERVICE (IRS)
 ADDRESS UNAVAIL AT TIME OF FILING

 INTERNET DOMAIN NAME SERVICES, INC
 924 BERGEN AVE, SUITE #289
 JERSEY CITY, NJ 07306-3018




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 INVALUS, LLC
 PO BOX 513
 PRESTON, WA 98050

 IPFS CORP
 24722 NETWORK PLACE
 CHICAGO, IL 60673-1247

 IPROMISE TECH CONSULTANT SERVICES
 6/F MANULIFE PLC, 348 KWUN TONG RD
 KOWLOON
 HONG KONG

 IRAR TRUST COMPANY
 1000 BROADWAY, STE 350
 OAKLAND, CA 94607

 IRMGARD WORDEN
 TTEE OF IRMGARD L WORDEN REV TRST
 1920 N CLARK ST. APT. 8A
 CHICAGO, IL 60614

 ISOLA FINANCIAL, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 ITR ECONOMICS
 77 SUNDIAL AVE, #510W
 MANCHESTER, NH 03103

 IVETT INFANTE
 PO BOX 330412
 MIAMI, FL 33233

 J KIPP WALL
 4655 WATERFORD CT NE
 ST. PETERSBURG, FL 33703

 J S JONES AND ASSOCIATES, INC
 PO BOX 1908
 ISSAQUAH, WA 98037




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 JACEQULINE PEGELOW REV LIVING TRUS
 2017 E LAKEVIEW DRIVE
 SEBASTIAN, FL 32958

 JACK A OLMSTEAD TRUST DTD 3/1/2005
 104 12TH STREET EAST
 TIERRA VERDE, FL 33715

 JACK AND SHARON NOWLIN
 2217 NOTTINGHAM DR
 BEDFORD, TX 76022

 JACK G PREVOST
 1129 COUNTRY LN
 ORLANDO, FL 32804

 JACK LEIGHTON
 ADDRESS UNAVAIL AT TIME OF FILING

 JACK R THACKER
 909 CUMBERLAND STREET
 BRISTOL, VA 24201

 JACKS WELDING
 1826 112TH ST E SUITE C
 TACOMA, WA 98445

 JACOB J RUDEN
 3205 NILE ST.
 SAN DIEGO, CA 92104

 JACOB JORDAN
 6227 ST. ALBAN DR
 DALLAS, TX 75214

 JACQUELINE HOPKINS
 229 W RACHEL CT
 INDEPENDENCE, MO 64055




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 JADE HOLIDAY TRAVEL, INC.
 4020 FACTORIA SQUARE MALL
 BELLEVUE, WA 98006

 JAIME BRAVO CASTRO
 LA VILLA DE TORRIMAR
 165 CALLE REINA ISABEL
 GUAYNABO, PR 00921

 JAIME BRAVO RETIREMENT PLAN
 LA VILLA DE TORRIMAR
 165 CALLE REINA ISABEL
 GUAYNABO, PR 00921

 JAIRO A ESTRADA CGM PROFIT SHARING
 26 URB DORADO BEACH ESTATE
 DORADO, PR 00646

 JAIRO A ESTRADA
 26 URB DORADO BEACH ESTATE
 DORADO, PR 00646

 JAKE EAGLE
 55-799 KEAHI POE PLACE
 HAWI, HI 96719

 JAMES A FRANDSEN
 1417 BRIGHTRIDGE DR
 KINGSPORT, TN 37664

 JAMES A MOLZHON
 ADDRESS UNAVAIL AT TIME OF FILING

 JAMES AND ANNA HALIKAS
 783 TRAMORE LANE
 NAPLES, FL 34108

 JAMES AND COURTNEY SMITH
 4529 DRUID HILLS
 FRISCO, TX 75034




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 JAMES AND ELEANOR GUSTAFSON
 25 LIBERTY ST.
 HAVERHILL, MA 01832

 JAMES AND MARTHA MANION
 230 GROGHAM RD
 CLARKSON, KY 42726

 JAMES B BALDWIN
 873 LAKE COUNTRY DRIVE
 INCLINE VILLAGE, NV 89451

 JAMES BALDWIN FAMILY TRUST
 873 LAKE COUNTRY DRIVE
 INCLINE VILLAGE, NV 89451

 JAMES C CRAFTON TOD
 3725 SAND ROCK TRAIL
 OWENSBORO, KY 42303

 JAMES C SCHMITZ REVOCABLE TRUST
 PO BOX 1147, WILSON
 WILSON, WY 83014

 JAMES D BOHRI
 2485 HOUGHTON LEAN
 MACUNGIE, PA 18062

 JAMES EVANS
 382 DAVOS ROAD
 GIRDWOOD, AK 99587

 JAMES FERRARO
 14830 N 15TH DR
 PHOENIX, AZ 85023

 JAMES H WHITE
 35 LAMPREY RD
 BROKEN BOW, OK 74728




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 JAMES HANSON
 1400 JULIE CT
 RENO, NV 89509

 JAMES HUMPHREY
 18270 W 157TH ST.
 OLATHE, KS 66062

 JAMES JOHNSON IRREVOCABLE TRUST
 111 N HOT SPRINGS DRIVE
 BOISE, ID 83712

 JAMES L ADAMS
 9421 PINE ST.
 LENEXA, KS 66220

 JAMES L BRENIZER
 53344 STATE HWY P,
 EDINA, MO 63537

 JAMES M HEALEY
 3802 N FRACE ST.
 TACOMA, WA 98407

 JAMES M MARZEC AND MARCIA S MARZEC
 1103 BUELL AVE
 JOLIET, IL 60435

 JAMES MACZKO
 31704 N CLEARWATER DR
 LAKEMOOR, IL 60051

 JAMES MARK JR & ELIZABETH MARK
 33 OCEAN OAKS LANE
 PALM COAST, FL 32137

 JAMES MARK
 33 OCEAN OAKS LANE
 PALM COAST, FL 32137




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 JAMES N DEGNAN,
 BEN OF THE BARBARA R DEGNAN EST
 PO BOX 341243
 AUSTIN, TX 78734

 JAMES P SHERIDAN AND HELAINE M SHE
 REVOCABLE LIVING TRUST
 1600 CLEARBROOK DR
 ALLEN, TX 75002

 JAMES PENA
 1521 GETTYSVUE WAY
 PRESCOTT, AZ 86301

 JAMES R AND PAMELA ROETHLE, JTWROS
 3 CARRIAGE CT
 JOHNSON CITY, TN 37604

 JAMES REID
 6004 PEDERNALES RIDGE
 NORTH RICHLAND HILLS, TX 76180

 JAMES ROBERTSON
 1833 RICHLAND DR
 ABILENE, TX 79603

 JAMES SHERIDAN
 1600 CLEARBROOK DR
 ALLEN, TX 75002

 JAMES SPEIGHT
 17104 EARTHWIND DR
 DALLAS, TX 75248

 JAMES W LEWERT
 11 HOLLOW SPRING RD
 NORWALK, CT 06854

 JAMES WENTWORTH
 3 ASHLEY NICOLE DR
 PLAISTOW, NE 03865




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 JAMI STEVENSON
 2528 LARCHMOUNT DR NE
 ISSAQUAH, WA 98029

 JAMIE D GARGOTTA
 2661 NW LEES SUMMIT RD
 LEE`S SUMMIT, MO 64064

 JAMS, INC.
 18881 VON KARMAN AVE. SUITE 350
 IRVINE, CA 92612

 JAN BUTTON-MINTON AND ROBERT P MIN
 5202 MOCCASIN TRAIL
 LOUISVILLE, KY 40207

 JAN J AND MARSHA L KLODNER
 3309 BUCKETHORN CT
 GARLAND, TX 75044

 JAN KRAMER
 35 CALLE JUAN C BORBON STE 67-333
 GUAYNABO, PR 00969

 JAN PHILLIPS-CLAR
 6923 PASEO LAREDO
 LA JOLLA, CA 92037

 JANE FUSSELL
 4410 ALYDAR DR
 BARLESON, TX 76028

 JANELLE F OUELLETTE
 157 TOWN CENTER BLVD #3412
 CLERMONT, FL 34714

 JANICE P MECCA
 379 SCHOOL ST.
 BOYLSTON, MA 01505




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 JANINE R STERRITT
 1820 ROYAL FERN LN
 JACKSONVILLE BEACH, FL 32250

 JARED COX
 2715 HERMOSA VISTA DR
 MESA, AZ 85213

 JAWAHAR L AND VIJAY TAUNK
 4050 PRESIDENTIAL DR
 PALM HARBOR, FL 34685

 JCBH ENTERPRISE, LLC
 1-19 PASEO ALHAMBRA, TORRIMAR
 GUAYNABO, PR 00966

 JEAN AND ROBERT VESTAL
 1308 OLD MILL RD
 CEDAR PARK, TX 78613

 JEAN D COFFMAN
 324 HEDGEROW CT
 KINGSPORT, TN 37663

 JEANETTE M GRISSOM
 4529 SHELDON TRAIL
 FORT WORTH, TX 76244

 JEANNE BLAIR
 1010 9TH AVENUE S
 EDMONDS, WA 98020

 JEANNE M SCHAEFFER
 9755 E CTY RD 1850 N
 FERDINAND, IN 47532

 JEANNE RICOTTA
 2982 NIGHT WATCH WAY
 ALPINE, CA 91901




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 JEFF LARSON
 2250 WEST ROSCOE UNIT 1
 CHICAGO, IL 60618

 JEFFERY A OSBORN
 3471 NEAL CREEK RD
 HOOD RIVER, OR 97031

 JEFFREY A KAPLAN
 5 CORLISS RD
 WINDHAM, NH 03087

 JEFFREY A RHONE
 5016 TIMBERVIEW DR
 FLOWER MOUND, TX 75028

 JEFFREY AND DIANA BRADY
 14780 CARMEL RIDGE RD
 SAN DIEGO, CA 92128

 JEFFREY AND JAMIE BUTLER
 29700 OLD PINK HILL RD
 GRAIN VALLEY, MO 64029

 JEFFREY DOSTER
 1840 PROSPECT AVE.
 ORLANDO, FL 32814

 JEFFREY GRAMM
 283 FRIENDSHIP DR
 BRISTOL, TN 37620

 JEFFREY HITTNER
 11055 N STARGAZER DR
 ORO VALLEY, AZ 85737

 JEFFREY J BEANE
 12 SKYLAR DR
 SOUTHBOROUGH, MA 01772




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 JEFFREY J BRADLEY
 TRUSTEE OF JEFFREY J BRADLEY LVNG
 3309 117TH LANE NE
 BLAINE, MN 55449

 JEFFREY JEWETT
 943 CARVER ST
 MESQUITE, TX 75149

 JEFFREY R AND PATRICIA A SERMERSHE
 9304 S STATE RD 257
 STENDAL, IN 47585

 JEFFREY ROLLWITZ
 9670 ROBBIE JONES RD
 SAN ANGELO, TX 76904

 JEFFREY S CUMMINGS
 700 BOSTON POST RD
 WESTON, MA 02093

 JEFFREY T DEAN
 4001 CARRIAGE HILL DR
 CRESTWOOD, KY 40014

 JEFFREY WOOLNOUGH AND CLAUDETTE RO
 5178 KIPPER WAY
 VERO BEACH, FL 32967

 JEM CNSTRUCTION INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 JENNIFER A ELLINGTON DEC`D TRUST 1
 5714 25RD N
 ARLINGTON, VA 22207

 JENNIFER BJORNSLAD
 ADDRESS UNAVAIL AT TIME OF FILING




23-01271-11   Doc 1   Filed 09/30/23   Entered 09/30/23 12:11:26   Pg 152 of 314
 JENNIFER FELDMAN LICHTMAN
 7951 LAURELRIDGE RD
 SAN DIEGO, CA 92120

 JENNIFER GOODWIN
 3909 MERRIMAN DR
 PLANO, TX 75074

 JENNIFER LONG
 8090 N COFFELT CEMETERY RD
 BENTONVILLE, AR 72713

 JENNIFER S JOHNSON SPECIAL NEEDS T
 359 GEORGETOWN RD
 NAZARETH, PA 18064

 JENSEN HUGHES, INC
 JENSEN HUGHES, INC
 PO BOX 7410242
 CHICAGO, IL 60674

 JEREMY W FUNKHOUSER AND ANDREA M S
 790 MARIGOLD CT
 BRIDGEVILLE, PA 15017

 JEROME AND ANASTASIA ANGEL INTERVI
 REV TRUST DECLARATION OF 1985
 801 E TAHQUITZ CANYON WAY, STE 200
 PALM SPRINGS, CA 92262

 JEROME WASHINGTON
 4223 SAN LUIS ST.
 COMPTON, CA 90221

 JERRY ANDERSON AND SHARON ERIKSSON
 103 BROAD VISTA COURT
 GEORGETOWN, TX 28628

 JERRY MONARCH
 11150 STATE ROUTE
 REYNOLDS STATION, KY 42368




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 JERRY W SMITH
 129 ASHLEY DR
 MOUNT CARMEL, TN 37645

 JESSE AND KACIE BURT
 334 GARTH RIDGE DR
 ABILENE, TX 79602

 JESSE AND RHODA ABZUG
 20928 SABER JET PLACE
 ASHBURN, VA 20147

 JESSE HOLBROOK III
 6845 OLD MILL ROAD
 NORTH RICHLAND HILLS, TX 76182

 JESSE L ABZUG
 20928 SABER JET PLACE
 ASHBURN, VA 20147

 JESSICA LENNARD
 8405B 8TH AVE NW
 SEATTLE, WA 98117

 JESUS BONILLA
 DORADO BEACH EAST 398
 DORADO, PR 00646

 JESUS LUCIO JR
 1042 KNOXBRIDGE ROAD
 FORNEY, TX 75126

 JI YANG
 80 DASHI W RD QINGYANG DISTRICT
 HE JIA GARDEN, ROOM 513A
 CHENGDU, SICHUAN, 610041 CHINA

 JIA LU
 ROOM 7B, BUILDING 2 FENGLIN OASIS
 DA TUN ROAD, CHAOYANG DISTRICT
 BEIJING,   CHINA




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 JIA MENG
 902, UNIT 1 BLDG 18 SHOUCHENG INTL
 36 GUANGQU ROAD,
 CHAOYANG D, BEIJING 100022 CHINA

 JIA YUAN
 #7A, NO.8 LANE 688, YAN`AN WEST RD
 CHANGNING DISTRICT
 SHANGHAI, 200000 CHINA

 JIAMEI SUN
 ROOM 3705, RUNFU PHASE 3
 NO.36 TONGGU ROAD, NANSHAN DIST
 SHENZHEN, GUANGDONG 511464 CHINA

 JIAN LU
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 JIANLIN FU
 1-1-202, LANTIAN CITY GARDEN,
 168 TIANCHENG ROAD, JIANGGANDST
 HANGZHOU, ZHEJIANG,   CHINA

 JIANQING HE
 RM 33, NO.2, LANE 209, CHANGSHU RD
 XUHUI DISTRICT
 SHANGHAI, 200031 CHINA

 JIAYING ZHENG
 615 WINDSOR LAKE PL
 VIRGINIA BEACH, VA 23452

 JIAZHI YANG
 ROOM 3103, BLDNG #8, REGENTS PARK
 88 HUICHUAN ROAD, CHANGNING DST
 SHANGHAI, 200050 CHINA

 JIAZHU LI
 9141 PINCH SHOT DR
 WINTER GARDEN, FL 34787




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 JIHONG LIN
 ROOM 210, BUILDING 12, BEIYUAN 2,
 CHAOYANG DISTRICT
 BEIJING, 100012 CHINA

 JIJUN WANG
 4226 129TH PL SE APT 4
 BELLEVUE, WA 98006

 JILL R SANTANGELO LIVING TRUST
 16082 ALISSA COURT
 HOMER GLEN, IL 60491

 JIM CAMPBELL & SONS INC
 ADDRESS UNAVAIL AT TIME OF FILING

 JIM CHRISTENSEN
 22828 SE 268TH PLACE
 MAPLE VALLEY, WA 98038

 JIM WAGNER
 ADDRESS UNAVAIL AT TIME OF FILING

 JIMMY C WHITE
 2933 N HWY 208
 COLORADO CITY, TX 79512

 JING JING XIE
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 JING LU
 B01, BLDG #55, NO 1, GONGYUAN AVE
 PANLONG DISTRICT
 KUNMING CITY, YUNNAN 650224 CHINA

 JING ZHANG
 2445 132ND AVE. SE
 BELLEVUE, WA 98005




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 JINGHUA LIU
 2-5-4, NO. 9, QINGYUN YUNJI
 ZHONGSHAN DISTRICT,
 DALIAN CITY, LIAONING 110621 CHINA

 JINGYING LOU
 7A VIEW ROAD, GLENFIELD
 AUCKLAND,
 NEW ZEALAND

 JJ WAVRO FAMILY TRUST
 1598 30TH CT
 KENOSHA, WI 53144

 JMW GROUP | WINDERMERE PROPERTY MA
 210 SUMMIT AVE E
 SEATTLE, WA 98102

 JO ANN BEVERLY
 10655 N 9TH ST. #127
 PHOENIX, AZ 85020

 JOAN PARMAN
 250 E ALAMEDA APT 307
 SANTA FE, NM 87501

 JOANN AMICK AND RICHARD AMICK JTWR
 1410 HOBSON
 RICHMOND, TX 77469

 JOANN VON PLINSKY
 8460 RIVERWALK LANDING
 SUWANEE, GA 30024

 JOANNE OWENS-PECK
 9 ENGLISH STATION ROAD
 ROCHESTER, NY 14616

 JODI B MCKINNEY REVOCABLE TRUST
 OS152 CATLIN SQUARE
 GENEVA, IL 60134




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 JOE AND TAMMY JONES
 125 WEST CLINTON STREET
 DUBLIN, TX 76446

 JOE JONES
 125 W CLINTON ST
 DUBLIN, TX 76446

 JOE KANNER
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 NEW YORK, NY 10022

 JOEL BERMAN
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 BOXFORD, MA 01921

 JOEL KOCEN
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 JOEL M SNYDER
 4960 ROCKFORD DR
 SAN DIEGO, CA 92115

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 TROPHY CLUB, TX 76262

 JOHN A AND MARY E MANOS
 23536 QUAIL HOLLOW DR
 WESTLAKE, OH 44145

 JOHN AND CARMEN HAMMEL
 URB PARKVILLE SUR, B28 CALLE ADAMS
 GUAYNABO, PR 00969

 JOHN AND CYNTHIA EVERS
 3064 GREYWALLS DRIVE
 POWHATAN, VA 23139




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 JOHN AND DONNA MCDONALD
 PO BOX 880848
 PORT ST. LUCIE, FL 34988

 JOHN AND JUDITH MCCLELLAN
 6387 FAWN LANE
 CIRCLE PINES, MN 55014

 JOHN AND JUDY FRAZIER
 4308 CHENNY LANE
 LOUISVILLE, KY 40299

 JOHN AND RUTH PAYNE
 3220 CANTERBURY LANE
 LOUSIVILLE, KY 40207

 JOHN ARIKO
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 JOHN ATZBACH
 15127 NE 24TH ST, SUITE 118
 REDMOND, WA 98052

 JOHN B PHILLIPS
 2404 HEMLOCK FARMS
 HAWLEY, PA 18428

 JOHN BRINDISI
 242 SMITH NECK ROAD
 SOUTH DARTMOUTH, MA 02748

 JOHN C AND TAMMY S RUFF
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 EVANSVILLE, IN 47713

 JOHN CROUCH
 ADDRESS UNAVAIL AT TIME OF FILING




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 JOHN CUOZZO
 16 SABINE LANE
 FRANKLIN, NJ 07416

 JOHN D SURYAN SOLO 401K TRUST
 16531 SE 59TH PLACE
 BELLEVUE, WA 98006

 JOHN DARRAH
 2539 QUAIL GLEN DR
 CARROLLTON, TX 75006

 JOHN F HOGAN
 33 DIKE DR
 CLINTON, MA 01510

 JOHN F SULLIVAN REVOCABLE TRUST UT
 44 HAWTHORNE LN
 BARRINGTON HILLS, IL 60010

 JOHN GEHRON
 55 W DELAWARE PL. #1017
 CHICAGO, IL 60610

 JOHN GEIB
 3449 POTOSI RD
 ABILENE, TX 79602

 JOHN GRIFFIN AND CONSTANCE GRIFFIN
 7425 GAINEY RANCH RD #16
 SCOTTSDALE, AZ 85258

 JOHN H CARLSON
 1601 MINNEAPOLIS AVE
 DULUTH, MN 55803

 JOHN HOWIE STEAK
 11111 NE 8TH ST #125,
 BELLEVUE, WA 98004




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 JOHN J WILBERT
 4800 COUNTY LINE RD
 MACEDON, NY 14502

 JOHN K GOODNOW AND LUCILLE GOODNOW
 43678 WARBLER SQUARE
 LEESBURG, VA 20176

 JOHN KAISER
 7410 W ECKERTY RD
 ECKERTY, IN 47116

 JOHN KEITH BENTLEY
 2300 KINGS COUNTRY DR
 IRVING, TX 75038

 JOHN L MALISIA REVOCABLE TRUST DTD
 612 STANFORD LANE
 BUFFALO GROVE, IL 60089

 JOHN M AND PATRICIA K JERNEJCIC, J
 3757 WILKES LN
 GIG HARBOR, WA 98332

 JOHN M SAGER
 6720 AMERICAN WAY
 BETHLEHEM, PA 18017

 JOHN MCCARLEY DAVIS
 1851 LEGION DRIVE
 WINTER PARK, FL 32789

 JOHN NASON, ARCHITECT D/B/A NASON
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 CONVINGTON, WA 98042

 JOHN PAUL REID
 119 GOLD CREEK CIRCLE
 FOLSOM, CA 95630




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 JOHN R AND COLLEEN P HENNING
 24272 HILLVIEW DR
 LAGUNA NIGUEL, CA 92677

 JOHN R HOLMES
 17508 S STATE ROUTE D
 BELTON, MO 64012

 JOHN S SCHOPPE
 216 GERARD CIR.
 MCCORMICK, SC 29835

 JOHN STANLEY QUANTRILL
 5959 COUNTY RD 441
 PRINCETON, TX 75407

 JOHN VAN BRUNT
 11984 GLADSTONE CT
 FRISCO, TX 75035

 JOHN WETTERSTEN
 19 LONGMEADOW RD
 WIMMETKA, IL 60093

 JOHN WILBER
 16389 N 108TH PL.
 SCOTTSDALE, AZ 85255

 JOHN WILLIAM WEISS 2002 TRUST
 4318 WEST PINE BLVD
 ST. LOUIS, MO 63108

 JOHNETTE H VAN EEDEN
 451 WESTPARK WAY, STE 1
 EULESS, TX 76040

 JOHNSON ECONOMICS
 621 SW ALDER SUITE 605
 PORTLAND, WA 97205




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 JON M AND HELEN C JOHNSTON, JTWROS
 13982 VINTAGE VW
 ABINGDON, VA 24210

 JON M GRACE
 4007 E SAGINAW HWY
 GRAND LEDGE, MI 48837

 JONATHAN D PINCUS + ELEANOR E CLAP
 10 WHITESTONE LANE
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 JONATHAN SARNA
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 JONATHAN SIEGEL
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 JORDAN STONE
 13174 N 100TH PLACE
 SCOTTSDALE, AZ 85260

 JORDON SHELTON
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 PUYALLUP, WA 98373

 JORGE ASENCIO WEBER
 PO BOX 932
 CAGUAS, PR 00926

 JORGE L PADILLA
 COND LAS OLAS - APT 1C
 1503 AVE ASHFORD
 SAN JUAN, PR 00911

 JORGE L RIVERA JIMENEZ
 PO BOX 1570
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 JORGE SALA
 8169 CALLE CONCORDIA, STE 102
 PONCE, PR 00717

 JOSÉ A ALONSO ALONSO
 65 AVENIDA CONDADO APT. 1, CONDADO
 SAN JUAN, PR 00907

 JOSÉ A ALONSO RETIREMENT PLAN
 URB PASEO MAYOR CALLE10 C36
 SAN JUAN, PR 00926

 JOSE A CHIPI CASAS
 40 CALLE CAOBA
 ESTANCIAS DE TORRIMAR
 GUAYNABO, PR 00966

 JOSE A RODRIGUEZ-RUIZ AND MARIA MU
 2815 W SANDERS DR
 TAMPA, FL 33611

 JOSE AND MARIA MEDINA
 URB MONTE CLARO ME 32 PLAZA 17
 BAYAMON, PR 00961

 JOSE C BENITEZ ULMER
 COND PARKSIDE PH4 D14 CALLE 6
 GUAYNABO, PR 00968

 JOSÉ G MATOS MALAVE RETIREMENT PLA
 CAPITAL CENTER SUR SUITE
 1202 AVA HOSTOS 239
 SAN JUAN, PR 00918

 JOSÉ R CUMBA PROFIT SHARING PLAN
 B-19 SOUTHVIEW COURT BALDWIN PARK
 GUAYNABO, PR 00969




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 JOSÉ SALA
 URB LA VILLA DE TORRIMAR
 10 CALLE REINA ISABEL
 GUAYNABO, PR 00966

 JOSEPH AIELLO
 6331 DWANE AVE.
 SAN DIEGO, CA 92120

 JOSEPH AND GAIL A MALOCHESKI
 583 ASH LN
 SAYLORSBURG, PA 18353

 JOSEPH AND KAREN SANTONE
 2945 PINE BLOOM WAY
 LELAND, NC 28451

 JOSEPH C AND BARBARA ANSLEY
 6812 MEADOWS WEST DR S
 FORT WORTH, TX 76132

 JOSEPH E KUHN AND CHARLOTTE G KUHN
 REVOCABLE LIVING TRUST
 149 SETTLEMENT DR UNIT 1-9
 BASTROP, TX 78602

 JOSEPH F HORVATH
 6486 KIRKWALL POINT SW
 OCEAN ISLE BEACH, NC 28469

 JOSEPH M JONES
 44 LINDA LANE
 FREMONT, NH 03044

 JOSEPH OCCIPINTI
 727 TYLER DR
 STROUDSBURG, PA 18360

 JOSEPH SANFILIPPO
 116 TOR CIR.
 GIBSONIA, PA 15044




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 JOSEPH T MURDOCH AND JANICE H MURD
 30 FITZWILLIAMS RD
 WASHINGTON, PA 15301

 JOSEPH V DALLI, CPA, A PROF CORPOR
 540 RALSTON AVE SUITE J
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 JOSH AND LEANN HASLAM FAMILY TRUST
 3180 E WATERMAN COURT
 GILBERT, AZ 85297

 JOSH RIDDELL
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 JOSHUA C PINCUS AND NATALIE A PINC
 57 RENSSELAER DR
 ROCHESTER, NY 14618

 JOSHUA LOWE
 13 LAKE COURT
 NORTH OAKS, MN 55127

 JOY CREECH
 2825 CR 2600
 STANTON, TX 79782

 JOY NECESSARY
 909 CUMBERLAND STREET
 BRISTOL, VA 24201

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 CLOVIS, NM 88101

 JOYCE FAMILY TRUST
 ADDRESS UNAVAIL AT TIME OF FILING

 JOYCE ZHONG
 ADDRESS UNAVAIL AT TIME OF FILING




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 JOYFUL HAVEN CLEANING, LLC
 1023 S FERRY ST
 TACOMA, WA 98405

 JP MORGAN SECURITIES, LLC
 605 NORTH MICHIGAN AVENUE
 CHICAGO, IL 60611

 JPMORGAN CHASE & CO.
 270 PARK AVE
 NEW YORK, NY 10017-2001

 JR SAMPSON COMPANY
 4040 ORCHARD ST W
 FIRCREST, WA 98466

 JS COATS
 570 KIRKLAND WAY, SUITE 101
 KIRKLAND, WA 98033

 JSH PROPERTIES, INC
 7325 166TH AVENUE NORTHEAST
 F-260
 REDMOND, WA 98052

 JSM EQUITIES, LLC DBA CALIBER HOME
 ADDRESS UNAVAIL AT TIME OF FILING

 JUAN A NEVAREZ RETIREMENT PLAN
 1699 CALLE PARANA URB RIO
 PIEDRAS HEIGHTS
 SAN JUAN, PR 00926

 JUAN F CANCIO RETIREMENT PLAN
 MIRAMAR ROYAL
 CALLE ROOSEVELT 706 APT. 1001N
 SAN JUAN, PR 00907

 JUAN GUO
 1771 MONROE AVE NE
 RENTON, WA 98056




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 JUAN R FERNANDEZ
 1717 PONCE DE LEON, APT. 1901
 SAN JUAN, PR 00909

 JUDD WHITE
 2541 JOHN C STEVENS
 ABILENE, TX 79601

 JUDITH A BURNS REVOCABLE TRUST DTD
 16 SHIP ST.
 JAMESTOWN, RI 02835

 JUDITH ESPINAR
 369 MONTEZUMA PERSONAL
 MAIL BOX 553
 SANTA FE, NM 87501

 JUDITH FABRICANT
 24 MULLARKEY DRIVE
 WEST ORANGE, NJ 07052

 JUDITH M GREEN
 4015 FOREST BEACH DR NW
 GIG HARBOR, WA 98335

 JUDITH WILLIAMS
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 FT WORTH, TX 76133

 JULIA FALVEY
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 JULIANA GOLDENBERG
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 JULIE A BOSIA
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 JULIE A COOMBS-TUPPER FAMILY TRUST
 70 MORNING MIST LANE
 WAYNESVILLE, NC 28785

 JULIE A FERRELL
 4135 BRIAGROVE LN
 DALLAS, TX 75287

 JULIE COOMBS-TUPPER
 70 MORNING MIST LANE
 WAYNESVILLE, NC 28785

 JULIE HOERR
 1220 EAST ECHO LANE
 PHOENIX, AZ 85020

 JULIE M BEEMAN DEC`D TRUST 12/15/9
 28739 SW SERENITY WAY
 WILSONVILLE, OR 97070

 JULIE MAYKISH TRUST DTD. MAY 24, 2
 20 BEVERLY RD
 WEST CALDWELL, NJ 07006

 JULIE ROBERTS
 259 WINDSOR DRIVE
 EPHRATA, PA 17522

 JUMIO INC
 395 PAGE MILL RD
 PALO ALTO, CA 94306

 JUN SHEN
 #1009, #6, ALLEY 476, CHANGNING RD
 CHANGNING DISTRICT,
 SHANGHAI,   CHINA

 JUNE DEAN
 6600 LOOKOVER CIRCLE
 CRESTWOOD, KY 40014




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 JUNFEI WANG
 9620 HEATHER PLACE
 RICHMOND, BC V7A 2T3
 CANADA

 JUNMING CHEN
 10-2-402 ZHICHENGYUAN XIXICHENGYUA
 XIHU DIST.
 HANGZHOU, ZHEJIANG, 310030 CHINA

 JUSTIN C KROLL
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 JUYING PENG
 15919 SOUTHEAST 44TH WAY
 BELLEVUE, WA 98006

 KAI AND MICHELLE OGSTON
 911 EAST WILD ROSE ROAD
 COLBERT, WA 99005

 KAI OGSTON
 911 EAST WILD ROSE ROAD
 COLBERT, WA 99005

 KALOS FINANCIAL INC
 11525 PARK WOODS CIR
 ALPHARETTA, GA 30005

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 KARA M CHAPMAN
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 KAREEM ILIYA
 70 GLEN VIEW DR
 SHOREHAM, VT 05770




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 KAREN L RICHE
 1292 CHEROKEE RD
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 KAREN MCALLISTER
 328 LAFAYETTE ROAD
 COATESVILLE, PA 19320

 KAREN WATKINS
 873 GARDEN GLENN LOOP
 LAKE MARY, FL 32746

 KARIS PROPERTIES TI
 2701 SYLVAN DRIVE W
 TACOMA, WA 98466

 KAROL MAYER
 1227 BRENHAM DR
 ALLEN, TX 75013

 KAROLEE KASSNER-SAMAC
 16725 3RD AVE S
 BURIEN, WA 98148

 KATHERINE S DEAN
 725 KAPIOLANI BLVD
 APT. 3002
 HONOLULU, HI 96813

 KATHLEEN A ANDERSON
 35 W 979 FIELDCREST DR
 ST. CHARLES, IL 60175

 KATHLEEN A BISHOP DESCENDANTS TRUS
 22W040 GLENDALE TERRACE
 MEDINAH, IL 60157

 KATHLEEN WHISTANCE
 209 SE COYLE CT
 LEE`S SUMMIT, MO 64063




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 KATHRYN ANN COLE INDV
 79090 VIA SAN CLARA
 LA QUINTA, CA 92253

 KATHRYN HECHT
 146 BEAUMONT AVE
 SAN FRANCISCO, CA 94118

 KATHRYN S LINDQUIST
 847 WASHINGTON STREET
 ANOKA, MN 55303

 KATHY CONN AND KEITH RIEGELSBERGER
 161 WILLIAMSBURG DRIVE
 AVON LAKE, OH 44012

 KATHY CONN
 161 WILLIAMSBURG DRIVE
 AVON LAKE, OH 44012

 KATIE J GALE
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 KAVI MARKETPLACE
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 KAY DELGADO
 4515 FOREST BEND COURT
 GARLAND, TX 75040

 KAYLA WOOD
 ADDRESS UNAVAIL AT TIME OF FILING

 KBRI6
 ADDRESS UNAVAIL AT TIME OF FILING




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 KE LI
 ROOM 2502, NO. 11 LANE 58,
 SOUTH LONGZHOU ROAD, MINHANG DST
 SHANGHAI, CHINA

 KE REN
 ROOM 3206 BUILDING 1,,
 FENGHUANGHEMEI CTY, CHANGHONG RD
 YUHUAT NANJING, JIANGSU 210000 PRC

 KEITH A RIEGELSBERGER
 3259 NAPA BLVD
 AVON, OH 44011

 KEITH A WILSON
 1302 CASA MARINA LANE NW
 ALEXANDRIA, MN 56308

 KELLE TYSON
 216 GLITCHEGUMEE DR
 BUCKLEY, MI 49620

 KELLEN M WOLFE
 14596 RANCH TRAIL DR
 EL CAJON, CA 92021

 KELLER WILLIAMS REALTY INC
 1000 SE EVERETT MALL WAY #201
 EVERETT, WA 98208

 KELLY BAGGETT
 4802 117TH STREET
 LUBBOCK, TX 79424

 KENNEDY WILSON INC
 151 S EL CAMINO DR
 BEVERLY HILLS, CA 90212

 KENNETH AND BEVERLY KNIGHT, JTWROS
 3900 RIDGE ROAD
 WILLOW PARK, TX 76087




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 KENNETH AND DONNA CHARBONEAU
 43536 CANLA DR
 PAW PAW, MI 49079

 KENNETH AND GLORIA GLOVER
 8851 HARDWICK RD
 ABILENE, TX 79606

 KENNETH AND JULIANA BARROW
 2107 HEMLOCK LN
 EAST STROUDSBURG, PA 18302

 KENNETH AND KATHLEEN THOMPSON
 2314 QUARTERPATH DRIVE
 RICHMOND, TX 77406

 KENNETH AND PATRICIA CASON
 817 NE COLLEEN DR
 LEE`S SUMMIT, MO 64086

 KENNETH CHARBONEAU
 43536 CANLA DR
 PAW PAW, MI 49079

 KENNETH E ADAMS
 11 SOUTH LAKE BRIDGE
 INLET BEACH, FL 32461

 KENNETH G AND CARLA M STEVENS
 9752 NEW CALIFORNIA DR
 PLAIN CITY, OH 43064

 KENNETH G STEVENS
 9752 NEW CALIFORNIA DR
 PLAIN CITY, OH 43064

 KENNETH L MICHAELIS & ELAINE A MIC
 134 CRYSTAL SPRINGS DRIVE
 GEORGETOWN, TX 78633




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 KENNETH PODPESKAR
 14096 BURGUNDY COURT
 ROSEMOUNT, MN 55068

 KENNETH PORTER
 1850 KEARNEY CT, NE
 LELAND, NC 28451

 KENNETH ROCHEN
 5504 80TH ST.
 LUBBOCK, TX 79424

 KENT CHARBONEAU
 64683 77TH AVE
 HARTFORD, MI 49057

 KENT HOLMES PAINTING
 4720 BROWNS POINT BLVD
 TACOMA, WA 98422

 KERRY M GOLDS AND DEREK C MAZIQUE
 511 MADISON STREET
 HOBOKEN, NJ 07030

 KEVIN AND PAMELA LONG
 PO BOX 105
 BLAKESLEE, PA 18610

 KEVIN BENTSON
 ADDRESS UNAVAIL AT TIME OF FILING

 KEVIN C BERRY LIVING TRUST
 24083 N 76TH PL.
 SCOTTSDALE, AZ 85255

 KEVIN C BERRY
 24083 N 76TH PL.
 SCOTTSDALE, AZ 85255




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 KEVIN COE
 1727 CLARKE SPRINGS DR
 ALLEN, TX 75002

 KEVIN J POUCHE
 10 COUNTRY ROAD
 CHESTNUT HILL BROOKLINE, MA 02476

 KEVIN M MEDEIROS
 18 ORCHARD DR
 HUDSON, MA 01749

 KEVIN M WEST
 160 UNIVERSITY RD
 BROOKLINE, MA 02445

 KEVIN R CROCKETT
 28188 DESERT PRINCESS DRIVE
 CATHEDRAL CITY, CA 92234

 KEVIN RUPERT
 1834 ADAMS AVE
 SAN DIEGO, CA 92116

 KEVIN SUMMA
 731 LOWER DEER VALLEY RD
 TANNERSVILLE, PA 18372

 KEYSTONE NATIONAL GROUP, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 KIDDER MATHEWS
 500 108TH AVE NE, SUITE 2400
 BELLEVUE, WA 98004

 KIM A PARR
 3945 MILITARY ROAD NW
 WASHINGTON, DC 20015




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 KIM M FIGLIULO
 12512 LAKE VIEW DR
 ORLAND PARK, IL 60467

 KIM MEACHAM
 ADDRESS UNAVAIL AT TIME OF FILING

 KIMLEY-HORN AND ASSOCIATES, INC.
 421 FAYETTEVILLE ST
 RALEIGH, NC 27601

 KIN+CARTA (AKA:SPIRE DIGITAL)
 PO BOX 2619
 LITTLETON, CO 80161

 KING COUNTY FINANCE
 201 S JACKSON ST STE 710
 SEATTLE, WA 98104

 KING COUNTY HOUSING AUTHORITY
 600 ANDOVER PARK W
 TUKWILA, WA 98188

 KING COUNTY TREASURY
 201 S JACKSON ST. #710
 SEATTLE, WA 98104

 KINGBOND INTERNATIONAL INVESTMENT
 RM A, 20/F, KIU FU COMMERCIAL BLDG
 300 LOCKHART RD
 WANCHAI, HONG KONG

 KINGDOM TRUST
 PO BOX 870
 MURRAY, KY 42071

 KINGSBURY CAPITAL, INC.
 1560 SHERMAN AVENUE, SUITE 520
 EVANSTON, IL 60201




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 KIRK D HARTMAN
 998 WEST ARCHERFIELD DRIVE
 MERIDIAN, ID 83646

 KIRKLAND DEVELOPMENT, LLC
 2300 E 3RD LOOP, SUITE 100
 VANCOUVER, WA 98661

 KIRKLAND GMC
 12335 120TH AVE NE
 KIRKLAND, WA 98034

 KIT L MCMANUS
 153 OAK BRANCH CT
 WAXAHACHIE, TX 75167

 KITSAP COUNTY
 614 DIVISION ST
 PORT ORCHARD, WA 98366-4614

 KITTIAS COUNTY
 ADDRESS UNAVAIL AT TIME OF FILING

 KLEENSWEEP CONSTRUCTION, INC.
 PO BOX 611
 MILTON, WA 98354

 KLEPPS
 ADDRESS UNAVAIL AT TIME OF FILING

 KLIEMANN BROTHERS HEATING & AIR
 4703 116TH STREET EAST
 TACOMA, WA 98446

 KOSNIK ENGINEERING, PC
 10505 19TH AVE SE, SUITE B
 EVERETT, WA 98208




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 KPFF, INC.
 1601 FIFTH AVE.
 SUITE 1600
 SEATTLE, WA 98101

 KRISTINA D CRAWFORD
 514 ROCHESTER CLOSE
 FRANKLIN, TN 37064

 KRISTON TRETTON
 185 MANVILLE HILL RD UNIT 507
 CUMBERLAND, RI 02864

 KUN WANG
 NO.144, BLD 14 #6 CRHNG TIGER BRDG
 HAIDIAN DISTRICT
 BEIJING, 100044 CHINA

 KUNZMAN & BOLLINGER, INC
 5100 N BROOKLINE AVE
 SUITE 600
 OKLAHOMA CITY, OK 73112

 KUO ZHONG
 6TH FLR, BLDG B, RAYCOM INFO CNTR
 HAIDIAN DISTRICT
 BEIJING,   CHINA

 KURT M RAWDING
 331 REMINGTON ROAD
 EAST STROUDSBURG, PA 18301

 KURT R BALDRY
 12868 90TH ST. NE
 OTSEGO, MN 55330

 KVCF, PLC
 1401 E CARY STREET
 RICHMOND, VA 23219




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 KVH CONSTRUCTION
 ADDRESS UNAVAIL AT TIME OF FILING

 KWAN CHAN AND DEWEI ZOU
 4209 WHITMAN AVENUE NORTH
 SEATTLE, WA 98103

 KYLE RIVA
 4563 TIGUA ISLAND CT
 WINTER PARK, FL 32792

 L & L PRINTING, INC.
 1430 E MAIN AVE SUITE E
 PUYALLUP, WA 98372

 L&R CORPORATION
 PO BOX 643
 YAUCO, PR 00698

 LA ARBOLEDA, LLC
 MCS PLAZA, SUITE 804, 255 AVE.
 PONCE DE LEON
 SAN JUAN, PR 00917

 LAFFERTY & ASSOCIATES
 7719 S 124TH ST.
 SEATTLE, WA 98178

 LAKE UNION ESTATES, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 LAKE WASHINGTON HUMAN RESOURCES AS
 2150 NORTH 107TH STREET
 SUITE 205
 SEATTLE, WA 98133

 LANDMARK DESIGN INC
 1202 MAIN STREET #104
 SUMNER, WA 98390




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 LARRY D HAYES
 4910 HACKBERRY LN
 PARKER, TX 75002

 LARRY DREW KEMP
 9509 FM 860
 MONTALBA, TX 75853

 LARRY E AND RITA S VEST (JTWROS)
 4212 CENTERFIELD DR
 CRESTWOOD, KY 40014

 LARRY GLANVILLE
 361 BARKS ROAD
 CALEDONIA, NY 14423

 LARRY HAHN
 2383 CAMDEN LAKE CIRCLE NORTHWEST
 ACWORTH, GA 30101

 LARRY J LUCKIE
 PO BOX 1962
 OZONA, TX 76943

 LARRY L PENKA AND JANICE L PENKA T
 5417 W 141ST ST. TERRACE
 LEAWOOD, KS 66224

 LARRY MCCORD
 3775 GUMTREE LANE
 ST. LOUIS, MO 63129

 LARRY W HAIRGROVE
 453 ANDERSON COUNTY RD #1209
 GRAPELAND, TX 75844

 LARSON & ASSOCIATES
 ADDRESS UNAVAIL AT TIME OF FILING




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 LATCHMIN KISSOON
 1821 DITMARS BLVD
 ASTORIA, NY 11105

 LAUCHLIN R BETHUNE ASSOCIATES, INC
 P O.BOX 1442
 MAPLE VALEEY, WA 98038

 LAURA D JONES TRUST DATED 9/28/201
 5989 BUTTONWOOD SQ
 VERO BEACH, FL 32966

 LAURA M STEVENS
 11981 CYPRESS VALLEY DR
 SAN DIEGO, CA 92131

 LAURA SCIBA
 ADDRESS UNAVAIL AT TIME OF FILING

 LAUREN C HART
 2160 CALLAHAN DRIVE
 FORNEY, TX 75126

 LAW OFFICE OF HANZHANG XU
 1901 AVENUE OF THE STARS,
 STE 200
 LOS ANGELES, CA 90067

 LAWN BOYS INC.
 1836 TERMINAL DR
 RICHLAND, WA 99354

 LAWRENCE E MAGEE
 16311 CANYON SHADOW
 SAN ANTONIO, TX 78232

 LAWRENCE S AND BETTY L FRIES
 703 MARDEL DR #503
 NAPLES, FL 34104




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 LEANDRO C & TERESITA V CENTENERA
 11206 SPYGLASS HILL LANE NE
 ALBUQUERQUE, NM 87111

 LEANNE KUHLMAN
 24419 30TH AVENUE EAST
 SPANAWAY, WA 98387

 LEASE DIRECT
 ADDRESS UNAVAIL AT TIME OF FILING

 LEBLANC FINANCIAL
 ADDRESS UNAVAIL AT TIME OF FILING

 LEE & ASSOCIATES COMMERCIAL
 701 PIKE STREET, SUITE 1025
 SEATTLE, WA 98101

 LEGAL & COMPLIANCE LLC
 330 CLEMATIS ST
 WEST PALM BEACH, FL 33401-4614

 LEGENDS ROOFING CO., INC.
 PO BOX 731249
 PUYALLUP, WA 98373

 LEI (RAYMOND) ZHANG (DON`T USE)
 APT. 1204 NO. 17, LANE 28,
 GUILIN DONG JIE, XUHUI DISTRICT
 SHANGHAI,   CHINA

 LEI (RAYMOND) ZHANG
 APT. 1204 NO. 17, LANE 28,
 GUILIN DONG JIE,, XUHUI DISTRICT
 SHANGHAI, 200000 CHINA

 LEI WANG
 ROOM 209, BUILDING 3 BEIJING ZUNFU
 NO. 9 NAOSHIKOU STREET, XICHENG DS
 BEIJING,   CHINA




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 LEROY W FRICK LIVING TRUST
 124 E OAK ST.
 DALE, IN 47523

 LESA ROSS
 8201 THOMPSON PKWY
 ABILENE, TX 79606

 LESLIE D GARDNER
 9710 MAIN STREET UNIT A
 BOTHELL, WA 98011

 LESTER KOBZIK
 279 KELTON AVE.
 SAN CARLOS, CA 94070

 LEVAIN BAKERY INC
 167 WEST 74TH STREET
 NEW YORK, NY 10023

 LI GAO
 SENAVERA WATERSCAPE GARDEN
 CHAOYANG DISTRICT
 BEIJING, 100020 CHINA

 LI LI
 1004, #1, BLD 2 JIANYE TIANZHU,
 SHANGDING RDKANGNING, GUANCHENG DS
 ZHENGZHOU,HENAN, 450016 CHINA

 LI SI
 4-1202 WANJIAHUACHENG
 NO.380 PINGSHUI ST, GONGSHU DIST
 HANGZHOU, ZHEJIANG,   CHINA

 LIANXUE YAN
 2-14-2 WOBOYUAN COMMUNITY
 SOUTH WUMA RD, HEPING DISTRICT
 SHENYANG, LIAONING 110000 CHINA




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 LIBERTY LAND DEVELOPMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 LIBERTY MUTUAL INSURANCE
 PO BOX 91013
 CHICAGO, IL 60680-1171

 LIBERTY TRUST CO.
 8226 DOUGLAS AVE, SUITE 520
 DALLAS, TX 75225

 LIGHTHOUSE LENDERS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 LIMA ONE CAPITAL, LLC
 201 EAST MCBEE AVE SUITE 300
 GREENVILLE, SC 29601

 LIN LAN SUN
 ADDRESS UNAVAIL AT TIME OF FILING

 LINCOLN FINANCIAL GROUP
 PO BOX 2248
 FORT WAYNE, IN 46801

 LINDA BENENATO
 10114 NE 63RD ST
 KIRKLAND, WA 98033

 LINDA E SMEDBERG TRUST NUMBER 01E4
 2135 N JUNPER LN
 ARLINGTON HEIGHTS, IL 60004

 LINDA HANSON
 1400 JULIE CT
 RENO, NV 89509

 LINDA J WILLIAMS
 4787 GALICIA WAY
 OCEANSIDE, CA 92056




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 LINDA OLSON-SCHOPPE
 216 GERARD CIR.
 MCCORMICK, SC 29835

 LINDA S JONES HOULE
 15 EVERGREEN RD
 LINCOLN, RI 02865

 LINDA SUE CUNNINGHAM
 106 ROWAN DR
 BRISTOL, TN 37620

 LINDEN PARK HEATED STORAGE
 2102 E MAIN AVE
 PUYALLUP, WA 98372

 LING CAI
 ADDRESS UNAVAIL AT TIME OF FILING

 LING LUO
 1923 KNOXBRIDGE RD
 FORNEY, TX 75126

 LING-LING TSOU
 348 8F-1 KUANG FU SOUTH ROAD
 TAIPEI CITY, TAIWAN, 10693
 CHINA

 LINGYI ZHONG
 NO.153 CHAOHUI ROAD
 JINDUHUATING 5-3-902, GONGSHU DST
 HANGZHOU, ZHEJIANG, 310000 CHINA

 LINJI SUN
 ROOM 501, NO. 10, LANE 100,
 TIANLIN EAST ROAD, AIJIANYUAN
 XUHUI DST, SHANGHAI, 200030 CHINA




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 LINKAGE INTERNATIONAL TECHNOLOGIES
 RAL 88 88 DES VOEUX RD CENTRAL
 HONG KONG,
 CHINA

 LINVILLE LAW FIRM, PLLC
 800 5TH AVE STE 3850
 SEATTLE, WA 98104

 LISA CLARE-YEAGER
 537 NORTH 75TH STREET
 SEATTLE, WA 98103

 LIYA JIN (GRACE SHIN)
 RM 401, UNIT 3, BLD 7, LE`AN LI
 WEITANG TOWN,
 JIASHAN CTY, ZHEJIANG 314103 CHINA

 LIYUN DONG
 ADDRESS UNAVAIL AT TIME OF FILING

 LIYUN JIN
 1B-2803, QIANHAI PLAZA
 NO. 9 QIANHAI ROAD, NANSHAN DIST
 SHENZHEN, GUANGDONG 518054 CHINA

 LIZHENG SUN
 NO.73, NO.115 NEI, LINYUSI STREET
 NANSHI DISTRICT
 BAODING, HEBEI, 071000 CHINA

 LMLAL, LLC
 5238 LOLETA AVENUE
 LOS ANGELES, CA 90041

 LOBERG ROOFING
 5800 188TH ST SW STE A
 LYNNWOOD, WA 98037

 LOIS BICHERAY
 ADDRESS UNAVAIL AT TIME OF FILING




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 LOLA
 2000 4TH AVE
 SEATTLE, WA 98121

 LONG YU
 RM 101 BUILDING 35 NO.55 YUEFU RD
 BAOSHAN DISTRICT
 SHANGHAI, 2019000 CHINA

 LOREN F HALVERSON
 2233 KNOLL CIR.
 ANCHORAGE, AK 99501

 LORI MCGOVERN
 25115 S E 146TH STREET
 ISSAQUAH, WA 98027

 LORI YOUNGBERG
 3802 HERON DR
 LORAIN, OH 44053

 LORIN D RONNOW
 1370 E STRATFORD AVE.
 SALT LAKE CITY, UT 84106

 LORRAINE HIBBERT
 3639 E INDIGO BAY CT
 GILBERT, AZ 85234

 LORRAINE KULPA
 605 W MADISON STREET 3-2611
 CHICAGO, IL 60661

 LOTS PLUS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 LOUIS C MITCHELL JR
 4870 1/2 OLD CLIFFS ROAD
 SAN DIEGO, CA 92120




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 LOWELL FAMILY TRUST
 70 MORNING MIST LANE
 WAYNESVILLE, NC 28785

 LPL FINANCIAL
 126 HOLIDAY HILLS DRIVE
 BRISTOL, NH 03222

 LSN SOFT INC
 24919 SE 43RD ST.
 SAMMAMISH, WA 98029

 LU GAO
 RM 2201, BLD #3, LANE 168
 NANDAN DONG RD , XUHUI DISTRICT
 SHANGHAI, 200000 CHINA

 LUCHA MALATO
 19 WINCHESTER DR
 CALIFON, NJ 07830

 LUIS E CUMMINGS CARRERO
 3417 PASEO VERSATIL
 URB VISTA POINT
 PONCE, PR 00716

 LUIS ORTIZ RIVERA AND ANA M CERVER
 CONDOMINIO GALAXY APT 904
 CAROLINA, PR 00979

 LUIS PIO SANCHEZ RETIREMENT PLAN
 PO BOX 1246
 GUAYNABO, PR 00970

 LUKEA MIGRATION SERVICE LIMITED
 RM 1701, 17/F , NEW TREND CENTRE,
 704 PRINCE EDWARD ROAD EAST,
 SAN PO KONG, KLN, HONG KONG




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 LUNCHBOX LABORATORY
 989 112TH AVE NE #105
 BELLEVUE, WA 98004

 LUX CUSTOM HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 LV LONG
 IPOH LANE 7, #13-02
 SINGAPORE, 438610
 SINGAPORE

 LVM IRONWORKS LLC
 566 LEHMAN DRIVE
 CAMANO ISLAND, WA 98282

 LYLE HOMES, INC.
 10604 NE 38TH PLACE
 KIRKLAND, WA 98033

 LYNN WALLS BUSSMAN
 18208 PRESTON RD #D9-427
 DALLAS, TX 75252

 LYNNE C MARGOLIN REVOCABLE TRUST D
 17941 FAIROAKS WAY
 BOCA RATON, FL 33498

 LYNNE R LEVIN REVOCABLE TRUST U/A
 415 OAK KNOLL TERRACE
 ROCKVILLE, MD 20850

 M AND J DOYLE REVOCABLE TRUST
 10001 TIMOTHY LN
 VILLA PARK, CA 92861

 M2 COMPLIANCE LLC
 501 EAST LAS OLAS BLVD
 SUITE 30C
 FORT LAUDERDALE, FL 33301




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 MADRONICA CLARKE
 809 E 40TH ST. APT. 6-4
 CHICAGO, IL 60653

 MAI HUANG
 3288 NE MAGNOLIA ST
 ISSAQUAH, WA 98029

 MAINSTAR TRUST
 214 WEST 9TH ST
 ONAGA, KS 66521

 MALLORY REVOCABLE TRUST
 3050 STANFIELD AVENUE
 ORLANDO, FL 32814

 MALSAM TSANG ENGINEERING CORP
 122 S JACKSON ST
 SUITE 210
 SEATTLE, WA 98104

 MAÑALAC, MADELLAINE
 ADDRESS UNAVAIL AT TIME OF FILING

 MANUEL A SUAREZ MENDEZ
 PO BOX 366029
 SAN JUAN, PR 00936

 MANUEL AND ELDA W CARRILLO
 1126 SUNSET LANE
 CHELAN, WA 98816

 MANUEL GONZALEZ
 PO BOX 367382
 SAN JUAN, PR 00936

 MANUEL MARTINEZ
 563 BARBOSA AVE
 SAN JUAN, PR 00923




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 MANUEL MEDINA
 PO BOX 1498
 VEGA BAJA, PR 00694

 MARC WELLS
 ADDRESS UNAVAIL AT TIME OF FILING

 MARCUM LLP
 601 ROUTE 73 NORTH, SUITE 400
 MARLTON, NJ 08053

 MARCUS & MILLICHAP
 601 UNION STREET
 SEATTLE, WA 98101

 MARGARET LAYFIELD
 7766 BURNT OAK TRAIL
 JACKSONVILLE, FL 32256

 MARGARET SCHELLENBERGER
 90 FIELDSTONE CT
 NEW ALBANY, IN 47150

 MARGARET WHITE
 3905 EAST 3RD STREET
 LEHIGH ACRES, FL 33936

 MARIA FERNANDEZ-CABRERA
 83125 EXETER CT
 THERMAL, CA 92274

 MARIA M PORTILLA DELGADO
 9 CALLE FRAY INIGO
 BOSQUE DE LOS FRULIES
 GUAYNABO, PR 00969

 MARIANA ROCHEN
 5504 80TH ST.
 LUBBOCK, TX 79424




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 MARILYN J VARCOE
 4751 GULFSHORE BLVD N #1402
 NAPLES, FL 34103

 MARILYN Z MENDELL REVOCABLE TRUST
 529 SOUTH FLAGLER DR APT 17G
 WEST PALM BEACH, FL 33401

 MARIO AND PAMELA VITALE
 1003 BRAZOS DR
 SOUTHLAKE, TX 76092

 MARIO TEMPESTA
 48 W AMY LN
 ROCHESTER, NY 14626

 MARK A & CRYSTAL T LANG
 105 VIA AMALFI
 NEW SMYRNA BEACH, FL 32169

 MARK AND ELAINE GERSHENSON
 1133 N VISTA VESPERO
 PALM SPRINGS, CA 92262

 MARK AND JUDITH STOLNITZ
 2801 HARBOR BLVD
 OXNARD, CA 93035

 MARK AND LINDA MOULDING
 25484 SW PETES MOUNTAIN RD
 WEST LINN, OR 97068

 MARK AND MONIQUE SULLIVAN TRUST UA
 15516 ARTESIAN RIDGE ROAD
 SAN DIEGO, CA 92127

 MARK AND MONIQUE SULLIVAN
 714 MARLITA ST.
 HERMOSA BEACH, CA 92054




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 MARK BORENSTEIN
 1024 STANFORD STREET
 SANTA MONICA, CA 90403

 MARK D GERSHENSON
 1133 N VISTA VESPERO
 PALM SPRINGS, CA 92262

 MARK E BEAUGARD
 633 PLUM RUN DRIVE
 WEST CHESTER, PA 19382

 MARK E TOMPKINS
 838 MENTELLE DR NE
 ATLANTA, GA 30308

 MARK GRACE
 5501 PETOSKEY ST.
 ALANSON, MI 49706

 MARK HADENFELDT
 220 PIEDRAS DEL NORTE
 SEDONA, AZ 86351

 MARK J FINKELSTEIN
 1071 COMMONWEALTH AVE
 NEWTON CENTRE, MA 02459

 MARK KEATEN
 101 COYOTE RUN
 WAXAHACHIE, TX 76165

 MARK ROTH
 17837 29TH AVE NE
 LAKE FOREST PARK, WA 98155

 MARK TRAVERS ARCHITECT
 2315 EAST PIKE STREET
 SEATTLE, WA 98122




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 MARK W HERTEL
 1300 N KELLY DR
 SEYMOUR, TX 76380

 MARKET FRESH FRUIT, LLC
 1916 PIKE PL SUITE #12-350
 SEATTLE, WA 98101

 MARKET FRESH
 NEWARK LIBERTY INT AIRPORT
 NEWARK, NJ 07114

 MARKETPLACE REALTY ADVISORS LLC
 23515 NORTHEAST NOVELTY HILL ROAD,
 SUITE B221 #237
 REDMOND, WA 98053

 MARKETS GROUP
 44 E 32ND STREET
 4TH FLOOR
 NEW YORK, NY 10016

 MARKTPLACE REALTY ADVISORS LLC
 23515 NOVELTY HILL ROAD
 SUITE B221 #237
 REDMOND, WA 98053

 MARLA BASSLER
 1130 LONGVIEW DR
 PRESCOTT, AZ 86305

 MARLIN CAPITAL SOLUTIONS
 MARLIN BUSINESS BANK
 PO BOX 13604
 PHILADELPHIA, PA 19101

 MARLYN TRUST
 105 AVE. ORTEGON, APT. 1601
 GUAYNABO, PR 00966-2513




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 MARTHA ANN MCCARLEY SMITH
 17619 WOODS EDGE DR
 DALLAS, TX 75287

 MARTIN F STONE
 4304 37TH STREET NORTHWEST
 WASHINGTON, DC 20008

 MARTIN FREDERICK STONE REVOCABLE T
 4304 37TH ST. NW,
 WASHINGTON, DC 20008

 MARTIN HEDMAN
 ADDRESS UNAVAIL AT TIME OF FILING

 MARTIN T SORGE
 #7 ASHWOOD CIR.
 ROCHESTER, NY 14624

 MARTINSON PAINTING, LLC
 PO BOX 1848
 MILTON, WA 98354

 MARVIN L AND LAUREL A RODE
 2621 E BLOCHER RD
 SCOTTSBURG, IN 47170

 MARVIN OR GAYLE ARRUDA
 ADDRESS UNAVAIL AT TIME OF FILING

 MARY AND AUGUST ROSSANO, COMM PROP
 2178 NE NELSON LANE
 ISSAQUAH, WA 98029

 MARY AND BERNARD BRADY, JTWROS
 700 COUNTRY ROAD HM
 TWIN LAKES, WI 53181




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 MARY BEALL
 TTEE OF THE SURVIVOR`S TRUST
 21 SPINNAKER WAY
 CORONADO, CA 92118

 MARY BRADY
 700 COUNTY ROAD HM
 TWIN LAKES, WI 53181

 MARY D AMES,
 BEN OF BARBARA R DEGNAN EST
 PO BOX 892
 PROCTOR, TX 76468

 MARY D KEMPER
 2245 WALL ST.
 EAGAN, MN 55122

 MARY G CASH
 7120 KING RANCH RD
 NORTH RICHLAND HILLS, TX 76182

 MARY H BREEN
 21 AUSTIN LANE
 LITTLE COMPTON, RI 02837

 MARY JANE AND THOMAS D SULLIVAN
 7722 STEVENS ST
 DARIEN, IL 60561

 MARY JANE TOLLEY
 1312 STOKES STATION RD
 GOOCHLAND, VA 23063

 MARY L ALFINI TRUST
 419 E ORCHARD ST.
 ARLINGTON HEIGHTS, IL 60005

 MARY L ALFINI
 419 E ORCHARD ST.
 ARLINGTON HEIGHTS, IL 60005




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 MARY LOU CRIQUI
 1918 COLTRANE PL.
 ESCONDIDO, CA 92027

 MARY SUE SCHICK
 2610 E PRAIRIE CREEK DRIVE
 RICHARDSON, TX 75080

 MASHINDER BAHIA
 ADDRESS UNAVAIL AT TIME OF FILING

 MASTER ZHANG REMODELING LLC
 5040 117TH AVE SE
 BELLEVUE, WA 98006

 MATADOR RESTAURANT
 110 N WAYNE AVE
 WAYNE, PA 19087-3315

 MATERIALS TESTING CONSULTING INC (
 777 CHRYSLER DRIVE
 BURLINGTON, WA 98233

 MATTHEW J SCHMIDT
 427 WOLLERTON STREET
 WEST CHESTER, PA 19382

 MATTHEW LONGHURST
 ADDRESS UNAVAIL AT TIME OF FILING

 MATTHEW PROFFITT
 4330 CIELO TRAIL
 MIDLOTHIAN, TX 76065

 MAUREEN F CARDIFF
 12244 LA MAIDA STREET
 VALLEY VILLAGE, CA 91607




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 MAUREEN H HALL
 631 WILLIAMS DR
 WINTER PARK, FL 32789

 MAUREEN H MCNEIL
 1271 TUSCANY BOULEVARD
 VENICE, FL 34292

 MAXIE AND BEVERLY CARDOZA, JTWROS
 1105 ROCKMOOR DR
 FORT WORTH, TX 76134

 MAXIE CARDOZA
 1105 ROCKMOOR DR
 FORT WORTH, TX 76134

 MAXIMUM PERFORMANCE INC
 16603 MERIDIAN E
 PUYALLUP, WA 98375

 MAYA SINHA
 5533 E MURIEL DR
 SCOTTSDALE, AZ 85254

 MAYES TESTING ENGINEERS, INC.
 PO BOX 959673
 ST LOUIS, MO 63195

 MC FINANCIAL SERVICES INC.
 9117 FELSMERE CIR.
 LOUISVILLE, KY 40241

 MCCULLOUGH HILL LEARY, P S
 701 FIFTH AVE., SUITE 6600
 SEATTLE, WA 98104

 MCCULLOUGH HILL LEARY, PS (DONOTUS
 701 FIFTH AVE SUITE 6600
 SEATTLE, WA 98104




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 MCDOWELL NW PILE KING, INC
 18905 84TH AVE S
 KENT, WA 98032

 MEDOVA HEALTHCARE FINANCIAL GROUP
 345 RIVERVIEW ST #600
 WICHITA, WA 67203

 MEENU SAINI
 55 STALTONSTALL ROAD
 HAVERHILL, MA 01830

 MEGA PACIFIC INVESTMENTS, LTD
 ADDRESS UNAVAIL AT TIME OF FILING

 MEIFANG PAN
 RM1302, BLD 5, CENTURY NEW CITY
  GUDANG ST., XIHU DISTRICT
 HANGZHOU, ZHEJIANG, 310000 CHINA

 MEIHUA CHEN
 29-3-601, HUSHU NEW VILLAGE
 GONGSHU DISTRICT
 HANGZHOU, ZHEJIANG, 310005 CHINA

 MEREDITH DEE MCCUE
 1051 OCEAN SHORE BLVD APT 804
 ORMOND BEACH, FL 32176

 MEREDITH ZYETZ
 8600 SILVER RIDGE DR
 AUSTIN, TX 78759

 MERIDIAN CAFE
 ADDRESS UNAVAIL AT TIME OF FILING

 MERIDIAN CENTER ELECTRIC (MCE)
 11109 66TH AVE E
 PUYALLUP, WA 98373




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 MERIDIAN GREENS HOLDINGS
 ADDRESS UNAVAIL AT TIME OF FILING

 MERIDIAN VILLAGE DEVELOPMENT, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 METAL ROOF SPECIALTIES
 712 54TH AVE E
 FIFE, WA 98424

 MEYER FAMILY TRUST DTD 11/09/1993
 23005 NORTH 74TH ST #3004
 SCOTTSDALE, AZ 85255

 MEYERS ASSOCIATES LP
 ADDRESS UNAVAIL AT TIME OF FILING

 MF GONZALEZ MELENDEZ RETIREMENT PL
 PO BOX 367382
 SAN JUAN, PR 00936

 MGSM HOLDINGS LLC
 9527 EAST VERDE GROVE VIEW
 SCOTTSDALE, AZ 85255

 MIC HOLDING LLC
 268 AVE PONCE DE LEON STE 1005
 SAN JUAN, PR 00918

 MICHAEL A ADELIZZI
 1765 33RD ST. SW
 ALLENTOWN, PA 18103

 MICHAEL A GERMANA
 3239 DEER CHASE RUN
 LONGWOOD, FL 32779

 MICHAEL AND KAREN DIKES
 366 CR323
 TUSCOLA, TX 79562




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 MICHAEL AND KATHLEEN BAILEY
 10780 E WILDCAT HILL RD
 SCOTTSDALE, AZ 85262

 MICHAEL BUCKA
 12951 SLEEPY WIND
 MOOREPARK, CA 93021

 MICHAEL CHARBONEAU
 64683 77TH AVE
 HARTFORD, MI 49057

 MICHAEL COBURN
 PO BOX 391
 ARGYLE, TX 76226

 MICHAEL COLE
 482 S SOUTH LONG LAKE ROAD
 TRAVERSE CITY, MI 49685

 MICHAEL D AND MARILYNN CHANCE
 3800 FOREST
 KANSAS CITY, MO 64109

 MICHAEL D WESDELL
 13272 SPARREN AVE
 SAN DIEGO, CA 92129

 MICHAEL DEAN
 9910 STONESTREET RD
 LOUISVILLE, KY 40272

 MICHAEL E FLUSCHE
 1601 SHADY BEND DR
 MCKINNEY, TX 75071

 MICHAEL FITZPATRICK
 1885 SCOTT VALLEY ROAD
 RENO, NV 89523




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 MICHAEL FONDREN
 12547 HIGH MEADOW DR
 DALLAS, TX 75244

 MICHAEL FOSS
 ADDRESS UNAVAIL AT TIME OF FILING

 MICHAEL GARLOCH
 7881 RED SKY DRIVE
 LANESVILLE, IN 47136

 MICHAEL HASSEBROCK
 960 RAMSDEN RUN
 ALPHARETTA, GA 30022

 MICHAEL INSLER
 848 OAK STREET
 CHATTANOOGA, TN

 MICHAEL J AND NANCY L ENGLISH
 871 VIA LUGANO
 WINTER PARK, FL 32789

 MICHAEL J CADA
 5246 ROCKINGHAM COURT
 WINDSOR, CO 80550

 MICHAEL J ENRIGHT SR. TRUST
 333 NW THOREAU CIR.
 LEE`S SUMMIT, MO 64081

 MICHAEL J VALLILLO, DDS
 648 OSCEOLA AVE.
 WINTER PARK, FL 32789

 MICHAEL J WITTMAN AND MARY JO WITT
 REVOCABLE TRUST
 3140 E LINDY LANE
 OAK CREEK, WI 53154




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 MICHAEL JOHN AND MARY JO WITTMAN
 3140 LINDY LN
 OAK CREEK, WI 53172

 MICHAEL KORETSKY
 2821 NORTH OCEAN BLVD PH5-SOUTH
 FT LAUDERDALE, FL 33308

 MICHAEL KUHN
 2104 FM 956
 SCHULENBURG, TX 78956

 MICHAEL LAI
 3401 RAINIER AVENUE S , SUITE B
 SEATTLE, WA 98144

 MICHAEL M PHILLIPS
 138 JACKSON DR
 EAST STROUDSBURG, PA 18302

 MICHAEL MURRAY
 508 QUEENSBURY TURN
 SOUTHLAKE, TX 76092

 MICHAEL P CASEY
 6 THE TRILLIUM
 PITTSBURGH, PA 15238

 MICHAEL P POTOCHNIAK
 3301 ALT 19 LOT 343
 DUNEDIN, FL 34698

 MICHAEL P ROBERTS
 479 WAVERLY RD
 NORTH ANDOVER, MA 01845

 MICHAEL RUNDLE
 1427 EAST LAKE SAMMAMISH PARKWAY
 SAMMAMISH, WA 98075




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 MICHAEL SZYMBORSKI
 11943 INDIAN TRAIL
 HALES CORNERS, WI 53130

 MICHAEL UHLE
 1020 S CORNELL AVE
 VILLA PARK, IL 60181

 MICHAEL V BRADLEY
 16430 N SCOTTSDALE RD
 STE 230
 SCOTTSDALE, AZ 85254

 MICHAEL W AND DEBBIE L HANNA FAMIL
 8604 RIDGEWAY
 RAYMORE, MO 64138

 MICHAEL YOUNGBERG
 3923 COVENTRY LN
 HURON, OH 44839

 MICHELE C SAUNDERS
 718 KEY ROYALE DR
 HOLMES BEACH, FL 34217

 MICHELE L GILBERT
 5000 SW RIDGE MONT RD
 BENTONVILLE, AR 72713

 MICHELLE BOUTIN
 550 OKEECHOBEE BLVD APT. 1419
 WEST PALM BEACH, FL 33401

 MICHELLE COLL
 102 CENTRAL PARK STREET
 BAYAMON, PR 00969

 MICHELLE PULEO BOUTIN LIVING TRUST
 550 OCKEECHOBEE BLVD UNIT #1419
 WEST PALM BEACH, FL 33401




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 MICK LAW P C
 816 SOUTH 169TH STREET
 OMAHA, NE 68118

 MICKEY AND RUTH DODDS
 2072 COUNTRY CLUB ESTATES
 SAN ANGELO, TX 76904

 MICROBIAL REMEDIATION SOLUTIONS, I
 16212 BOTHELL EVERETT HWY
 SUITE F-124
 MILL CREEK, WA 98012-1602

 MIGUEL A MALDONADO LOPEZ AND ROSAR
 URB SAN ALFANSO
 CALLE NARANJITO B5
 CAGUAS, PR 00726

 MIKA TOMINAGA
 3-5-20 KAMISHOGAKUJI HIRANO-KU
 OSAKA, 5470006
 JAPAN

 MILBRANDT ARCHITECTS, INC
 25 CENTRAL WAY SUITE 210
 KIRKLAND, WA 98033

 MILLENNIUM TRUST
 2001 SPRING ROAD. SUITE 700
 OAK BROOK, IL 60523

 MILLER NASH LLP
 111 SW 5TH AVE., SUITE 3400
 PORTLAND, OR 97204

 MILO`S LOCKSMITH
 ADDRESS UNAVAIL AT TIME OF FILING

 MILTON CONSTRUCTION INC
 PO BOX 435
 GRAHAM, WA 98338




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 MING LI
 6-1-2301, HUACHENG XIAOQU ,
 16 XIZHAOSHI ST GUANGQUMEN
 DONGCHENG BEIJING, 100061 CHINA

 MINGJUAN DONG
 NO. 405 SADDLE TENG ROAD
 ANSHAN, LIAONING, 1144200
 CHINA

 MINGLI FENG
 ROOM 202, UNIT 1 BUILDING NO. 1,
 LANTIAN CHENGSHI GARDEN
 HANGZHOU, ZHEJIANG, 310004 CHINA

 MINGYI HU
 ROOM 2606, QINZHOU MANSION, NO.6,
 LANE 111, QINZHOU ROAD
 SHANGHAI,   CHINA

 MINJIA ZHANG
 ROOM 601, NO. 2, LANE 175
 HONGSON ROAD
 SHANGHAI, 200000 CHINA

 MINNESOTA UNEMPLOYMENT INSURANCE
 MINNESOTA UI FUND
 PO BOX 64621
 SAINT PAUL, MN 55164

 MINTING WU
 1306, TOWER B, GALAXY YINHUGU GRDN
 YANAN ROAD, LONGGANG DISTRICT
 SHENZHEN, GUANGDONG 518000 CHINA

 MINUTEMAN PRESS OF ISSAQUAH
 180 NE JUNIPER
 ISSAQUAH, WA 98027




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 MINYAO ZHENG
 2001 CITY ROOM, BUILDING 7TH
 1299 CLOVE ROAD,, PUDONG NEW AREA
 SHANGHAI, 200127 CHINA

 MIRU MONTE
 1914 CHAMBERLAIN DR
 CARROLLTON, TX 75007

 MITCHELL MYERS
 25 LEE ST.
 BROOKLINE, MA 02445

 MITCHELL WILLIS
 5802 CLINTON ST.
 ERIE, PA 16509

 MITER MASTERS, INC.
 4721 127TH AVE E
 EDGEWOOD, WA 98372

 MIZUKI CORPORATION
 17950 SOUTHCENTER PKWY
 TUKWILA, WA 98188

 MK WEST
 2701 13TH STREET PLACE SW
 PUYALLUP, WA 98373

 MM FASHION RETIREMENT PLAN
 PO BOX 362613
 SAN JUAN, PR 00936

 MODERN SIDING
 10121 EVERGREEN WAY
 SUITE 25-180
 EVERETT, WA 98204

 MOELLENBERNDT, INC.
 105 FOSTERS TRACE
 SCHULENBURG, TX 78956




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 MOLNAR CONCRETE CONSTRUCTION, LLC
 2507 123RD ST. E
 TACOMA, WA 98445

 MONA ASHER
 23511 TIARA ST.
 WOODLAND HILLS, CA 91367

 MONEYSHOW
 50 CENTRAL AVE, SUITE 980
 SARASOTA, FL 34236

 MONICA PEASE
 1011 W STEWART STREET - 21
 PUYALLUP, WA 98371

 MONIQUE SULLIVAN
 15516 ARTESIAN RIDGE ROAD
 SAN DIEGO, CA 92127

 MORRIE G GOLD
 1708 YARDLEY DRIVE
 WEST CHESTER, PA 19380

 MR. 99 & ASSOCIATES, INC
 15562 LAKESHORE BLVD NE
 LAKE FOREST PARK, WA 98155

 MR. HANDYMAN OF SE BELLEVUE
 13300 SE 30TH ST ,#209
 BELLEVUE, WA 98005

 MSB COLLECTIONS
 PO BOX 16755
 AUSTIN, TX 78761

 MU-CHEN TZOU
 NO. 11, HUIMIN STREET
 LI ZHENG ROAD
 JIASHAN CTY, ZHEJIANG 314100 CHINA




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 MUTCHNIK LIQUIDITY, LLC
 7211 HERITAGE GRAND PLACE
 BRADENTON, FL 34212

 MUTUAL OF ENUMCLAW INSURANCE CO
 PO BOX 34983
 SEATTLE, WA 98124

 MYLA LIND
 2265 CHIMNEY SWIFT CIR
 MARIETTA, GA 30062

 MY-LINH HUYNH
 463 HOQUIAM PLACE NE
 RENTON, WA 98059

 MYRTLE J STIASZNY INTERVIVOS TRUST
 10734 WALME
 OVERLAND PARK, KS 66211

 NAI PUGET SOUND PROPERTIES
 10900 NE 8TH STREET
 SUITE 1500
 BELLEVUE, WA 98004

 NANCY C MOLVIG
 15 A S COMMONS
 LINCOLN, MA 01773

 NANCY DICKEY
 701 MAIN ST.
 HAVERHILL, MA 01830

 NANCY G DAVIS
 PO BOX 101141
 FORT WORTH, TX 76185

 NANCY G DAVIS,
 BEN OF THE BARBARA R DEGNAN ESTATE
 3120 CAMELLIA ROSE DR, #312
 FORT WORTH, TX 76116




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 NANCY L CARLSON & DONALD C GREENOU
 1725 DOGWOOD FOREST WAY
 LAKE MARY, FL 32746

 NANCY MARTINEZ
 735 WESTWOOD
 ABILENE, TX 79803

 NANCY MEHLER
 107 HUNTINGTON PLACE
 ORMOND BEACH, FL 32174

 NAOMI RUTH STONE 1993 LIVING TRUST
 1044 E SAN JACINTO WAY
 PALM SPRINGS, CA 92262

 NASAA EFD FILING
 ADDRESS UNAVAIL AT TIME OF FILING

 NASH & ASSOCIATES ARCHITECTS
 8003 118TH AVENUE NORTHEAST
 KIRKLAND, WA 98033

 NASON & ASSOCIATES
 PO BOX 7385
 COVINGTON, WA 98042

 NATALIE QUICK CONSULTING LLC
 1620 150TH AVENUE SOUTHEAST
 BELLEVUE, WA 98007

 NATALIE ROGER
 4015 FOREST BEACH DR NW
 GIG HARBOR, WA 98335

 NATIOANL DOOR, INC (NDI)
 17625 NE 65TH STREET, SUITE 165
 REDMOND, WA 98052




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 NATIONWIDE LIFE AND ANNUITY INS CO
 PO BOX 644022
 CINCINNATI, OH 45264-4022

 NATIONWIDE
 PO BOX 514540
 LOS ANGELES, CA 90051

 NAVIA BENEFIT SOLUTIONS
 PO BOX 3961
 SEATTLE, WA 98124

 NBI
 PO BOX 3067
 EAU CLAIRE, WI 54702

 NCP CAPITAL, LLC
 847 GREENWICH DR
 AMBLER, PA 19002

 NE IVY CONDOS, LLC
 9700 SE CAPITOL HWY
 PORTLAND, OR 97219

 NEHASRI, LTD
 C/O MANOJ DONTHINENI
 4008 NICOLE DR
 RICHARDSON, TX 75082

 NEIL A YOUTSLER
 6310 98TH AVE NW
 GIG HARBOR, WA 98335

 NEIL J ROSENBERG
 70 COURT ST.
 NORTH ANDOVER, MA 01845

 NEIL PERTIZ
 ADDRESS UNAVAIL AT TIME OF FILING




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 NEIL WALTER CO.
 1940 EAST D STREET
 TACOMA, WA 98421

 NELSON GEOTECHNICAL ASSOC INC
 17311 135TH AVE NE, STE A-500
 WOODINVILLE, WA 98072

 NELSON LIVING TRUST DTD 8/29/18
 78815 BIRCHCREST CIRCLE
 LA QUINTA, CA 92253

 NELSON N PECK, JR
 9 ENGLISH STATION ROAD
 ROCHESTER, NY 14616

 NEW VISION TRUST
 135 BROAD STREET
 ASHEVILLE, NC 28801

 NEW VISIONS DEVELOPMENT LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 NEWMARK COATINGS LLC
 PO BOX 1475
 BELLEVUE, WA 98009

 NEXT LEVEL
 4701 SW ADMIRAL WAY #362
 SEATTLE, WA 98116

 NEXUS HOMES, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 NI NI MAY
 46, KANNAR RD, RIVER VIEW GARDEN
 SINMIN WARD, AHLONE TOWNSHIP
 YANGON, MYANMAR




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 NICHOLAS A DELEO
 1 YARROW HALL
 WEST HENRIETTA, NY 14586

 NICHOLAS C ALTER
 12732 STEADMAN FARMS DR
 FT WORTH, TX 76244

 NICHOLAS FLUMARA CHARITABLE REMAIN
 18 DUFF ST.
 WATERTOWN, MA 02472

 NICHOLAS HARSHFIELD
 ADDRESS UNAVAIL AT TIME OF FILING

 NICKISHA HAINE
 ADDRESS UNAVAIL AT TIME OF FILING

 NICOLE KIDD
 68 BRADHURST AVE 7N
 NEW YORK, NY 10039

 NICOLE SU
 8322 NE 119TH STREET
 KIRKLAND, WA 98034

 NICOLLE SALA
 URB.LAS RAMBLAS
 77 VIA BARCELONA
 GUAYNABO, PR 00969

 NOAH AMLAND
 1601 SHADOW LANE
 IRVING, TX 75060

 NOBLE RIDGE CONSTRUCTION, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 NONE
 ADDRESS UNAVAIL AT TIME OF FILING




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 NORA HANSEN
 1320 N STATE PKWY #8C
 CHICAGO, IL 60610

 NORMA AND SANTANA GALLEGO NIGOXA
 MIRAMAR 658 CALLE SUAU
 SAN JUAN, PR 00907

 NORMAN COLE
 450 BENNS HILL RD
 BANGOR, PA 18013

 NORMAN TOWLE
 10191 QUAIL COVEY RD
 BOYNTON BEACH, FL 33436

 NORTH BY BNORTHWEST REALTY
 118 130TH AVENUE NORTHEAST
 BELLEVUE, WA 98005

 NORTH CAPITAL INVESTMENT TECHNOLOG
 623 E FORT UNION BLVD, SUITE 101
 MIDVALE, UT 84047

 NORTH CAPITAL PRIVATE SECURITIES C
 623 E FORT UNION BLVD
 MIDVALE, UT 84047

 NORTH PACIFIC DOOR CORPORATION
 20021 85TH AVE S
 KENT, WA 98031

 NORTH WEST HANDLING SYSTEMS, INC.
 18008 NE AIRPORT
 PORTLAND, OR 97230

 NORTHBOUND
 815 WESTERN AVENUE, SUITE 410
 SEATTLE, WA 98104




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 NORTHLAKE CAPITAL & DEVELOPMENT LL
 ADDRESS UNAVAIL AT TIME OF FILING

 NORTHSHORE UTILITY DISTRICT
 PO BOX 82489
 KENMORE, WA 98028

 NORTHWEST BANK - OREGON
 ADDRESS UNAVAIL AT TIME OF FILING

 NORTHWEST CAPITAL
 ADDRESS UNAVAIL AT TIME OF FILING

 NORTHWEST ELECTRIC & SERVICE, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 NORTHWEST MULTIPLE LISTING SERVICE
 PO BOX 34341
 SEATTLE, WA 98124

 NORTHWEST TERRACE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 NORVELL R MOSS
 4812 PRESTWICK DR
 COLLEYVILLE, TX 76034

 NOTHING BUNDT CAKES
 755 NW GILMAN BLVD
 ISSAQUAH, WA 98027

 NOVASTAR DEVELOPMENT, INC.
 18215 72ND AVENUE SOUTH
 KENT, WA 98032

 NOW BE LIGHT TRUST
 25034 N ROPING RD
 SCOTTSDALE, AZ 85255




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 NURI SELLES AND RAFAEL ECHEVERRIA
 106 SUR MUNOZ RIVERA CUIDAD JARDIN
 SAN LORENZO, PR 00754

 NUVIEW IRA
 280 S RONALD REAGAN BLVD
 SUITE 200
 LONGWOOD, FL 32750

 NW NATURAL
 PAYMENT PROCESSING
 PO BOX 3288
 PORTLAND, OR 97208-9825

 NWG COMPASS
 5000 30TH AVE NE SUITE 102
 SEATTLE, WA 98105

 O MARK GJOVLK
 TTEE OF THE OLAF E GJOVLK TRUST
 17 SAN MATEO WAY
 NEWPORT BEACH, CA 92625

 O`CONNOR CONSULTING GROUP
 500 UNION STREET, SUITE 650
 SEATTLE, WA 98101

 OAK HILLS CONSTRUCTION
 7802 PACIFIC HWY E
 MILTON, WA 98354

 OAKBROOK 4TH ADDITION HOA, INC.
 1201 PACIFIC AVE, #2100
 TACOMA, WA 98402

 OCEANAIRE, LLC
 PO BOX 3907
 BELLEVUE, WA 98009




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 OLD REPUBLIC TITLE CO
 1111 3RD AVE #820
 SEATTLE, WA 98101

 OLD REPUBLIC TITLE COMPANY OF OREG
 1 SW COLUMBIA ST., SUITE 750
 PORTLAND, OR 97204

 OLD REPUBLIC TITLE, LTD.
 1111 3RD AVE #820
 SEATTLE, WA 98101

 OLIVIA STEVENSON
 ADDRESS UNAVAIL AT TIME OF FILING

 OLSON ENGINEERING INC
 222 E EVERGREEN BLVD
 VANCOUVER, WA 98660

 OLYMPIC CASCADE DRIVE INS LLC
 120 W DAYTON STREET
 SUITE D5
 EDMONDS, WA 98020

 OLYMPIC TRANSMISSIONS
 ADDRESS UNAVAIL AT TIME OF FILING

 ONPAY, INC.
 PROMENADE II
 1230 PEACHTREE STREET NW #1250
 ATLANTA, GA 30309

 ONYXX INVESTMENT GROUP, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 OPAL FINANCIAL GROUP INC
 132 WEST 36TH ST, SUITE 510
 NEW YORK, NY 10018




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 OPM ENTERPRISES LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 OPUS BANK
 ADDRESS UNAVAIL AT TIME OF FILING

 ORION COMMERCIAL PARTNERS
 1218 3RD AVE
 SEATTLE, WA 98101

 OSBORN CONSULTING INC
 1800 112TH AVE NE, SUITE 220-E
 BELLEVUE, WA 98004

 OSCAR HERNANDEZ LOPEZ RETIREMENT P
 189 DORADO BEACH
 EAST DORADO, PR 00646

 OTOVIC FAMILY REVOCABLE TRUST OF 2
 2 PERIMETER PARK SOUTH SUITE 100W
 BIRMINGHAM, AL 35243

 OWL CREEK LLC
 676 N MICHIGAN AVE STE 3860
 CHICAGO, IL 60611

 PABLO DEL VALLE AND MARIA MARTINEZ
 PO BOX 2319
 TOA BAJA, PR 00951-2319

 PABLO DEL VALLE
 PO BOX 2319
 TOA BAJA, PR 00951-2319

 PACIFIC CREST BANK
 ADDRESS UNAVAIL AT TIME OF FILING




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 PACIFIC ENGINEERING TECHNOLOGIES
 2150 NORTH 107TH STREET
 SUITE 320
 SEATTLE, WA 98133

 PACIFIC LANDSCAPE MANAGEMENT, INC.
 7345 164TH AVE NE STE 145-319
 REDMOND, WA 98052

 PACIFIC NORTHWEST TITTLE OF KITSAP
 2021 MYHRE ROAD SUITE 300
 SILLVERDALE, WA 98383

 PACIFIC OFFICE AUTOMATION
 14747 NW GREENBRIER PKWY
 BEAVERTON, OR 97006

 PACIFIC PINE LLC
 260, 1603 CAPITOL AVE
 SUITE 413 A
 CHEYENNE, WY 82001

 PACTERRA, LLC
 29620 SE 82ND ST
 ISSAQUAH,, WA 98027

 PADMA J THAKRAR
 496 WILLIAMSBURGH RD
 GLEN ELLYN, IL 60137

 PALETTE PROPERTY MANAGEMENT, LLC
 8201 164TH AVE NE, STE 200
 REDMOND, WA 98052

 PAMELA A PELTON
 25 WOODLAWN DRIVE
 NORTHFIELD, NH 03276

 PAMELA B ADELMAN DECLARATION OF TR
 25 E SUPERIOR #4002
 CHICAGO, IL 60611




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 PAMELA BRESNAHAN
 8759 CUYAMACA ST.
 CORONA, CA 92883

 PAMELA J FERGUSON
 2513 S FLAGLER AVE.
 FLAGLER BEACH, FL 32136

 PAMELA M NEVILLE REVOCABLE TRUST D
 16 SHIP ST.
 JAMESTOWN, RI 02835

 PAMELA WOODHURST
 1925 E GRAND CANYON DR
 CHANDLER, AZ 85249

 PAMELA ZAPFFE
 6720 KENWOOD
 DALLAS, TX 75214

 PANGEO, INC.
 3213 EASTLAKE AVE E # B
 SEATTLE, WA 98102

 PARAGON REAL ESTATE ADVISORS INC.
 600 UNIVERSITY ST
 SEATTLE, WA 98101

 PARIS REVOCABLE TRUST DATE MAY 13,
 103 RUSSELL DR
 HIGHLAND VILLAGE, TX 75077

 PARITER SECURITIES
 ROAD #2, #243 CAPARRA
 GUAYNABO, PR 00966

 PARKER ECO PEST CONTROL
 1906 HOYT AVE
 EVERETT, WA 98201




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 PARKER MCNULTY
 ADDRESS UNAVAIL AT TIME OF FILING

 PARKER SMITH & FEEK, INC
 2233 112TH AVENUE NORTHEAST
 BELLEVUE, WA 98004

 PARKVIEW FINANCIAL, LLC
 11601 WILSHIRE BLVD, SUITE 2100
 LOS ANGELES, CA 90025

 PARLEY ACKER
 2528 RUSSWOOD DR
 FLOWER MOUND, TX 75028

 PARR LUMBER COMPANY
 5630 N W CENTURY BLVD
 HILLSBORO, OR 97124

 PATANO STUDIO ARCHITECTURE, LLC
 603 STEWART STREET, SUITE 500
 SEATTLE, WA 98101

 PATRICIA A WHITAKER
 2931 LAKE PINELOCH BLVD
 ORLANDO, FL 32806

 PATRICIA JANCAUSKAS
 6806 AZALE LN
 DALLAS, TX 75230

 PATRICIA L PAULS
 925 APACHE MOUNTAIN LANE
 GEORGETOWN, TX 78633

 PATRICIA M MENENDEZ
 3321 SW KESSLER DRIVE, APT. 7306
 LEE`S SUMMIT, MO 64081




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 PATRICIA MALONE COX
 800 ELK HOLLOW CT
 CROWLEY, TX 76036

 PATRICIA MINCE
 225 BAY CIR.
 COPPELL, TX 75019

 PATRICIA MURRAY REARDON REVOCABLE
 1706 BROKEN ARROW DR
 PRESCOTT, AZ 86303

 PATRICIA O`BRIEN TAYLOR REVOCABLE
 20550 ROSEWOOD MANOR SQUARE
 ASHBURN, VA 20147

 PATRICK J MOSSEY
 519 W SUPERIOR ST.
 OTTAWA, IL 61350

 PATRICK OBEID
 1401 ART DILLY DRIVE, UNIT 331
 AUSTIN, TX 78702

 PATRICK PAYNE
 201 CORALBERY ROAD
 LOUISIVILLE, KY 40207

 PATRICK SHEEHAN
 11 BEDFORD CT
 LINCOLNSHIRE, IL 60069

 PATRICK THOMAS FILES JR
 2818 E 2ND ST
 VANCOUVER, WA 98661

 PAUL & REGINA GURTLER
 27559 LOFALL CT NW
 POULSBO, WA 98370




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 PAUL AND JUDITH V HAMBELTON
 14619 S EDGERTON RD
 GARDNER, KS 66030

 PAUL C PFLUEGER
 1323 WINDWALKER
 PRESCOTT, AZ 86305

 PAUL D STONE
 PO BOX 2365
 RANCHO MIRAGE, CA 92270

 PAUL E AND CHILLYS E CASE
 10256 FOREST HILL DR
 GLADE SPRING, VA 24340

 PAUL E AND PHYLLIS B RUDOLPH
 609 SEA ISLAND WAY
 NORTH MYRTLE BEACH, SC 29582

 PAUL G AND DOREN M MIELE
 26 STEVENS RD
 HUDSON, MA 01749

 PAUL G MIELE
 26 STEVENS RD
 HUDSON, MA 01749

 PAUL J WONG
 20161 CROMWELL WAY
 PORTER RANCH, CA 91326

 PAUL M AND JANICE C FRANK
 4 S LAKESIDE AVE
 BRADFORD, MA 01835

 PAUL M AND MAUREEN F MCNEIL
 50 PROUTY LN
 WORCESTER, MA 01602




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 PAUL M MCNEIL
 50 PROUTY LN
 WORCESTER, MA 01602

 PAUL MOUNTAIN
 2503 N MILLER RD
 SCOTTSDALE, AZ 85257

 PAUL STEPHANCHICK
 4808 SOUTHWEST GULL POINT DRIVE
 LEE`S SUMMIT, MO 64082

 PAUL T WEISS REVOCABLE TRUST DTD M
 4318 WEST PINE BLVD
 ST. LOUIS, MO 63108

 PAUL WEISS
 4318 WEST PINE BLVD
 ST. LOUIS, MO 63108

 PAUL ZERR
 1241 E SPUR AVE.
 GILBERT, AZ 85296

 PAULA J FULLER DECLARATION OF TRUS
 5317 N 46TH ST.
 PHEONIX, AZ 85018

 PAYCHEX, INC.
 20829 72ND AVENUE SOUTH SUITE 400
 KENT, WA 98032

 PAYNEWEST INSURANCE INC
 2925 PALMER STREET, SUITE B
 PO BOX 4386
 MISSOULA, MT 59806

 PAYSCALE INC
 75 REMITTANCE DR DEPT. 1343
 CHICAGO, IL 60675




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 PBRELF I, LLC
 1420 5TH AVE, SUITE 2000
 SEATTLE, WA 98101

 PCNW LOAN SERVICING, LLC
 8227 44TH AVE W, SUITE K
 MUKILTEO, WA 98275

 PENG LYU AND LI TAN
 1124 E LAKE SAMMAMISH PKWY NE
 SAMMAMISH, WA 98074

 PENSCO TRUST COMPANY
 PO BOX 981012
 BOSTON, MA 02298

 PERKINS COIE LLP
 ATTN: CLIENT ACCOUNTING
 1201 THIRD AVENUE, 49TH FLOOR
 SEATTLE, WA 98101

 PERMIT CONSULTANTS, LLC
 PO BOX 1482
 SUMNER, WA 98390

 PERSHING LLC FBO ANGELA JANE AREND
 ACCOUNT #054894
 ONE PERSHING PLAZA
 JERSEY CITY, NJ 07399

 PERSHING, LLC
 ONE PERSHING PLAZA
 JERSEY CITY, NJ 07399

 PETER ARREOLA
 12162 FREMONT STREET
 YUCAIPA, CA 92399

 PETER ROPPO
 ADDRESS UNAVAIL AT TIME OF FILING




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 PETER SANTOS
 3953 E EXPEDITION WAY
 PHEONIX, AZ 85050

 PETER SHIMKUS
 8 LYNBROOK RD
 SOUTHBOROUGH, MA 01772

 PETER W MCKINNEY TRUST U/A AUGUST
 1242 N LAKE SHORE DR
 CHICAGO, IL 60610

 PETERSON RUSSELL KELLY PLLC
 10900 NE 4TH STREET, SUITE 1850
 BELLEVUE, WA 98004

 PETERSON SULLIVAN LLP
 601 UNION ST
 SUITE 2300
 SEATTLE, WA 98101-2322

 PGH EXCAVATING, INC
 PO BOX 1151
 ENUMCLAW, WA 98022

 PHILADELPHIA INSURANCE COMPANIES
 PO BOX 70251
 PHILADELPHIA, PA 19176

 PHILIP ADAIR GILBERT
 801 E VALLEY DR
 BRISTOL, VA 24201

 PHILIPPUS AND CELESTE VAN STADEN
 222 NORTH PARK AVENUE
 WINTER PARK, FL 32789

 PHILLIP SEHNERT
 4629 WINDMILL LN
 FLOWER MOUND, TX 75028




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 PIERCE COUNTY AUDITORS OFFICE
 930 TACOMA AVENUE S
 TACOMA, WA 98402

 PIERCE COUNTY TREASURY
 ADDRESS UNAVAIL AT TIME OF FILING

 PINFANG YU
 #1303, NO.3 ALLEY 1013 SHUIDIAN RD
 HONGKOU DISTRICT, NANCUN, PANYU
 SHANGHAI,   CHINA

 PING HUANG
 ROOM 202, NO. 48, LINFEN GARDEN
 LINFEN ROAD
 SHANGHAI, JING`AN D 200435 CHINA

 PING ZHANG
 RM 252 UNIT 2, NO. 67 EAST ORCHARD
 TONGZHOU DISTRICT
 BEIJING, 101116 CHINA

 PIONEER PLUMBING & HEATING LLC
 2400 NORTHWEST 80TH STREET, 3286
 SEATTLE, WA 98117

 PIPER BAGLEY
 ADDRESS UNAVAIL AT TIME OF FILING

 PK ENTERPRISES
 23035 SE 263RD STREET
 MAPLE VALLEY, WA 98038

 PLAID INC.
 PLAID INC.
 DEPT CH 10801
 PALATINE, IL 60055-0801

 PLANB CONSULTANCY
 696 MCVEY AVE. SUITE 202
 LAKE OSWEGO, OR 97034




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 PLAZA PROFIT SHARING PLAN
 1121 PARROTTS COVE RD
 GREENSBORO, GA 30642

 POTTERY BARN
 ADDRESS UNAVAIL AT TIME OF FILING
 LYNNWOOD, WA

 POWELL PAVERS LLC
 1402 LAKE TAPPS DRIVE SOUTH EAST
 AUBURN, WA 98092

 PQT CONSTRUCTION
 PO BOX 1601
 WOODINVILLE, WA 98072

 PRECISION REPAIR COMPANY
 2102 24TH STREET S E
 PUYALLUP,, WA 98372

 PREFERRED ENGINEERING LLC
 11627 SOUTHEAST 58TH STREET
 BELLEVUE, WA 98006

 PRE-METCO
 3420 C ST NE #401
 AUBURN, WA 98002

 PRICE BUSTERS PLUMBING
 16309 INGLEWOOD RD NE
 KENMORE, WA 98028

 PRICEWATERHOUSECOOPERS LLP
 PO BOX 514038
 LOS ANGELES, CA 90051

 PRISCILLA WILLIS
 4822 104TH ST.
 LUBBOCK, TX 79424




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 PRIVATE CAPITAL NORTHWEST
 8227 44TH AVE. W , SUITE K
 MUKILTEO, WA 98275

 PRIVATE WEALTH MANAGEMENT SOLUTION
 11232 NE 15TH STREET, SUITE 100
 BELLEVUE, WA 98004

 PRO VISION COMPANIES LLC
 PO BOX 869
 SUMMER, WA 98390

 PRO VISION WINDOW AND DOOR LLC
 402 VALLEY AVE NW BLDG A, #108
 PUYALLUP, WA 98371

 PRO-DUCT HEATING & AIR INC
 24710 FISK ROAD EAST
 ORTING, WA 98360

 PROVIDENT ELECTRIC, INC.
 PO BOX 7087
 COVINGTON, WA 98042

 PROVIDENT TRUST GROUP
 PO BOX 847470
 LOS ANGELES, CA 90084-7470

 PROVISION WINDOW AND DOOR
 PO BOX 869
 SUMNER, WA 98390

 PROVOKE SOLUTIONS INC
 2010 156TH AVENUE NORTHEAST #301
 BELLEVUE, WA 98007

 PUBLIC STORAGE, INC.
 701 WESTERN AVE
 GLENDALE, CA 91201-2349




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 PUGET SOUND ENERGY
 ATTN: LUKE GIUSTRA
 6905 SOUTH 228TH ST
 KENT, WA 98032

 PUGET SOUND INVESTORS, INC.
 ADDRESS UNAVAIL AT TIME OF FILING

 PYATT/BROADMARK
 1420 5TH AVE, SUITE 2000
 SEATTLE, WA 98101

 QIANXI FAN
 ROOM 302, NO.342, LAODONG XI ROAD
 TIANXIN DISTRICT
 CHANGSHA, HUNAN, 410007 CHINA

 QIAO JIANG
 ROOM 1506, NO.11, LONG ZHOU YI DU
 TIANNING DISTRICT
 CHANGZHOU, JIANGSU,   CHINA

 QING WU
 RM 3-1601 TAOJINSHAN GARDEN
 LUOHU DISTRICT
 SHENZHEN, GUANGDONG 518019 CHINA

 QINGXIAO JIANG
 #1201, UNIT 2 BLD #8, ZHIJING YUAN
 XIXI CHENG YUAN, XIHU DISTRICT
 HANGZHOU, ZHEJIANG, 310000 CHINA

 QIONG HUANG
 14843 SOUTHEAST 65TH STREET
 BELLEVUE, WA 98006

 QIONG ZHOU
 ROOM 1103, BUILDING 5, PHASE II,
 YINGLUN MINGYUAN, SHAHE WEST ROAD,
 NANSHAN D GUANDONG 511464 CHINA




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 QUADRANT HOMES, INC.
 15900 SE EASTGATE WAY, STE 300
 BELLEVUE, WA 98008

 QUALITY CUSTOM EXTERIORS, LLC
 3115 81ST AVE CT NW
 GIG HARBOR, WA 98335

 QUALITY MIGRANT CONSULTING CO., LI
 ROOM 2201, LIFE INS BLD NO. 1001,
 FUZHONG 1ST ROAD
 SHENZEN, FUTIAN DIST 518000 CHINA

 QUANTUM RESIDENTIAL INC
 601 E 16TH ST
 VANCOUVER, WA 98663

 R B WILLIAM COMPANY, INC.
 1676 N CALIFORNIA BLVD SUITE 620
 WALNUT CREEK, CA 94596

 R D COMPUTER SOLUTIONS
 8029 162ND STREET CT E
 PUYALLUP, WA 98375-8502

 R EDWARD AND GINGER ANN COOLEY
 5501 JOBETH DR
 NEW PORT RICHY, FL 34652

 R GREG GENTILE
 4025 TIMBER LANE
 ORLANDO, FL 32804

 R LANCE WALKER, SR.
 817 GOLFVIEW TERRACE
 WINTER PARK, FL 32789

 R N C LATH & PLASTER
 47902 288TH AVE SE
 ENUMCLAW, WA 98022




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 RADESKY FAMILY TRUST
 4960 ROCKFORD DR
 SAN DIEGO, CA 92115

 RADLEY D PEARSALL PREMARITAL TRUST
 332 S BERKSHIRE DRIVE
 LAKE FOREST, IL 60045

 RADLEY D PEARSALL
 332 S BERKSHIRE DRIVE
 LAKE FOREST, IL 60045

 RADOSLAV RAYCHEV
 530 S HEWITT STREET, APT 333
 LOS ANGELES, CA 90013

 RAE JEAN WILSON REVOCABLE LIVING T
 1302 CASA MARINA LANE NW
 ALEXANDRIA, MN 56308

 RAFAEL E ROJO
 PO BOX 20868
 SAN JUAN, PR 00928

 RAFAEL URREA O (HAPPYHANDYMAN)
 3836 RENTON AVE S
 SEATTLE, WA 98108

 RAIDA RABAH
 5 SOUTH FOREST HILLS RD
 DOWNINGTON, PA 19335

 RAJASHREE AND SATYA SHAW
 19402 JACOBS RIVER RUN
 LUTZ, FL 33559

 RAJUL R SHAH
 4923 QUILL CT
 PALM HARBOR, FL 34685




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 RALPH A PINCUS REVOCABLE FAMILY TR
 321 COUNCIL ROCK RD
 ROCHESTER, NY 14610

 RALPH BENDER
 2651 ULTRA VISTA BLVD
 MAITLAND, FL 32751

 RALPH DIBARI
 327 GOOSECREEK
 WINTER SPRINGS, FL 32708

 RALPH J DI BARI IRREVOCABLE TRUST
 327 GOOSECREEK
 WINTER SPRINGS, FL 32708

 RALPH R HENRY
 25410 SE 247TH PL.
 RAVENSDALE, WA 98051

 RALPH TASH TRUST DTD 5/28/71
 9 PARKWAY NORTH, SUITE 300
 DEERFIELD, IL 60015

 RAMON ERINNA
 583 N BROADWAY
 HAVERHILL, MA 01832

 RAMON J ABARCA
 PO BOX 13928
 SAN JUAN, PR 00908

 RAMONA HEFTY
 24002 GOLDENEYE DR
 LAGUND NIQUEL, CA 92677

 RANCE AND KAYE G BORDERICK
 AS JOINT TENANTS WITH RGHT OF SURV
 37407 N COUNTRY ROAD 44A
 EUSTIS, FL 32736




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 RANCHO MIRAGE FLORIST
 2923, 70053 CA-111
 RANCHO MIRAGE, CA 92270

 RANDAL AND DEBORA SNOW
 6132 WALNUT DRIVE
 FT WORTH, TX 76114

 RANDALL D EINHORN TRUST DTD 9/6/02
 5815 LARAMIE WAY
 SAN DIEGO, CA 92120

 RANDALL J FOSS
 ADDRESS UNAVAIL AT TIME OF FILING

 RANDY CHAMBERS
 2250 HWY 163
 COLORADO CITY, TX 79512

 RANDY WOODRUFF
 5335 SOUTH ISLAND DRIVE EAST
 BONNEY LAKE, WA 98391

 RAUL RAMIREZ
 300 AVE LA SIERRA BOX 112
 SAN JUAN, PR 00926

 RAY EDWARD HINES
 1373 E PRESCOTT PL.
 CHANDLER, AZ 85249

 RAY SCHY TRUST U/A DTD 3/14/1991
 1031 INDIAN ROAD
 GLENVIEW, IL 60025

 RAZAULLAH KHWAJA AND PAMELA SCOTT
 311 MARLBORO RD
 KENNETT SQUARE, PA 19348




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 RB CONSTRUCTION CORPORATION
 PO BOX 366029
 SAN JUAN, PR 00936

 RB CONSTRUCTION GROUP
 PO BOX 366029
 SAN JUAN, PR 00936

 RBC CAPITAL MARKETS
 60 SOUTH 6TH STREET
 MINNEAPOLIS, MN 55402

 RBL REALTY AND CONSULTING, INC.
 243 ROAD 2
 GUAYNABO, PR 00966

 RE/MAX METRO REALTY, INC.
 2312 EASTLAKE AVE E
 SEATTLE, WA 98102

 REAL ASSETS PROPERTY SERVICES INC.
 270 S HANFORD ST.
 SUITE 205
 SEATTLE, WA 98134

 REAL ESTATE INVESTMENT SERVICES
 ADDRESS UNAVAIL AT TIME OF FILING

 REAL PROPERTY MANAGEMENT
 ADDRESS UNAVAIL AT TIME OF FILING

 REBECCA JEAN DAVIS
 7236 BAY HILL DR
 FRISCO, TX 75034

 REBECCA RIVA
 4563 TIGUA ISLAND CT
 WINTER PARK, FL 32792




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 RED GROUP, LLC
 2022 NW LARKSPUR STREET
 CAMAS, WA 98607

 RED QUOTE COBRA TRUST
 ADDRESS UNAVAIL AT TIME OF FILING

 RED ROBIN GOURMET BURGERS, INC.
 3921 FACTORIA SQUARE MALL SE
 BELLEVUE, WA 98006

 REDMOND FUNDING GROUP
 22500 NE MARKETPLACE DR - #206C
 REDMOND, WA 98053

 REDTAIL, LLC
 PO BOX 2394
 SNOHOMISH, WA 98291

 REGINALD MORRIS
 1703 W 153RD ST.
 GARDENA, CA 90247

 REGINALD ROORDA
 19240 INGLESIDE COURT
 LAKEVILLE, MN 55044

 REGISTERED AGENT SOLUTIONS, INC.
 1701 DIRECTORS BLVD, SUITE 300
 AUSTIN, TX 78744

 REICH FAMILY TRUST
 1 OXFORD COURT
 RANCHO MIRAGE, CA 92270

 REID JOHNSON
 10836 34TH AVE. SW
 SEATTLE, WA 98146




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 REINALDO SEGUROLA PEREZ RETIREMENT
 URB MONTE ALVERINA VIA, PONTICO #4
 GUAYNABO, PR 00969

 RELIANCE STANDARD LIFE INSURANCE C
 ADDRESS UNAVAIL AT TIME OF FILING

 RESTORX OF WASHINGTON
 1307 WEST VALLEY HWY N
 SUITE 107
 AUBURN, WA 98001

 REVEL STRATEGIES, LLC
 4681 NORTHWEST 173RD PLACE
 BEAVERTON, OR 97006

 REVERIE AT SILVER CREEK
 ADDRESS UNAVAIL AT TIME OF FILING

 REVIVED STAGING LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 REVOCABLE TRUST AGREEMENT FBO TIFF
 DTD 12/12/11
 277 ROYAL POINCIANA WAY MB 173
 PALM BEACH, FL 33480

 REVOCABLE TRUST OF WILLIAM D MACAL
 DTD. 4/15/10
 535 GRADYVILLE RD , V200
 NEWTOWN SQUARE, PA 19073

 REX C TANNER
 ADDRESS UNAVAIL AT TIME OF FILING

 REX EXECUTIVE LEADERSHIP, LLC
 2201 LONG PRAIRIE ROAD
 SUITE 107-843
 FLOWER MOUND, TX 75022




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 REYNOLDS & KLINE APPRAISAL, INC.
 13401 NE BEL ROAD #B9
 BELLEVUE, WA 98005

 RHODA ABZUG
 20928 SABER JET PLACE
 ASHBURN, VA 20147

 RICARDO CHIPI
 PO BOX 193497
 SAN JUAN, PR 00919

 RICARDO MEXICAN RESTAURANT
 4065 FACTORIA BLVD SE
 BELLEVUE, WA 98006

 RICH JACKSON
 ADDRESS UNAVAIL AT TIME OF FILING

 RICHARD A BARNES
 27719 KINGS KEW ROAD
 BONITA SPRINGS, FL 34134

 RICHARD A FENTERS, DMD
 2555 SOUTH ATLANTIC AVENUE
 APT. 1905
 DAYTONA BEACH SHORES, FL 32118

 RICHARD A WERNER
 630 25TH ST.
 TELL CITY, IN 47586

 RICHARD AND CHERYL SHADICK JTWROS
 3007 KERNS CT
 OREFIELD, PA 18069

 RICHARD AND DONNA STEVENS, TRUST D
 6 FIVE OAKS LANE
 VALLEY COTTAGE, NY 10989




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 RICHARD AND LOUISE ANSLOW LIVING T
 WOLFPAW LANE
 PINE, AZ 85544

 RICHARD ANSLOW LIVING TRUST
 ADDRESS UNAVAIL AT TIME OF FILING

 RICHARD CHRYSLER AND VICTORIA CHRY
 555 WEST GATEWAY COURT
 MERRITT ISLAND, FL 32952

 RICHARD E PORTORS
 51 FERNWOOD AVE
 BRADFORD, MA 01835

 RICHARD E WINTERMANTEL REVOCABLE T
 DTD 11/20/98
 6166 N SCOTTSDALE RD , UNIT A1008
 PARADISE VALLEY, AZ 85253

 RICHARD FOSTER THOMAS
 9800 E LOFTY POINT RD
 SCOTTSDALE, AZ 85262

 RICHARD J HENRY
 17 MANU TRAIL
 ANDOVER, NJ 07821

 RICHARD L FLECK
 405 PLEASANT VIEW DR
 HUNTINGBURG, IN 47542

 RICHARD L WILKERSON & ASSOCIATES,
 6712 GLEN ECHO LANE SW
 LAKEWOOD, WA 98499

 RICHARD LUCAS
 950 BAY ROAD
 WEBSTER, NY 14580




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 RICHARD N AND DENISE A HORNE-KAPLA
 2067 PADRE ISLAND DR
 PUNTA GORDA, FL 33950

 RICHARD N KAPLAN
 2067 PADRE ISLAND DR
 PUNTA GORDA, FL 33950

 RICHARD P GRAFF
 22 HANCOCK STREET, APT# 304
 PORTLAND, ME 04101

 RICHARD PITMAN
 810 SE PINE ST
 CEDAREDGE, CO 81413

 RICHARD R ROTHE
 12610 SORRENTO WAY UNIT 103
 BRADENTON, FL 34211

 RICHARD SULLIVAN
 9127 MALLARD ROAD
 BLAINE, WA 98230

 RICHARD TETTAMANT
 1008 HIDDEN OAKS CT
 COLLEYVILLE, TX 76034

 RICHARD WIGAND
 377 ST. CHARLES ST
 JASPER, IN 47546

 RICHLAND ACQUISITION
 ADDRESS UNAVAIL AT TIME OF FILING

 RICKIE WAYNE TAYLOR
 PO BOX 310
 PERRIN, TX 76486




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 RICTER ENTERPRISES INC
 13129 N ECHO LAKE RD
 SNOHOMISH, WA 98296

 RITA F TANNER
 213 FIRESIDE DR
 BRADENBURG, KY 40108

 RITA KANNEL
 248 MONTEREY WAY
 ROAL PALM BEACH, FL 33411

 RITA MILLWEE
 3828 SHENANDOAH
 DALLAS, TX 75205

 RIVERBEND LENDING
 ADDRESS UNAVAIL AT TIME OF FILING

 RLI INSURANCE COMPANY
 PO BOX 3967
 PEORIA, IL 61612-3967

 ROBBINS FAMILY REVOCABLE LIVING TR
 4020 CARL THOMAS DR
 SCOTTSBURG, IN 47170

 ROBERT A AND RUTH ANN MORGENROTH
 105 LEGENDS CT
 EAST STROUDSBURG, PA 18302

 ROBERT A KAPUSCINSKI
 21 SQUIRRELS HEATH RD
 FAIRPORT, NY 14450

 ROBERT A MORGENROTH
 5604 52ND AVE W
 BRADENTON, FL 34210




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 ROBERT AND CHRISTINA CAPETZ
 REVOCABLE FAMILY TRUST DTD 4/5/07
 40775 SMOKETREE LANE
 RANCHO MIRAGE, CA 92270

 ROBERT AND JULIE CADENHEAD
 220 CONVENTION DR, APT 4128
 FAIRVIEW, TX 75069

 ROBERT AUSTIN
 5959 FM 698
 NACOGDOCHES, TX 75964

 ROBERT C AND JENNIFER J DAVIS
 1583 GLENELLEN WAY
 BRENTWOOD, TN 37027

 ROBERT C AND VICKI A JOHNSON
 3036 CAVE HOLLOW WAY
 BOUNTIFUL, UT 84010

 ROBERT C JOHNSON
 3036 CAVE HOLLOW WAY
 BOUNTIFUL, UT 84010

 ROBERT C SHINN
 877 ISLAND AVE, UNIT 301
 SAN DIEGO, CA 92101

 ROBERT D FINFROCK 2001 TRUST UAD 4
 4040 TIMBER LN
 ORLANDO, FL 32804

 ROBERT E MECCA
 379 SCHOOL ST.
 BOYLSTON, MA 01505

 ROBERT E STUTZ
 451 YORKTOWNE LN
 LAKE FOREST, IL 60045




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 ROBERT F BURNETT
 510 GOODRIDGE LN
 CASSELBERRY, FL 32730

 ROBERT G BERRYMAN
 4512 N AGNES AVE
 KANSAS CITY, MO 64117

 ROBERT HARDY
 4200 196TH STREET SW, SUITE 201
 LYNNWOOD, WA 98036

 ROBERT HUNTER
 214 ADDISON WAY
 TITUSVILLE, FL 32780

 ROBERT J AND CHARLENE R FLECK
 4246 S 50 E
 HUNTINGBURG, IN 47542

 ROBERT J OUELLETTE
 157 TOWN CENTER BLVD #3412
 CLERMONT, FL 34714

 ROBERT JAMES DUMAIS
 21403 GRANITE SPRING
 SAN ANTONIO, TX 78258

 ROBERT KELLER
 10204 W 125TH TERR
 OVERLAND PARK, KS 66213

 ROBERT KNELL
 401 TRAIL RIDGE ROAD
 WIMBERLY, TX 78676

 ROBERT L AND BARBARA D MCCRAY
 2233 MORRISON AVE.
 KINGSPORT, TN 37660




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 ROBERT L OTOVIC JR
 5 LONGVIEW DRIVE#402
 ATKINSON, NH 03811

 ROBERT LARA
 2513 BEDFORD
 MIDLAND, TX 79701

 ROBERT LAWRENCE
 15 YATES AVE.
 OSSINING, NY 10562

 ROBERT MOLONEY AND GRETA MOLONEY
 3140 19TH AVE
 FAIRBANK, AK 99709

 ROBERT N SMITH
 20220 BOCA WEST DR APT. 501
 BOCA RATON, FL 33434

 ROBERT PATTON
 3 NEW STREET
 MENDHAM, NJ 07945

 ROBERT R HARVEY
 230 KINCHLOE MILL RD
 JONESBOROUGH, TN 37659

 ROBERT SCHECHTER REVOCABLE TRUST D
 6738 E MORNING VISTA LN
 SCOTTSDALE, AZ 85266

 ROBERT SZYMBORSKI
 1755 N MEADE STREET
 CHICAGO, IL 60639

 ROBERT W ALFINI
 419 E ORCHARD ST.
 ARLINGTON HEIGHTS, IL 60005




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 ROBERT W SCHLUNDT
 190 BROOKLINE ST.
 NEWTON, MA 02459

 ROBERT WORTHINGTON HUGHES
 304 SOUTH JONES BLVD SUITE 2384
 LAS VEGAS, NV 89107

 ROBERTO ALFONSO CASALS RETIREMENT
 29 CALLE WASHINGTON, STE 209-A
 SAN JUAN, PR 00907

 ROBERTO ALFONSO CASALS
 29 CALLE WASHINGTON, STE 209-A
 SAN JUAN, PR 00907

 ROBERTO BERRÍOS CASTRODAD
 URB FERNANDEZ
 CALLE FRANCISCO CRUZ NO. 24
 CIDRA, PR 00739

 ROBIN EARLES
 420 LOGAN CIR.
 BLUFF CITY, TN 37618

 ROBIN YOUNGBLOOD
 6108 88TH PL.
 LUBBOCK, TX 79424

 ROBYN ABZUG
 1612 CAMDEN AVENUE UNIT 105
 LOS ANGELES, CA 90025

 ROCKWOOD REALTY ADVISORS
 ADDRESS UNAVAIL AT TIME OF FILING

 RODGER ERICKSON AND LORENE GONIA
 77441 SIOUX DRIVE
 INDIAN WELLS, CA 92210




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 RODGER SPROUSE
 110 ARAPAHO TRAIL
 GREENWOOD, MO 64034

 ROGAN HOMES, LLC
 1402 LAKE TAPPS PKWY SE
 STE F104, #339
 AUBURN, WA 98092

 ROGER AND SHARON MICHAEL
 4404 EQUESTRIAN WAY
 FLOWER MOUND, TX 75028

 ROGER CONRAD
 1211 A SIGLER ST.
 NASHVILLE, TN 37203

 ROGER MUELLER
 14020 N 82ND ST.
 SCOTTSDALE, AZ 85260

 ROGER RICHMOND
 1324 TWISTING WIND DR
 HASLET, TX 76052

 ROLAND BROWN
 1010 SHEPARKON DR
 MIDLOTHIAN, TX 76065

 ROMAN SCHWARTZ
 104 SHORE DRIVE
 NASHUA, NH 03062

 ROMANO PROPERTIES, LLC
 4660 NE 77TH AVE SUITE 200
 VANCOUVER, WA

 ROMSPEN US MORTGAGE LP
 300-162 CUMBERLAND STREET
 TORONTO, ON M5R 3N5




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 RONALD AND LEANDRA BYRD
 865 IRONWOOD DR
 FARWELL, TX 79325

 RONALD ANDERSON
 2294 NOVA WAY
 CORONA, CA 92883

 RONALD CROSS
 3205 STEAMERS CT
 GRANBURY, TX 76049

 RONALD D BYRD
 865 IRONWOOD DR
 PO BOX 156
 FARWELL, TX 79325

 RONALD DOMZALSKI
 49 PERRIN AVE.
 SHAVERTOWN, PA 18708

 RONALD R KOCH
 8300 E MCDOWELL RD APT# 2036
 SCOTTSDALE, AZ 85257

 RONNIE BERRY AND TANYA O`COYNE FAM
 8265 E COUNTY DR
 EL CAJON, CA 92020

 ROOF TRUSS SUPPLY, INC.
 PO BOX 532
 WOODINVILLE, WA 98072

 ROOT OF DESIGN LLC
 2020 MALTBY RD
 SUITE 7, PMB 370
 BOTHELL, WA 98021

 ROSALEE FLECK
 405 PLEASANT VIEW DR
 HUNTINGBURG, IN 47542




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 ROSE ANN GIANNELLI
 3594 DRAGON PL.
 THE VILLAGES, FL 32163

 ROSE DERBOGOSIAN REVOCABLE TRUST O
 325 CONCORD ST.
 HAVERHILL, MA 01830

 ROSE M EGIDI TRUST DTD 1/28/16
 2057 VALOR CT
 GLINVIEW, IL 60026

 ROSE M OLSZEWSKI
 64 UNIVERSITY ROAD, APT 3
 BROOKLINE, MA 02445

 ROSINI FAMILY TRUST
 5113 MARBLE FALLS LN
 PLANO, TX 75093

 ROTE CORPORATION
 CAMINO ALEJANDRINO #4
 VILLA CLEMENTINA
 GUAYNABO, PR 00969

 ROY W PARKER REV TRUST UAD 3-22-20
 641 COLUMBIA DR
 WINTER PARK, FL 32789

 ROYAL CABINETS, INC.
 10324 CANYON RD E #101, 1013
 PUYALLUP, WA 98373

 RTS
 7217 45TH ST. CT E SUITE 107
 FIFE, WA 98424

 RUBY 62 HOLDINGS LLC
 ADDRESS UNAVAIL AT TIME OF FILING




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 RUEL HARDER
 ADDRESS UNAVAIL AT TIME OF FILING

 RUIHUA JI
 NO. 11, LANE 688, PINGJI ROAD
 MINHANG DISTRICT
 SHANGAI, 201100 CHINA

 RUIZHAO CHEN
 ROOM 702 UNIT 2 BLDG 2, ZHUQUEMEN
 #8 TAIPINGJIE ST
 BEIJING, 100031 CHINA

 RUMBLE BEE TRANSPORTS & MOVERS, LL
 16006 35TH AVE SE
 MILL CREEK, WA 98012

 RUSSELL AND ELIZABETH WEATHERSBY
 225 CR.127
 TUSCOLA, TX 79562

 RUTH LANGER
 1215 COMMONWEALTH AVE
 WEST NEWTON, MA 02465

 RUTH SHAN
 15919 SE 44TH WAY
 BELLEVUE, WA 98006

 RUTHANN BRUCATO
 1338 COUNTY RD 385
 ERA, TX 76238

 RUZHEN ZHANG
 NO.1904, BUILDING 1
 NO 1, SHANGDI XINXI ROAD,
 HAIDIAN DIST BEIJING 100085 CHINA

 RYAN KLEMANN
 ADDRESS UNAVAIL AT TIME OF FILING




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 RYAN SEAY
 4120 GILBERT AVE., UNIT #104D
 DALLAS, TX 75219

 RYAN STEVENS
 10943 IRONWOOD RD
 SAN DIEGO, CA 92131

 S GARY SHULLAW
 3707 E ZACHARY DRIVE
 PHOENIX, AZ 85050

 S SCOTT STANDA
 3025 CASCO POINT RD
 WAYZATA, MN 55391

 SABAL FINANCIAL
 ADDRESS UNAVAIL AT TIME OF FILING

 SABATINO FICICCHIA
 84 ROCK HILL RD
 ROCHESTER, NY 14618

 SABINA KAPLUNOV
 20387 KENT WAY
 LOS GATOS, CA 95033

 SAEGER CONSTRUCTION
 3134 LIBBY RD NE
 OLYMPIA, WA 98506

 SAFECO PLAZA PARKING
 1001 4TH AVE
 SEATTLE, WA 98154

 SAFEWAY INC.
 3903 FACTORIA MALL S E
 BELLEVUE, WA 98006




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 SAFRANEK GROUP LLC
 5217 KENSINGTON PLACE NORTH
 SEATTLE, WA 98103

 SAGE HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 SALA BUSINESS CORP
 COND SAN VICENTE
 8169 CALLE CONCORDIA STE 303
 PONCE, PR 00717

 SALESFORCE COM, INC.
 PO BOX 203141
 DALLAS, TX 75320-3141

 SALESFORCE.COM (SAMPLE)
 ONE MARKET ST
 SUITE 300
 SAN FRANCISCO, CA 94105

 SALLY JOHNSON
 359 GEORGETOWN RD
 NAZARETH, PA 18064

 SALOMY THOMAS
 3365 BEAUFORT DR
 BETHLEHEM, PA 18017

 SALVADOR ANTONETTI ZEQUEIRA RETIRE
 1360 CALLE LUCHETTI, APT. 10
 SAN JUAN, PR 00907

 SALVADOR ANTONETTI ZEQUEIRA
 1360 CALLE LUCHETTI, APT. 10
 SAN JUAN, PR 00907

 SAM SCIABBARRA
 115 JADE CREEK DR
 HILTON, NY 14468




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 SAMMAMISH PLATEAU WATER
 1510 228TH AVENUE SOUTHEAST
 SAMMAMISH, WA 98075

 SAMPIERI FAMILY TRUST DTD 6/4/1994
 29334 N 108TH PL.
 SCOTTSDALE, AZ 85262

 SAMPSON 45TH AVE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 SAMUEL HERNANDEZ
 593 N SATURMINO DR
 PALM SPRINGS, CA 92262

 SAN JORGE ASSOCIATES MONEY PURCHAS
 PO BOX 361738
 SAN JUAN, PR 00936

 SANDIP N SHAH AND NIRALI SHAH
 7916 ORCHARD COURT
 WEST CHESTER TOWNSHIP, OH 45069

 SANDRA A BATTAGLIA
 909 LOTUS VISTA DRIVE
 APARTMENT 302
 ALTAMONTE SPRINGS, FL 32714

 SANDRA BARKER
 3 PARK ST.
 BOSTON, MA 02108

 SANDRA K TAYLOR
 5026 SUMMER MANOR LN
 SUGAR LAND, TX 77479

 SANDRA L BOWER CREDIT TRUST
 1923 KNOXBRIDGE RD
 FORNEY, TX 75126




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 SANDRA MAROTTE
 22 ROSE CT
 MORRIS PLAINS, NJ 07950

 SANDRA PHILLIPS
 361 FARMS RD
 MCKINNEY, TX 75071

 SANNER FAMILY REVOCABLE TRUST
 361 FARMS RD
 MCKINNEY, TX 75071

 SARA ANN KING REVOCABLE TRUST
 33672 EAST HUNTERS RUN
 LEWES, DE 19958

 SARA PERKINS SHROTH
 2409 AMARILLO DRIVE
 O`FALLON, MO 63368

 SARAH MARTHA PUCKETT
 5932 BROADMOOR DR
 PLANO, TX 75093

 SARAH SHUTE
 8329 SOUTHWEST 33RD AVENUE
 PORTLAND, OR 97219

 SARESS AND ERNESTO SMITH
 EXT ALAMEDA CALLE B A18
 SAN JUAN, PR 00926

 SARI J ROTTER
 2 MASON TERRACE
 BROOKLINE, MA 02446

 SCALE DESIGN NW LLC
 2216 THIRTEENTH AVE EAST
 SEATTLE, WA 98102




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 SCHAEFER, DAVID W & BOBBI D
 15123 19TH AVE. CT NW
 GIG HARBOR, WA 98332

 SCHROETER SURVEYING, INC
 PO BOX 813
 SEAHURST, WA 98062

 SCHWABE, WILLIAMSON & WYATT TRUST
 1211 SW FIFTH AVENUE SUITE 1900
 PORTLAND, OR 97204

 SCOTT & TARA COOK
 95 FROST COURT
 TAYLORSVILLE, KY 40071

 SCOTT AND JANE MOFFITT
 4603 84TH AVENUE SOUTHEAST
 MERCER ISLAND, WA 98040

 SCOTT B CHRISTMAS
 ADDRESS UNAVAIL AT TIME OF FILING

 SCOTT HOULE
 13 COLUMBIA AVE
 LINCOLN, RI 02865

 SCOTT K AND MICHELE C SAUNDERS
 718 KEY ROYALE DR
 HOLMES BEACH, FL 34217

 SCOTT MCDONALD REVOCABLE TRUST AGR
 DTD 6/14/13
 277 ROYAL POINCIANA WAY MB 173
 PALM BEACH, FL 33480

 SCOTT SPRAGUE
 6504 EDGEWORTH DR
 ORLANDO, FL 32819




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 SCOTT WALKER
 ADDRESS UNAVAIL AT TIME OF FILING

 SDWB HOLDINGS INC.
 201 JOSEPH DRIVE
 GLENN HEIGHTS, TX 75154

 SEABROOK CONSTRUCTION COMPANY, LLC
 PO BOX 422
 PACIFIC BEACH, WA 98571

 SEABROOK COTTAGE RENTALS
 24 FRONT STREET
 PACIFIC BEACH, WA 98571

 SEACITY CONSULTING LLC
 520 SOUTH KING STREET
 SEATTLE, WA 98104

 SEAN GILDEA
 22 CHURCH ST.
 WESTON, MA 02493

 SEAN GILL
 PO BOX 250
 HAMPSTEAD, NH 03841

 SEAN MAHONEY
 1137 W LYNWOOD ST
 PHOENIX, AZ 85007

 SEASTAR RESTAURANT
 205 108TH AVE NE #100
 BELLEVUE, WA 98004

 SEATTLE DEPARTMENT OF CONSTRUCTION
 700 FIFTH AVE, SUITE 2000
 PO BOX 34019
 SEATTLE, WA 98124




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 SEATTLE DEPARTMENT OF TRANSPORTATI
 PO BOX 34996
 SEATTLE, WA 98124-4996

 SEATTLE FUNDING GROUP, LTD.
 ADDRESS UNAVAIL AT TIME OF FILING

 SEATTLE MARRIOTT BELLEVUE
 200 110TH AVE NE
 BELLEVUE, WA 98004

 SEATTLE MODERN LIVING, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 SEATTLE WALLPAPER PROS
 4004 NE 4TH ST #107
 RENTON, WA 98056

 SEBRIS BUSTO JAMES
 14205 S E 36TH STREET
 SUITE 325
 BELLEVUE, WA 98006

 SECURITIES AND EXCHANGE COMMISSION
 US BANK, GOVT LOCKBOX 979081
 1005 CONVENTION PLAZA
 ST. LOUIS, MS 63101

 SECURITIZE, LLC.
 655 MONTGOMERY ST. 7TH FLR
 SAN FRANCISCO, CA 94111

 SECURITY SAFE & LOCK, INC.
 10502 MAIN STREET
 BELLEVUE, WA 98004-5903

 SEI PRIVATE TRUST CO.
 PO BOX 781800
 PHILADELPHIA, PA 19178-1800




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 SEKHAR BANERJEE
 3538 YORK LANE
 SAN RAMON, CA 94582

 SELAH REALTY, INC
 PO BOX 695
 SELAH, WA 98942

 SELECT PORTFOLIO SERVICING, INC. (
 PO BOX 65450
 SALT LAKE CITY, UT 84165-0450

 SELECT WEALTH ADVISORS
 322 DE DIEGO AVE, SUITE 202
 SAN JUAN, PR 00920

 SELF CUSTODIED
 ADDRESS UNAVAIL AT TIME OF FILING

 SENTRY CREDIT , INC.
 PO BOX 12070
 EVERETT, WA 98206-2070

 SENZA KENMORE
 ADDRESS UNAVAIL AT TIME OF FILING

 SENZA SAMMAMISH
 ADDRESS UNAVAIL AT TIME OF FILING

 SERENA LYNN VOSS
 709 W MAIN ST.
 POST, TX 79356

 SERGIO BAUTISTA
 ADDRESS UNAVAIL AT TIME OF FILING

 SFG MORTGAGE SERVICING LLC
 188 106TH AVENUE NORTHEAST
 SUITE 600
 BELLEVUE, WA 98004




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 SHAILESH PATEL AND VANESSA DESAI
 15313 LAKE BELLAVISTA DR
 TAMPA, FL 33625

 SHALINA BUDHRANI
 2903 REDWOOD DR
 CARROLLTON, TX 75007

 SHANGHAI HUACHENG SOUTHWEST TRAVEL
 1465 BEIJING W RD, JINGAN QU
 SHANGHAI SHI, 200040, CHINA

 SHAOMING ZHANG
 RM 310-312, HANFU CENTRE BLDG ,
 3RD RD , BAGUA, BAGUALING, FUTIAN
 SHENZEN, GUANGDONG 518000 CHINA

 SHARLA ADAM
 7393 RATLIFF RD
 SAN ANGELO, TX 76904

 SHARON C WEBB
 380 MATHER STREET, APT 3110
 HAMDEN, CT 06514

 SHARP ELECTRONICS CORPORATION
 DBA SHARP BUSINESS SYSTEMS
 DEPT. LA 21648
 PASADENA, CA 91185-1648

 SHARTSIS FRIESE LLP
 ONE MARITIME PLAZA, 8TH FLOOR
 SAN FRANCISCO, CA 94111

 SHAUKAT H CHOWDHARI
 11707 CLUB DR
 TAMPA, FL 33612

 SHELTER HOMES
 88 E HAMLIN ST
 SEATTLE, WA 98102




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 SHENZHEN SINOUS FIRST INVESTMENT C
 308 BLK B, SHENNAN GARDEN PODIUM
 KEYUAN NORTH RD, NANSHAN DISTRICT
 SHENZHEN GUANGDONG 518057 CHINA

 SHERMAN WADE DEVORE
 1605 GREEN CORNER CT
 FORT WORTH, TX 76008

 SHERRY CAPITAL ADVISORS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 SHERRY DEVELOPMENT LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 SHERYL L JARRETT
 3621 VISTA CAMPANA S #2
 OCEANSIDE, CA 92057

 SHIJIA WANG
 1-2-601, YANSHANHE COMMUNITY,
 NO. 201 BAOCHU RD, XIHU DISTRICT,
 HANGZHOU, ZHEJIANG, 310000 CHINA

 SHIRAZALI AND GULZAR SUNDERJI
 26060 N 104TH WAY
 SCOTTSDALE, AZ 85255

 SHIXUAN DENG
 4 QIANCHAOMIAN HUTONG
 DONGCHENG QU,
 BEIJING, 10009 CHINA

 SHIYING CHEN
 1102, UNIT 1, BUILDING 5,
 MINGLIYUAN, XIXI CHENGYUAN, XIHU
 HANGZHOU, ZHEJIANG, 310012 CHINA




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 SHIYU ZHANG
 GUYAN CHUNXIAO, DUJIANGYAN CITY
 CHENGDU CITY, SICHUAN, 611800
 CHINA

 SHO-CHIN AND PING SHANG
 2549 ESSEX DR
 KINGSPORT, TN 37660

 SHOPE CONCRETE PRODUCTS COMPANY
 1618 E MAIN
 PUYALLUP, WA 98372

 SHRED-IT USA
 28883 NETWORK PLACE
 CHICAGO, IL 60673

 SHUTTLEPARK 2
 3610 S 158TH ST
 TUKWILA, WA 98188

 SHUYIN LI
 ADDRESS UNAVAIL AT TIME OF FILING

 SHUYUN ZHENG
 16-2607 SUNLITUN SOHO APARTMENT
 CHAOYANG DIST
 BEIJING, 100020 CHINA

 SICHUAN DIPONT VISA INFORMATION SE
 ROOM 2101-2105, HUAMIN EMPIRE PLZ
 1 FUXING STREET, JINGJIANG DST,
 CHENGDU SICHUAN, 610016 CHINA

 SID (BEIJING) CONSULTING CO. LTD
 ROOM 605 BUILDING 3 DELTA CENTER
 OFFICE BUILDING NO. 7 QINGNIAN RD
 CHAOYANG DISTRICT BEIJING CHINA




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 SIDNEY FRANK
 2001 SPRING ROAD, SUITE 700
 OAK BROOK, IL 60523

 SIGN PROS INC
 PO BOX 2518
 REDMOND, WA 98073

 SIGNATURE INTERIORS & DESIGN, LLC
 6404 S 209TH ST
 KENT, WA 98032

 SIMEON MONTGOMERY
 7805 TROON DR
 ROWLETT, TX 75089

 SIMON TODD
 2213 CAMERON CROSSING
 GRAPEVINE, TX 76051

 SIMPLUS
 OUTBOX SYS DBA SIMPLUS DEPT 3758
 PO BOX 123758
 DALLAS, TX 75312-3758

 SINOLITE INDUSTRIAL CO.
 BLDG DEF, 19 FL, ZHEJIANG WUCHAN
 INTNL PLZ,, NO.445 KAIXUAN RD,
 JIANGGAN DIST, HANGZHOU, CHINA

 SITE SURVEY MAPPING
 21923 NE 11TH STREET
 SAMMAMISH, WA 98074

 SIU YIN MARCO CHAN
 ROOM A302, DAYUAN APARTMENT, NO. 7
 PINGSHAN ROAD, XILI TAOYUAN ST,
 NANSHANSHNZHN GUANGDONG 518055 PRC




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 SIX CHILDREN, LLC
 141 CHESTNUT ST.
 NEEDHAM, MA 02492

 SIXIANG SHEN
 901, #1, BLD B HEHUALONG HEHUAYUAN
 XUNYANG DISTRICT
 JIUJIANG, JIANGXI, 332000 CHINA

 SIZER DESIGNS, LLC
 12722 NORTHEAST 111TH PLACE
 KIRKLAND, WA 98033

 SIZHEN WANG
 04 BUILDING 18, NO. 68
 TIYUGONGYUAN ROAD, LISHUI DST
 NANJING, JIANGSU, 210000, CHINA

 SKAGIT BANK
 ADDRESS UNAVAIL AT TIME OF FILING

 SKY RIVER INVESTMENT, LLC.
 15533 SE 79TH PL
 NEWCASTLE, WA 98059

 SKYE BELOTE
 ADDRESS UNAVAIL AT TIME OF FILING

 SKYLINE PRO CLEANING
 ADDRESS UNAVAIL AT TIME OF FILING

 SKYWAY CAPITAL MARKETS
 100 NORTH TAMPA ST SUITE 3550
 TAMPA, FL 33602

 SMARSH, INC.
 851 SW 6TH AVE
 PORTLAND, OR 97204




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 SMART HOSUE CLEANING LLC
 463 EDMONDS COURT NORTHEAST
 RENTON, WA 98056

 SNOHOMISH COUNTY PLANNING & DEVELO
 3000 ROCKEFELLER AVENUE M/S 604
 EVERETT, WA 98201

 SNOHOMISH COUNTY TREASURER
 DREWEL BLDG
 3000 ROCKEFELLER AVE, 1ST FLOOR
 EVERETT, WA 98201

 SOCOTRA CAPITAL, INC
 2208 29TH STREET, SUITE 100
 SACRAMENTO, CA 95817

 SOMERSET SECURITIES, INC.
 4600 SW KELLY AVENUE
 PORTLAND, OR 97239

 SONGJUN HAN
 UNIT 901-6 BUILDING 6, NO. 59,
 WEST DAWANG ROAD, CHAOYANG DST
 BEIJING, 100022 CHINA

 SORENSEN MECHANICAL, LLC
 13407 SE 339TH STREET
 AUBURN, WA 98092

 SORI FARSHEED
 ADDRESS UNAVAIL AT TIME OF FILING

 SOUND EQUITY - DO NOT USE.
 ADDRESS UNAVAIL AT TIME OF FILING

 SOUND EQUITY
 929 108TH AVE NE, STE 1030
 BELLEVUE, WA 98004




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 SOUND SURVEYING LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 SOUNDEARTH STRATEGIES INC.
 2811 FAIRVIEW AVE E
 SEATTLE, WA 98102

 SOUREN CHAKMAKJIAN FAMILY, LIMITED
 3855 BRANCHFIELD DR
 DALLAS, TX 75214

 SOUTH SOUND SYSTEM
 ADDRESS UNAVAIL AT TIME OF FILING

 SOUTHTOWNE ENTERPRISES
 2449 S WILLIS – SUITE 106
 ABILENE, TX 79605

 SOUTHWESTERN RADIOLOGY SERVICES RE
 PO BOX 1498
 VEGA BAJA, PR 00694

 SPARKOL.COM
 ADDRESS UNAVAIL AT TIME OF FILING

 SPARKS INTERIORS INC
 2711 152ND AVE N E
 REDMOND, WA 98052

 SPECIALTY`S CAFE & BAKERY
 500 108TH AVE NE
 BELLEVUE, WA 98004

 SPOT-ON PRINT & DESIGN
 1803 132ND AVE NE #1
 BELLEVUE, WA 98005

 SQUARE LOTUS
 3540 FACTORIA BLVD SE A,
 BELLEVUE, WA 98006




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 SSA ACOUSTICS
 7409 GREENWOOD AVENUE N, SUITE A
 SEATTLE, WA 98103

 ST. JULIEN FAMILY TRUST
 777 MATAGUAL DR
 VISTA, CA 92081

 STACEY PIKE
 5357 BRISTOL ST.
 ARVADA, CO 80002

 STAFFORD LAND COMPANY
 ADDRESS UNAVAIL AT TIME OF FILING

 STANDARD PARKING
 8037 COLLECTION CENTER DRIVE
 CHICAGO, IL 60693

 STANLEY AND LINDA GURECKI
 914 STEARNS RD
 NEW MILFORD, PA 18834

 STANLEY B STARR MONEY PURCHASE PLA
 34 SQUIRE SHALER LN
 LANCASTER, MA 01523

 STANLEY B STARR, JR
 34 SQUIRE SHALER LN
 LANCASTER, MA 01523

 STANLEY MCLELLAN
 2446 VAUGHN AVE
 DELTONA, FL 32725

 STAPLES INC.
 500 STAPLES DR
 FRAMINGHAM, MA 01702-4478




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 STATE OF CALIFORNIA
 ADDRESS UNAVAIL AT TIME OF FILING

 STATE OF DELAWARE
 DIVISION OF CORPORATIONS
 PO BOX 5509
 BINGHAMTON, NY 13902-5509

 STATE OF NORTH CAROLINA
 ADDRESS UNAVAIL AT TIME OF FILING

 STATE OF OH
 ADDRESS UNAVAIL AT TIME OF FILING

 STATE OF PENSILVANIA
 ADDRESS UNAVAIL AT TIME OF FILING

 STEFAN PAGIOS
 43 DEPINEDO ST.
 PROVIDENCE, RI 02094

 STELLA KINDRED
 8275 HILLANDALE DRIVE
 SAN DIEGO, CA 92120

 STEPHANIE MORRIS
 3815 ROSE AVE,
 LONG BEACH, CA 90807

 STEPHEN BELOKOPITSKY
 4160 W 1000 N,
 ALEXANDRIA, IN 46001

 STEPHEN C WILKINSON
 2076 SUTTON WAY
 HENDERSON, NV 89074

 STEPHEN D ATKINSON
 4214 42ND ST.
 LUBBOCK, TX 79413




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 STEPHEN J TWILLIGER
 223 MELWOOD DR
 ROCHESTER, NY 14626

 STEPHEN THAYER
 2642 BEVERLY GLEN DR
 LAKE HAVESU, AZ 86403

 STEPHEN W TRIVETT
 1891 SANCTUARY PLACE
 MURFREESBORO, TN 37128

 STERLING GRIFFIN
 ADDRESS UNAVAIL AT TIME OF FILING

 STERLING REALTY ORGANIZATION CO.
 777 108TH AVENUE NE, SUITE 2150
 BELLEVUE, WA 98004

 STERLING
 PO BOX 35626
 NEWARK, NJ 07193

 STERN 1987 FAMILY TRUST
 9570 VIRGINIA PLACE
 BEVERLY HILLS, CA 90212

 STEVE HARBERTSON
 8813 TRACY DRIVE
 SANDY, UT 84093

 STEVE N ODELL
 2052 CANNES
 PLANO, TX 75074

 STEVE WHITE
 ADDRESS UNAVAIL AT TIME OF FILING




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 STEVEN A HENRIKSEN
 215 VALLEYVIEW PLACE
 MINNEAPOLIS, MN 55419

 STEVEN C AND KATHERINE M JISKRA
 254 HAWK HOLLOW DRIVE
 BARTLETT, IL 60103

 STEVEN COSTALAS
 5 KATHRYN LANE
 BROOMALL, PA 19008

 STEVEN D BENTZ
 10218 MISSISSIPPI BLVD NW
 COON RAPIDS, MN 55433

 STEVEN D MOONBLATT
 815 SOUTH 7TH ST. UNIT #6
 PHILADELPHIA, PA 19147

 STEVEN G LOMBARDO
 ADDRESS UNAVAIL AT TIME OF FILING

 STEVEN GABLE
 2602 BRUNNER RD
 EMMANS, PA 18049

 STEVEN J EVANS
 25 POINT O WOODS ROAD
 DARIEN, CT 06820

 STEVEN N BOYD
 1043 GOLFSIDE DR
 WINTER PARK, FL 32792

 STEVEN PETERSEN
 10366 LUNA MAGICO AVE
 LAS VEGAS, NV 89135




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 STEVEN SPERRING
 706 BRASS LANTERN PL.
 BRENTWOOD, TN 37027

 STEVEN W SHAW
 11 RIVER PARK DRIVE
 CORMWELL, CT 06416

 STEVEN WESTERBERG
 7750 SOUTH LAKESHORE ROAD #6
 CHELAN, WA 98816

 STEW COGAN
 1420 FIFTH AVENUE, SUITE 3400
 SEATTLE, WA 98101

 STEWARD K SELLERS
 2830 LINDEN STREET, UNIT 2B
 BETHLEHEM, PA 18017

 STILLPOINT CAPITAL - SKYWAY CAPITA
 100 N TAMPA ST SUITE 3550
 TAMPA, FL 33602

 STILLWATER CONSULTING GROUP
 ADDRESS UNAVAIL AT TIME OF FILING

 STOEL RIVES LLP
 101 S CAPITOL BLVD STE 1900
 BOISE, ID 83702

 STONECREST PARTNERS
 300 WEST 6TH STREET, SUITE 1520
 AUSTIN, TX 78701

 STORYBUILT
 900 1ST ST S
 AUSTIN, TX 78704




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 STRUCTURAL WORKS PLLC
 35341 11TH CT SW
 FEDERAL WAY, WA 98023

 STUART ACKERMAN AND ANN ACKERMAN R
 7034 E CROCUS DR
 SCOTTSDALE, AZ 85254

 STUART L PINKERT INSURANCE TRUST U
 666 DUNDEE ROAD, SUITE 903
 NORTHBROOK, IL 60062

 STUART L PINKERT
 89 CRESTVIEW DRIVE
 DEERFIELD, IL 60015

 STUDIO PACIFICA
 2144 WESTLAKE AVENUE NORTH
 SUITE F
 SEATTLE, WA 98109

 STUDIO19 ARCHITECTS
 PO BOX 4127
 SEATTLE, WA 98194

 SUCCESS CIRCLE HOLDINGS, LLC
 119 FOXBORO RD
 TRAVERLERS REST, SC 29690

 SUMMIT DEVELOPMENT GROUP
 ADDRESS UNAVAIL AT TIME OF FILING

 SUMMIT DRYWALL INC
 ADDRESS UNAVAIL AT TIME OF FILING

 SUNSET 1725 LLC
 ADDRESS UNAVAIL AT TIME OF FILING




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 SUPERGRAPHICS, INC.
 2201 15TH AVE W
 SEATTLE, WA 98119

 SUPERIOR INSULATION PRODUCTS, LLC
 3511 136TH ST. NORTHEAST
 MARYSVILLE, WA 98271

 SURVIVOR OF GRIFFITH FAMILY TRUST
 28452 CALLE PINON
 SAN JUAN CAPISTANO, CA 92675

 SUSAN ALVARADO
 2639 HARRISON STREET
 CARSON, CA 90810

 SUSAN B SKARECKY TRUST UTD 12-17-0
 501 OAKWOOD AVE. APT. 2-A
 LAKE FOREST, IL 60045

 SUSAN B STEINER REV TRUST
 444 TOAD RD
 CORRALES, NM 87048

 SUSAN C BROUTMAN
 2340 SPRUCE ST. UNIT C
 BOULDER, CO 80302

 SUSAN J HUBELE
 4220 FAIRWAY DR
 FLOWER MOUND, TX 75028

 SUSAN LOWDER
 12495 GREENLEAF WAY
 TRUCKEE, CA 96161

 SUSAN MCLAUGHLIN
 724 EAST RAMONA AVE
 SALT LAKE CITY, UT 84105




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 SUSAN SELBE
 61 JEANNE STREET
 PORTLAND, ME 04102

 SUSAN STEINER
 444 TOAD RD
 CORRALES, NM 87048

 SUSAN STEINER
 444 TOAD RD
 CORRALES, NM 87048

 SUSAN THORNE
 168 KNOXVIEW LANE
 MOORESVILLE, NC 28117

 SUZANNE CARTER
 149 SEA COTTON CIR.
 CHARLESTON, SC 29412

 SWICKARD REAL ESTATE INVESTMENTS,
 5200 EVERGREEN WAY
 EVERETT, WA 98203

 SYLVIA GARDNER
 907 ROCK CANYON RD
 DUNCANVILLE, TX 75137

 T S DANCE CONSTRUCTION LLC
 17902 120TH STREET CT E
 BONNEY LAKE, WA 98391

 T&L ONE, LLC
 17169 6TH PLACE SW
 SEATTLE, WA 98166

 TACOMA PACIFIC PARTNERS, LLC - DO
 ADDRESS UNAVAIL AT TIME OF FILING




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 TACOMA PACIFIC PARTNERS, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 TACOMA PUBLIC UTILITIES
 3628 S 35TH ST.
 TACOMA, WA 98409

 TACOMA RUBBER STAMP
 919 MARKET ST
 TACOMA, WA 98402

 TAHOMA MARKET
 MARKET STREET
 TACOMA, WA 98402

 TAI SHAN
 155 EVERHOLLOW HEIGHTS SW
 CALGARY, AB T2Y 5B3
 CANADA

 TAIT WELLER & BAKER LLP
 50 SOUTH 16TH ST, SUITE 2900
 PHILADELPHIA, PA 19102

 TALIESIN HOMES NW, LLC
 12042 SE SUNNYSIDE ROAD, #475
 CLACKAMAS, OR 97015

 TAMI Y ISAACS
 10701 STONEYHILL DRIVE
 SILVER SPRING, MD 20901

 TAMMY WHITE
 546 EAST NAVAJO TRAIL
 SAN TAN VALLEY, AZ 85143

 TAT IU
 ROOM 2301,BLOCK A, GAXALY INTL BLD
 167 HUANCHENG NORTH ROAD
 HANGZHOU, ZHEJIANG, 310005 CHINA




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 TATIANA DESSAIN 2015 REVOCABLE TRU
 62 CONANT RD
 LINCOLN, MA 01773

 TATIANA PANTCHENKO
 7705 135TH PLACE NE
 REDMOND, WA 98052

 TATYANA ULYANCHENKO
 3480 GRANADA AVE, APT 255
 SANTA CLARA, CA 95051

 TAX DOCUMENT HOLDER
 ADDRESS UNAVAIL AT TIME OF FILING

 TAXI SERVICE - NY
 ADDRESS UNAVAIL AT TIME OF FILING

 TAYLOR AND PADGETT FINANCIAL
 1555 PLAZA WEST DR
 PRESCOTT, AZ 86303

 TCD, LLC
 32781 NE 52ND STREET
 CARNATION, WA 98014

 TCG
 ADDRESS UNAVAIL AT TIME OF FILING

 TD AMERITRADE CLEARING, INC.
 200 S 108TH AVE. ATTN: AI DEPT
 OMAHA, NE 68154

 TD CROSHAW
 32968 NE 52ND STREET
 CARNATION, WA 98014

 TEAL GROUP TECHNOLOGIES, LLC
 19438 185TH AVE SE SUITE 100
 RENTON, WA 98058




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 TEC REAL ESTATE
 40 LAKE BELLEVUE DR #245
 BELLEVUE, WA 98005

 TED E AND EVA M CASON
 1421 YOUNG CIR.
 RAYMORE, MO 64083

 TERESA ELIZABETH PIERE INTERVIVOS
 6813 OAKVIEW ST.
 SHAWNEE, KS 66216

 TERESA MCDADE & MARK MCDADE
 3540 NE 147TH ST
 LAKE FOREST PARK, WA 98115

 TERESA MCDADE
 3540 NE 147TH ST
 LAKE FOREST PARK, WA 98115

 TERI CAMPBELL KING LIVING TRUST
 3524 PINEHURST CR.
 FARMERS BRANCH, TX 75234

 TERRANE
 ADDRESS UNAVAIL AT TIME OF FILING

 TERRENCE CASELLA
 44370 ONTARIO COURT
 INDIAN WELLS, CA 92210

 TERRENCE L HUCKE
 1812 56TH ST NE
 TACOMA, WA 98422

 TERRENCE W ALLEN
 135 WALKING TRAIL
 YOUNGSVILLE, NC 27596




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 TERRILL J AND MICHELLE R MARTIN
 5321 NW BLUFFS WAY
 PARKVILLE, MO 64152

 TERRY L AND LYNN M MANNING
 548 NORTH LEAVITT AVENUE
 ORANGE CITY, FL 32763

 TEST 3
 ADDRESS UNAVAIL AT TIME OF FILING

 TEST ACCOUNT 5
 5243 11TH AVE NE
 SEATTLE, WA 98105

 TEST ACCOUNT
 TEST ADDRESS

 TEST CONTACT 6
 5243 11TH AVE NE
 SEATTLE, WA 98105

 TEST ICAP
 3535 FACTORIA BLVD SE
 SUITE 500
 BELLEVUE, WA 98006

 TEST TEST
 ADDRESS UNAVAIL AT TIME OF FILING

 TEST TESTING
 ADDRESS UNAVAIL AT TIME OF FILING

 TEST VAULT
 963 2ND AVE.
 TUCSON, AZ 81345-000

 TEST
 ADDRESS UNAVAIL AT TIME OF FILING




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 TESTER INVESTOR
 ADDRESS UNAVAIL AT TIME OF FILING

 THAI GINGER
 3717 FACTORIA BLVD SE
 BELLEVUE, WA 98006

 THANH PHAT NGUYEN
 15706 CHADRON AVE.
 GARDENA, CA 90249

 THE ADAMS FAMILY LIVING TRUST
 1907 WATERFORD DR
 GRAPEVINE, TX 76051

 THE AIELLO FAMILY TRUST
 6331 DWANE AVE.
 SAN DIEGO, CA 92120

 THE ALTHEA KAY TALENTO REVOCABLE I
 TRUST DATED 8/20/19
 1915 HAZELNUT COURT
 AGOURA HILLS, CA 91301

 THE B+K BROUWER REVOCABLE TRUST
 16538 E WESTWIND CT
 FOUNTAIN HILLS, AZ 85268

 THE BARRY AND DOLORES SCHNEIDER CH
 6616 RIVER BEND RD
 FT WORTH, TX 76132

 THE BARRY AND DOLORES SCHNEIDER LI
 6616 RIVER BEND RD
 FT WORTH, TX 76132

 THE BARSTOW FAMILY REVOCABLE TRUST
 PO BOX 54864
 HURST, TX 76054




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 THE BELLEVUE COLLECTION
 575 BELLEVUE SQUARE
 BELLEVUE, WA 98004

 THE BLECKER FAMILY TRUST DTD. 04/0
 PO BOX 90337
 SAN DIEGO, CA 92169

 THE BOWMAN LAW FIRM, LLC
 840 TOM WHEELER LANE
 MCEWEN, TN 37101

 THE BROCKMAN LIVING TRUST
 1000 DOGWOOD CT
 COLLEYVILLE, TX 76034

 THE CHEESECAKE FACTORY
 401 BELLEVUE SQUARE
 BELLEVUE, WA 98004

 THE CHRIS ANDERSEN FAMILY TRUST
 1044 E SAN JACINTO WAY
 PALM SPRINGS, CA 92262

 THE CYNTHIA HOFFMAN REVOCABLE TRUS
 429 OCEAN DR W
 STAMFORD, CT 06902

 THE DARIUS KING LIVING TRUST
 23180 VIRGINIA TRAIL
 BRISTOL, VA 24202

 THE DARLING FAMILY TRUST
 4 AVIS CT
 ORINDA, CA 94563

 THE DAVID AND GAYLE JOHNSON
 REVOCABLE FAMILY LIVING TRUST
 4583 S GREYTHORNE WAY
 CHANDLER, AZ 85248




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 THE DENG IRREVOCABLE TRUST
 7307 N DIVISION #303, PO BOX 18969
 SPOKANE, WA 99228-0969

 THE DON AND LINDA WILLIAMS TRUST
 4787 GALICIA WAY
 OCEANSIDE, CA 92056

 THE DON AND SUSAN LOWDER REV TRUST
 12495 GREENLEAF WAY
 TRUCKEE, CA 96161

 THE DOTY LIVING TRUST UAD 06/12/97
 41300 WOODHAVEN DR W
 PALM DESERT, CA 92211

 THE EDERER FAMILY TRUST UAD 2/23/0
 8530 MELROSE LN
 EL CAJON, CA 92021

 THE EDWARD K & SANDRA L BOWER REVO
 1923 KNOXBRIDGE RD
 FORNEY, TX 75126

 THE EDWARDS FAMILY TRUST DTD 10/12
 2126 MONTGOMERY AVE.
 CARDIFF, CA 92007

 THE FINAL CLEAN
 12910 16TH ST NE
 LAKE STREVENS, WA 98258

 THE FIRM REAL ESTATE SERVICES
 838 PEACE PORTAL DRIVE
 BLAINE, WA 98230

 THE GERALD H RISSMAN TRUST
 1470 SANDERS ROAD
 NORTHBROOK, IL 60062




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 THE GLORIA A WIERCIOCH TRUST DATED
 13215 WOOD DUCK DR
 PLAINFIELD, IL 60585

 THE GREEN THUMB
 3104 161ST AVE. SE
 BELLEVUE, WA 98008

 THE HANOVER INSURANCE GROUP
 PO BOX 580045
 CHARLOTTE, NC 28258

 THE HARDING FAMILY LIVING TRUST UA
 76-448 VIA CHIANTI
 INDIAN WELLS, CA 92210

 THE HAROLD E HOPF LIVING TRUST UAD
 273 N 325 E
 JASPER, IN 47546

 THE HARTMAN LIVING TRUST
 2146 EAST FIELDSTONE DRIVE
 ST. GEORGE, UT 84790

 THE JAMES & MICHELLE FRANKIE FAMIL
 3701 MADISON ROAD
 FLINTRIDGE, CA 91011

 THE JOANN MCKNIGHT LIVING TRUST
 2701 S SIOUX AVE.
 INDEPENDENCE, MO 64057

 THE KIMBERLY ANNE ANGEL FAMILY TRU
 512 HARVEST RAIN AVENUE
 HENDERSON, NV 89011

 THE LADY TRUST
 271 PR 5987
 YANTIS, TX 75497




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 THE LANDER FAMILY 2020 TRUST
 4428 HYER ST.
 DALLAS, TX 75205

 THE LEROY PARK AND MARY JANE PARK
 REVOCABLE LIVING TRUST
 334 SOUTHSHORE DR
 LAKE WINNEBAGO, MO 64034

 THE LESLIE J SCHEIL TRUST DTD. 12/
 69330 LAS BEGONIAS
 CATHEDRAL CITY, CA 92234

 THE LOAN DOCTOR
 ADDRESS UNAVAIL AT TIME OF FILING

 THE LYNDA D EARHART TRUST
 3229 HIGHWAY 126
 BOUNTVILLE, TN 37617

 THE MAC HYTKEN TRUST DTD 25 OCT 93
 PO BOX 794055
 DALLAS, TX 75379

 THE MICHAEL BRADLEY TRUST
 16430 N SCOTTSDALE RD
 STE 230
 SCOTTSDALE, AZ 85254

 THE MICHAEL VARRIN TRUST
 825 PURCHASE BROOK ROAD
 SOUTHBURY, CT 06488

 THE NATIONAL DUE DILLIGENCE ALLIAN
 1810 CEDAR CREEK COURT
 HOUSTON, TX 77077

 THE NOCHUR TRUST
 295 WOODCLIFF RD
 NEWTON, MA 02461




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 THE PILLING TRUST DTD. APRIL 18, 1
 1608 SKYLINE DRIVE
 FULLERTON, CA 92831

 THE PREVIEW GROUP
 ADDRESS UNAVAIL AT TIME OF FILING

 THE REMLINGER GROUP
 ADDRESS UNAVAIL AT TIME OF FILING

 THE RESTATED JEROME & ANASTASIA AN
 JEROME ANGEL, TRSTEE
 801 E TAHQUITZ CANYON WAY, STE 200
 PALM SPRINGS, CA 92262

 THE REV TRUST OF CHRISTINE C TAYLO
 11664 SPOTTED MARGAY AVENUE
 VENICE, FL 34292

 THE RHODES AND SMITH FAMILY TRUST
 2701 MERRYGLEN LANE
 FLOWER MOUND, TX 75022

 THE RONALD HEAPE REVOCABLE TRUST U
 7279 E GOODNIGHT LANE
 PRESCOTT VALLEY, AZ 86314

 THE RUSSELL AND JENNY MCCLURE FAMI
 1698 SIKES ST.
 GRAFORD, TX 76449

 THE SCHWARTZ COMPANY
 108 S WASHINGTON STREET
 SUITE 310
 SEATTLE, WA 98104

 THE SHAW BYPASS TRUST DATED 06/17/
 940 WINGED FOOT DR
 FAIRVIEW, TX 75069




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 THE SOD LEGACY TRUST DTD 5/24/19
 9527 EAST VERDE GROVE VIEW
 SCOTTSDALE, AZ 85255

 THE STANLEY AND MARIAN PRAVER TRUS
 39-905 VIA SCENA, UNIT 140
 PALM DESERT, CA 92260

 THE STONE FAMILY TRUST DTD 04/08/0
 PO BOX 2365
 RANCHO MIRAGE, CA 92270

 THE STONE FAMILY TRUST
 10009 WANDERING WAY
 BENBROOK, TX 76126

 THE SUZANNE CHAMBERS BLUM 2018 TRU
 18 MEADOWVIEW DRIVE
 NORTHFIELD, IL 60093

 THE THOMAS RICHARD & SANDRA ANN BA
 REVOCABLE LIVING TRUST
 101 WOODLAND DR
 HIGHLAND VILLAGE, TX 75077

 THE TLS INVESTMENT TRUST
 361 FARMS RD
 MCKINNEY, TX 75071

 THE TONY AND HEATHER ASBELL LIVING
 13042 N RED QUAIL PLACE
 MARANA, AZ 85658

 THE WADE LIVING TRUST
 PO BOX 10187
 PRESCOTT, AZ 86304

 THEODORE R SCHAUMBURG
 1730 PEBBLEWOOD CT
 SYCAMORE, IL 60178




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 THERESA M BONESS
 RT 4 BOX 484
 AVA, MO 65608

 THIERRY FAMILY TRUST
 3401 CORTE PINO
 CARLSBAD, CA 92009

 THINK JOULE
 929 NW 19TH AVE
 PORTLAND, OR 97209

 THOMAS A GOLDSBOROUGH
 8304 GIANTSTEP PL.
 GAITHERSBURG, MD 20886

 THOMAS AND JODI TEMPLE W/ RIGHTS O
 21 SYCAMORE LN
 CHESTER SPRINGS, PA 19425

 THOMAS AND MAUREEN SLOBIG
 1329 W SHELLFISH DR
 GILBERT, AZ 85233

 THOMAS AUSTIN GUSTAFSON
 3113 PADDLE CREEK DR
 JACKSONVILLE, FL 32223

 THOMAS B HAMLIN
 4600 SW KELLY AVENUE
 PORTLAND, OR 97239

 THOMAS C GUSTAFSON
 PO BOX 520879
 LONGWOOD, FL 32752

 THOMAS E AND NANCY E EROH
 28 DAWN DRIVE
 DOUGLASSVILLE, PA 19518




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 THOMAS E SORCE
 1915 HAZEL NUT COURT
 AGOURA HILLS, CA 91301

 THOMAS H HAMM, IV
 5399 E BIG RICHLAND CREEK RD
 MCEWEN, TN 37101

 THOMAS HUEBINGER
 30703 LOWER OX BOW TRACE
 FULSHEAR, TX 77441

 THOMAS L & SANDRA RAWLINGS JTWROS
 PO BOX 271
 WHARTON, TX 77488

 THOMAS L GREENE
 5921 PARKVIEW DR
 WESTERN SPRINGS, IL 60558

 THOMAS L WELLING
 28 LINDSEY AVE.
 DANVILLE, PA 17821

 THOMAS MARGIE
 4416 EAST WILLOW AVE
 PHOENIX, AZ 85032

 THOMAS MARTIN WOODWARD
 5307 GLIDE SLOPE CT
 GRANBURY, TX 76049

 THOMAS MCCAUSLAND, JR 1994 IRREVOC
 1437 EDGEWOOD LN
 WINNETKA, IL 60093

 THOMAS R FOGARTY
 PO BOX 483
 WAYNESVILLE, NC 28786




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 THOMAS R HELLER
 3510 E OVERBY ROAD
 LAKE LEELANAU, MI 49653

 THOMAS RICOTTA
 2982 NIGHT WATCH WAY
 ALPINE, CA 91901

 THOMAS SAXBY AND LEANNE SAXBY
 759 LIME HOLLOW ROAD
 NORFOLK, NY 13667

 THOMAS SAXBY
 759 LIME HOLLOW ROAD
 NORFOLK, NY 13687

 THOMAS SLOBIG
 1329 W SHELLFISH DR
 GILBERT, AZ 85233

 THOMAS TILBROOK
 1233 HARDISON LN
 ABILENE, TX 79602

 THOMPSON HINE LLP
 41 SOUTH HIGH ST
 SUITE 1700
 COLUMBUS, OH 43215

 THOMSON REUTERS TAX & ACCOUNTING -
 PO BOX 71687
 CHICAGO, IL 60694-1687

 THURSTON COUNTY TITLE
 ADDRESS UNAVAIL AT TIME OF FILING

 TICOR TITLE CO
 ADDRESS UNAVAIL AT TIME OF FILING




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 TIEGS PROPERTY SERVICES LLC
 PO BOX 2214
 TACOMA, WA 98401

 TIKVOT PTE LTD.
 20 EMERALD HILL ROAD
 SINGAPORE, 229302
 SINGAPORE

 TIM AND JILL MULLER
 1334 WINONA DR
 SAN JOSE, CA 95125

 TIM RUSHER
 ADDRESS UNAVAIL AT TIME OF FILING

 TIM TYLER
 ADDRESS UNAVAIL AT TIME OF FILING

 TIMBERLAND
 ADDRESS UNAVAIL AT TIME OF FILING

 TIMBREL CAPITAL LLC
 2200 CENTURY PARKWAY
 SUITE 500
 ATLANTA, GA 30345

 TIMOTHY J AND SUE MCKAY
 11030 GULF SHORE DR UNIT 102
 NAPLES, FL 34108

 TIMOTHY R NEWCOMB
 438 35TH AVE.
 EAST MOLINE, IL 61244

 TIMOTHY VIOLETTE
 22568 TULIP COURT
 SANTA CLARITA, CA 91390




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 TINA M WALZ
 10 PINEWOOD DR
 COVINGTON TWP, PA 18424

 TING SHAO
 1158 230TH AVE NE
 SAMMAMISH, WA 98074-6529

 TITAN SECURITIES
 16775 ADDISON RD STE 525
 ADDISON, TX 75001

 TLS INVESTMENT TRUST
 361 FARMS RD
 MCKINNEY, TX 75071

 T-MOBILE
 PO BOX 790047
 ST. LOUIS, MO 63179-0047

 TODD MCCOY
 ADDRESS UNAVAIL AT TIME OF FILING

 TOKENY SOLUTIONS
 9, RUE DU LABORATOIRE
 L-1911 LUXEMBOURG
 GARE, L-1911 LUXEMBOURG

 TOKYO RESTAURANT
 3500 FACTORIA BLVD SE
 BELLEVUE, WA 98006

 TOM FILES
 8721 SE PORTER CIRCLE
 VANCOUVER, WA 98664

 TOM J BLONG
 190 HEDGES
 ABILENE, TX 79605




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 TOP GUN BAR AND GRILL
 ADDRESS UNAVAIL AT TIME OF FILING

 TORO ESPECIALISTA EN ORTODONCIA
 PASEO LAS BRISAS #13
 CALLE MARBELLA
 SAN JUAN, PR 00926

 TOTAL GROUNDS MANAGEMENT
 PO BOX 9
 PUYALLUP, WA 98371

 TP ICAP C/O NORRIS MCLAUGHLIN, PA
 JEANNE M. HAMBURG, ESQ.
 7 TIMES SQUARE, 21ST FLOOR
 NEW YORK, NY 10036

 TRACEY TYSON
 216 GITCHEGUMEE DRIVE
 BUCKLEY, MI 49620

 TRACY SMITH
 2701 MERRYGLEN LANE
 FLOWER MOUND, TX 75022

 TRAFFIC MANAGEMENT INC
 4900 AIRPORT PLAZA DR
 SUITE 300
 LONG BEACH, CA 90815

 TRAILSIDE HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 TRAILSIDE HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 TRANSPORTATION ENGINEERING NW, LLC
 PO BOX 65254
 SEATTLE, WA 98155




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 TRAVIS BAKER
 ADDRESS UNAVAIL AT TIME OF FILING

 TREASURER, STATE OF CONNECTICUT
 DEPT. OF BANKING SEC DIV
 260 CONSTITUTION PLAZA
 HARTFORD, CT 06103-1800

 TREASURER, STATE OF MAINE
 121 STATE HOUSE STATION
 AUGUSTA, ME 04333

 TREE SOLUTIONS INC.
 2940 WESTLAKE AVE N
 SEATTLE, WA 98109

 TREZ CAPITAL LIMITED PARTNERSHIP
 SUITE 1700, 745 THURLOW ST
 VANCOUVER, BC V6E 0C5
 CANADA

 TRIMONT REAL ESTATE ADVISORS
 3500 LENOX RD NE SUITE G1
 ATLANTA, GA 30326

 TRIPLE GROWTH FUND, LLC
 2104 W FIRST STREET
 FORT MYERS, FL 33901

 TRIPLE POINT, LLC
 227 BELLEVUE WAY NE, #125
 BELLEVUE, WA 98004

 TRITALENT FUNDING GROUP INC
 1201 SW 12TH AVENUE, SUITE 308
 PORTLAND, OR 97025

 TROUTMAN FAMILY REVOCABLE TRUST
 PO BOX 1292
 BOCA GRANDE, FL 33921




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 TRUE CONSTRUCTION CLEANING
 ADDRESS UNAVAIL AT TIME OF FILING

 TRUELINE CAPITAL
 ADDRESS UNAVAIL AT TIME OF FILING

 TRUST FBO DONALD J TAYLOR
 11664 SPOTTED MARGAY AVENUE
 VENICE, FL 34292

 TUFF TURF INC.
 PO BOX 820566
 VANCOUVER, WA 98607

 TWO DEALS, LLC
 8485 E MCDONALD DR #280
 SCOTTSDALE, AZ 85250

 TYLER PAYNE
 7208 LEAFLAND PLACE
 PROSPECT, KY 40059

 TYSON KIEHN
 6608 84TH ST. E
 PUYALLUP, WA 98371

 UBER
 ADDRESS UNAVAIL AT TIME OF FILING

 UC FUNDING, LLC
 745 BOYLSTON STREET
 BOSTON, MA 02116

 ULTRA QUIET FLOORS
 403 N MAIN ST
 NEWBERG, OR 97132

 UMPQUA
 ADDRESS UNAVAIL AT TIME OF FILING




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 UNITED HEALTH CARE
 PO BOX 94017
 PALATINE, IL 60094-4017

 UNITED STATES POSTAL SERVICE
 12224 NE BEL - RED RD
 BELLEVUE, WA 98009

 UNIVERSAL INSURANCE COMPANY
 PO BOX 71338
 SAN JUAN, PR 00936

 UPGROW INC
 3525 DEL MAR HEIGHTS RD #257,
 SAN FRANCISCO, CA 92130

 URBAN FT NORTH AMERICA LLC
 200 SPECTRUM CENTER DRIVE
 SUITE 300
 IRVINE, CA 92618

 URBAN NORTHWEST HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 US ASSURE
 PO BOX 10197
 JACKSONVILLE, FL 32247

 US ASSURE
 US ASSURE INS SVCS OF FLORIDA, INC
 PO BOX 935597
 ATLANTA, GA 31193

 US TREASURY
 ADDRESS UNAVAIL AT TIME OF FILING

 USASIA PACIFIC
 ADDRESS UNAVAIL AT TIME OF FILING




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 USB MAKERS INTL
 1055 WEST 7TH STREET
 LOS ANGELES, CA 90017

 USI
 ADDRESS UNAVAIL AT TIME OF FILING

 USI
 ADDRESS UNAVAIL AT TIME OF FILING

 USPS
 12224 NE BEL-RED RD
 BELLEVUE, WA 98009

 UW 17TH AVE, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 V ALLEN AND LYNDA M STAFFORD REVOC
 17932 FM 362
 NAVASOTA, TX 77868

 VALLERIE RUIZ
 5341 E PAGEANTRY ST.
 LONG BEACH, CA 90808

 VALLEY SUPPLY COMPANY
 8310 MALTBY ROAD
 WOODINVILLE, WA 98072

 VAN BRUNT LIVING TRUST
 11984 GLADSTONE CT
 FRISCO, TX 75035

 VAN HOOF CONSTRUCTION, LLC
 718 GRIFFIN AVENUE #907
 ENUMCLAW, WA 98022

 VANCOUVER SIGN COMPANY, INC
 PO BOX 5828
 VANCOUVER, WA 98668




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 VANESSA BARR (STOP USING)
 PO BOX 2054
 TACOMA, WA 98401

 VANESSA BARR
 ADDRESS UNAVAIL AT TIME OF FILING

 VANTAGE RETIREMENT PLANS
 20860 N TATUM BLVD SUITE 240
 PHOENIX, AZ 85050

 VASILI ARVANITIDIS
 ADDRESS UNAVAIL AT TIME OF FILING

 VAULT TEST
 TEST ADDRESS
 TEST CITY, WA 00000

 VC STUDIO
 ADDRESS UNAVAIL AT TIME OF FILING

 VEER ARCHITECTURE
 520 112TH AVENUE NE, SUITE 250
 BELLEVUE, WA 98004

 VEGA CONSTRUCTION COMPANY CORP
 16624 1ST AVE S
 BURIEN, WA 98148

 VERA GILMER
 3 DEERCREEK PRIVATE DR
 KINGSPORT, TN 37660

 VERBEEK PROPERTIES, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VERISTONE CAPITAL
 ADDRESS UNAVAIL AT TIME OF FILING




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 VERIZON WIRELESS
 PO BOX 660108
 DALLAS, TX 75266-0108

 VERNON S AND KATHRYN L WESTRICH
 9357 S SULLIVAN PL.
 TERRE HAUTE, IN 47802

 VERNON WESTRICH
 9357 S SULLIVAN PLACE
 TERRE HAUTE, IN 47802

 VH 1121 14TH AVE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VH 2ND STREET OFFICE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VH 2ND STREET OFFICE, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VH PIONEER VILLAGE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VH SENIOR CARE LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VH WILLOWS TOWNHOMES, LLC
 ADDRESS UNAVAIL AT TIME OF FILING

 VIC AND LINDA MONSON
 11303 46TH STREET EAST
 EDGEWOOD, WA 98372

 VICKY HUNTER
 214 ADDISON WAY
 TITUSVILLE, FL 32780




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 VICTOR AND JULIE RACZKOWSKI
 3112 WOODLEY RD NW
 WASHINGTON, DC 20008

 VIJAY TEST
 ADDRESS UNAVAIL AT TIME OF FILING

 VIJAY
 ADDRESS UNAVAIL AT TIME OF FILING

 VIJAYA MASINA
 24919 SE 43RD STREET
 SAMMAMISH, WA 98029

 VILMA M VARGAS RETIREMENT PLAN
 URB PASCO ALTO 10 CALLE
 SAN JUAN, PR 00926

 VINAY GOWDA
 10 STIRLING WAY
 HAYWARD, CA 94542

 VINCENT SHAN
 15919 SE 44TH
 BELLEVUE, WA 98006

 VIRGINIA D AND PAUL P WOROBEY
 14 POND ST.
 TOPSFIELD, MA 01963

 VIRGINIA D WOROBEY TRUST
 3000 N OCEAN DRIVE, APARTMENT 19E
 SINGER ISLAND, FL 33404-3248

 VIRGINIA K VAN HESPEN
 12580 PATHOS LN
 SAN DIEGO, CA 92129




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 VOGELER, PLLC
 2255 E SUNNYSIDE AVE #581347
 SALT LAKE CITY, UT 84108

 VSP VISION CARE
 ADDRESS UNAVAIL AT TIME OF FILING

 W DAVID THOMAS
 6 CHURCH ST.
 KINGSTON, NH 03848

 WA DEPARTMENT OF LICENSING
 ADDRESS UNAVAIL AT TIME OF FILING

 WA EMPLOYMENT SECURITY DEPARTMENT
 PO BOX 9046
 OLYMPIA, WA 98507-9046

 WACHTEL LIVING TRUST
 7286 E EL CAMINITO DR
 SCOTTSDALE, AZ 85258

 WAGIH IBRAHIM
 2912 N CEDAR CREST BLVD
 ALLENTOWN, PA 18104

 WALKER-FINEGOLD TRUST REVOCABLE LI
 DTD. 6/30/2015
 3729 VEGA DR
 LAKE HAVASU CITY, AZ 86404

 WALL STREET STRATEGIES
 ADDRESS UNAVAIL AT TIME OF FILING

 WANDA CHAPPELL
 6488 STATE ROUTE 145
 CORYDON, KY 42406




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 WANG KIEN LU
 1022 S DANCOVE DR
 WEST COVINA, CA 91791

 WANLU HUANG
 ADDRESS UNAVAIL AT TIME OF FILING

 WARREN BELL
 926 8TH ROAD
 BURLINGTON, KS 66839

 WARREN T CONRAD
 7 CABORCA LANE
 HOT SPRINGS VILLAGE, AR 71909

 WARREN W BELL & LINDA J BELL
 926 8TH ROAD
 BURLINGTON, KS 66839

 WASHINGTON DEPT OF LICENSING
 1175 NW GILMAN BLVD B3
 ISSAQUAH, WA 98027

 WASHINGTON PROFESSIONAL SEMINARS,
 1076 LETHBRIDGE AVENUE
 RICHLAND, WA 99352

 WASHINGTON SECRETARY OF STATE
 PO BOX 40234
 OLYMPIA, WA 98504

 WASHINGTON STATE BAR ASSOCIATION
 1325 FOURTH AVE., SUITE 600
 SEATTLE, WA 98101

 WASHINGTON STATE DEPARTMENT OF ECO
 PO BOX 47611
 OLYMPIA, WA 98504-7611




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 WASHINGTON STATE DEPARTMENT OF REV
 BUSINESS LICENSING SERVICE
 PO BOX 9034
 OLYMPIA, WA 98507

 WASTE MANAGEMENT NATIONAL SERVICES
 DUWAMISH OFFLOADING OPERATIONS
 7400 8TH AVE SOUTH
 SEATTLE, WA 98108

 WASTEXPRESS
 PO BOX 31100
 PORTLAND, OR 97231

 WATER TECH NW, LLC
 PO BOX 2874
 KIRKLAND, WA 98083

 WATERSHED HOLDINGS
 ADDRESS UNAVAIL AT TIME OF FILING

 WAYNE & MELODY WORTHEN
 5302 EDGEWOOD DR E
 EDGEWOOD, WA 98372

 WEALTH ADVISORS
 ADDRESS UNAVAIL AT TIME OF FILING

 WEALTHFORGE TECHNOLOGIES, LLC
 3015 W MOORE STREET
 SUITE 102
 RICHMOND, VA 23230

 WEI LV
 #501-503 BLDG A RONGHUI SQ FIN CTR
 CHANGJIANG RD & SANMA RD INTERS
 NANKAI D TIANJIN 300000 CHINA

 WEI WANG
 4450 94TH AVE NE
 YARROW POINT, WA 98004




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 WEIFAN PENG
 ROOM 503, BLDG 9, JUNLAN 2 ST.
 YAJULE BEIYUN, NANCUN, PANYU
 GUANGZHOU CITY, 511442 CHINA

 WEIFENG HUANG
 3316 SPRINGLEAF DR
 PLANO, TX 75026

 WEIRONG MAO
 5-101 YANGMEI HEJIAYUAN JINGYUAN
  YANGMEI MNTN RD, XIHU DISTRICT
 HANGZHOU, ZHEJIANG, 310000 CHINA

 WEISU GE
 ROOM 402, BUILDING 6, NO. 1008,
 SHUANGLONG AVENUE, JIANGNING DST
 NANJING, JIANGSU, 211106, CHINA

 WELLMON
 ADDRESS UNAVAIL AT TIME OF FILING

 WELLS FARGO
 ADDRESS UNAVAIL AT TIME OF FILING

 WENDY MCCORMICK
 22304 N VIA MONTOYA
 SUN CITY WEST, AZ 85375

 WESTERN PACIFIC FENCE, LLC
 3420 AUBURN WAY N
 AUBURN, WA 98002

 WESTERN RESIDENTIAL SOLUTION, INC
 347 ILO LANE
 DANVILLE, CA 94526

 WESTERN VAN & STORAGE CO
 8521 S 190TH ST
 KENT, WA 98031




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 WETHERHOLT AND ASSOCIATES, INC.
 14715 NE 95TH STREET, SUITE 100
 REDMOND, WA 98052

 WETLAND RESOURCES
 9505 19TH AVE SE
 SUITE 106
 EVERETT, WA 98208

 WEYERHAEUSER COMPANY
 33663 WEYERHAEUSER WAY S
 FEDERAL WAY, WA 98001-9620

 WHISTLE WORKWEAR PUYAL
 ADDRESS UNAVAIL AT TIME OF FILING

 WHITE SUMMERS CAFFEE & JAMES, LLP
 805 SOUTHWEST BROADWAY
 SUITE 2440
 PORTLAND, OR 97205

 WILBERT
 ADDRESS UNAVAIL AT TIME OF FILING

 WILD CREEK ESTATES
 ADDRESS UNAVAIL AT TIME OF FILING

 WILDERNESS INVESTMENTS
 ADDRESS UNAVAIL AT TIME OF FILING

 WILLIAM & RITA BRUCE
 239 FIDDLER`S COVE DRIVE
 KINGSLAND, GA 31548

 WILLIAM A FINFROCK 2011 TRUST
 747 GREEN OAKS CT
 WINTER PARK, FL 32789




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 WILLIAM AND DEANNA STERIOUS JTWROS
 1310 BRIGHTON WAY
 NEWTOWN SQUARE, PA 19073

 WILLIAM D TRACY
 300 HARBOUR DR UNIT 105C
 VERO BEACH, FL 32963

 WILLIAM ENKE
 1226 VISTA SOL
 PALM SPRINGS, CA 92262

 WILLIAM GARD, JR
 125 BRIARCLIFF DRIVE
 MONETA, VA 24121

 WILLIAM GREEN
 4524 SOUTHGATE DR
 PLANO, TX 75024

 WILLIAM H FERGUSON, MD
 2513 S FLAGLER AVE.
 FLAGLER BEACH, FL 32136

 WILLIAM HENDERSON
 45 BRONTE WAY UNIT 23B
 MARLBORO, MA 01752

 WILLIAM HOWARD
 PO BOX 2393
 CYORESS, CA 90630

 WILLIAM M AND PATRICIA D WALTON
 1809 CASTLE DR
 CLYDE, TX 79510

 WILLIAM MCCORMICK AND WENDY MCCORM
 22304 N VIA MONTOYA
 SUN CITY WEST, AZ 85375




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 WILLIAM MCNEILL
 4519 103RD LANE NE
 KIRKLAND, WA 98033

 WILLIAM O STETTER
 4101 E 300 N
 JASPER, IN 47546

 WILLIAM POLACK
 1730 N PEARSON
 ROANOKE, TX 76262

 WILLIAM R AND CANDACE C LYNN
 7335 LINDEN TERRACE
 CARLSBAD, CA 92011

 WILLIAM SCISM
 11 PINE TREE LN
 ANDOVER, MA 01810

 WILLIAM SCORSE
 121 HUTCHINGS ROAD
 ROCHESTER, NY 14624

 WILLIAM SCOTSMAN
 901 SOUTH BOND STREET SUITE 600
 BALTIMORE, MD 21231

 WILLIAM TONY INNMON
 211 RIDGE VIEW LANE
 TROPHY CLUB, TX 76262

 WILLIAM W SHAFFER
 13675 N ORCA TRAIL
 HAYDEN, ID 83835

 WILLIAM WHALEN
 955 AIRPORT ROAD APT. 223
 DESTIN, FL 32541




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 WINDERMERE REAL ESTATE CO.
 2420 2ND AVENUE
 SEATTLE, WA 98121

 WISS, JANNEY, ELSTNER ASSOCIATES,
 9511 NORTH LAKE CREEK PARKWAY
 AUSTIN, TX 78717

 WLW TRUST DTD JANUARY 24, 2019 WIL
 8703 S SANTA ELIZABETH DRIVE
 GOODYEAR, AZ 85338

 WOLFE FAMILY TRUST
 14596 RANCH TRAIL DR
 EL CAJON, CA 92021

 WOOD HILL HOMES
 ADDRESS UNAVAIL AT TIME OF FILING

 WOODBLOCK ARCHITECTURE, INC.
 827 SW 2ND AVENUE, SUITE 300
 PORTLAND, OR 97204

 WSI NET ADVANTAGE
 85 BASSETT ST
 SAN JOSE, CA 95110

 XI YU
 ADDRESS UNAVAIL AT TIME OF FILING

 XIANXING HU
 3-1601 TAOJINSHAN GARDEN
 NO. 268 CUIYIN ROAD, LUOHU DST
 SHENZHEN, GUANGDONG 518019 CHINA

 XIAO WU
 110 AVILA RD
 SAN MATEO, CA 94402




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 XIAOBAI ZHANG
 UNIT.1404, BLD 11, NO.19
 ZHONGSHANJINGDIANYUAN, JINMA RD
 QIXIAQU NANJING JIANGSU 210046 PRC

 XIAOCHUAN LI
 30-A, BUILDING 6, DONGHAI GARDEN
 XIANGXUAN ROAD
 SHENZHEN, GUANGDONG 518000 CHINA

 XIAOJIA LIAO
 29 LONG KAN XIN JIE
 FLOOR 48, ROOM H
 CHONGQING, 400049 CHINA

 XIAOWAN TIAN
 BEIJING RUNJI ENTERPRISE
 MGMT CONSULTING CO, LTD
 JIANWAISOHO BLA 1208 BEIJING CHINA

 XIAOYAN YANG
 1-101 BD 6 HUAXIA XIANB DIANCHI RD
 DIANCHI KUNMING RESORT
 KUNMING, YUNNAN, 650000 CHINA

 XIAOYU SU
 ROOM 1102, 1 BLDG WAN XU XIU YE LI
 NO.3 XIU YE LI, GU LOU DISTRICT
 FUZHOU, FUJIAN PRVC, 350000 CHINA

 XIN LI
 ROOM 1802, UNIT 1, BUILDING 40,
 ZHANGJIACUN HUIRUNYUAN, GANJINGZI
 DALIAN, LIAO NING, 116082 CHINA

 XING FANG
 15919 SE 44TH WAY
 BELLEVUE, WA 98006




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 XINGZHI ZHU
 8-2-1201, HAIYI CHANGZHOU LIANHAI
 SOUTH YOUYI ROAD, HEXI DISTRICT
 TIANJIN, 300074, CHINA

 XINLU BAO
 301, GT 2, TWR D, NO 55, DASHIQIAO
 JIUGULOU AVE. XICHENG DISTRICT
 BEIJING,   CHINA

 XINYI WU
 66 KEJI ROAD, JIMEI DISTRICT
 XIAMEN, FUJIAN, 361024
 CHINA

 XINZE LIU
 4108, SAINAWEILA SHUIJING GARDEN,
 CHAOYANG DISTRICT
 BEIJING,   CHINA

 XIU WEN GONG
 21580 NE 16TH ST
 SAMMAMISH, WA 98074

 XU IRREVOCABLE TRUST
 NORTHWEST TTEE & MGMT SVCS, LLC
 7307 N DIVISION#303, PO BOX 18969
 SPOKANE, WA 99228

 XU LIN
 9630 HILLTOP ROAD
 BELLEVUE, WA 98004

 YAKIMA BRANDING (COLOR BARREL LLC)
 ADDRESS UNAVAIL AT TIME OF FILING

 YAN LI
 RM 801 #3, BLD 17 DONG YI SHI QU
 #12 YUAN SHUANGQIAO E RD
  CHAOYANG BEIJING 100024 CHINA




23-01271-11   Doc 1   Filed 09/30/23   Entered 09/30/23 12:11:26   Pg 307 of 314
 YANBO SUN
 BEIFUMINGYUAN, HUANAN SQ
 BUILDING 7, UNIT 1, ROOM 301
 DALIAN, LIAONING, 116000 CHINA

 YANFEI HAN
 13316 22ND AVENUE NORTHEAST
 SEATTLE, WA 98125

 YANFEN WANG
 22433 NE MARKETPLACE DR
 APT. H3049
 REDMOND, WA 98053-1920

 YANGFUXIAO MEI
 15522 SOUTHEAST 5TH COURT
 BELLEVUE, WA 98007

 YANHUA ZHANG
 8158 169TH AVE NE
 REDMOND, WA 98052

 YANMEI TANG
 DRESSING TABLE VILLAGE, LAISU TOWN
 YONGCHUAN DISTRICT
 CHONGQING, 400000 CHINA

 YANQIAN CHAI
 #201, NO.90, LANE 1895, HUALING            R
 BAOSHAN DISTRICT
 SHANGHAI, 201900 CHINA

 YANYAN XU AND ZHENG FANG
 29 WANGJIANG RD QING NIAN
 JIAO SHI APT ROOM 1012
 CHENGDU, SICHUAN, CHINA

 YAO WANG
 1702 BLDG 1, SHOU CHUANG XI RUI DU
 NO.139 CHAO YANG ROAD, CHAO YANG
 BEIJING, 100026 CHINA




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 YEN HO
 1874 SAN FRANCISCO AVE.
 LONG BEACH, CA 90806

 YI SHAN
 NO. 7 UNIT 1, 33RD BLD BIN HE LANE
 NANCAIYUAN, XICHENG DISTRICT
 BEIJING, 100053 CHINA

 YI XIA
 BUILDING NO.8, LANE 600,
 FEI HONG ROAD,, YANGPU DISTRICT
 SHANGHAI,   CHINA

 YI ZHENG
 #1204, NO. 17, LANE 28,
 GUILIN DONG JIE,, XUHUI DISTRICT
 SHANGHAI, 200235 CHINA

 YIBING LUO
 #101, BLDG 59,#1 GUANGHUA
 JIANGHAN PETRO ADMIN BUR
 QIANJIANG, HUBEI, 433100, CHINA

 YIDA ZHENG
 ADDRESS UNAVAIL AT TIME OF FILING
 BEIJING,
 CHINA

 YING WU - STOP USING THIS ACCOUNT
 5900 138TH PLACE SE
 BELLEVUE, WA 98006

 YING WU AND ERIC FU
 5900 138TH PLACE SOUTHEAST
 BELLEVUE, WA 98006

 YING WU
 5900 138TH PLACE SE
 BELLEVUE, WA 98006




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 YING ZHENG
 RM L3-401 PHASE II TWELVE OAKS MNR
 PUTIAN STREET, LONGGANG DISTRICT
 SHENZHEN, GUANGDONG 518129 CHINA

 YIRU HUANG
 RM 1701 #100, YUSHAN ROAD
 PUDONG NEW AREA
 SHANGHAI, CHINA

 YISROEL AND CHANA GURARY
 212 S HIGHLAND AVE
 LAS ANGELES, CA 90036

 YIWEI AN
 225 CHERRY STREET, APT 7C
 NEW YORK, NY 10002

 YI-YUAN CHEN (GRACE SHIN)
 3F , NO. 15, ZHENGDA 3RD ST.
 WENSHAN DIST
 TAIPEI CITY, TAIWAN

 YONGZHEN OU
 5900 138TH PL SE
 BELLEVUE, WA 98006

 YONGZHI LIANG
 103-2-1105, BAI ZI WAN HOME
 CHAOYANG DISTRICT
 BEIJING, 100124 CHINA

 YOUFU ZHENG
 ROOM 601, UNIT 1, BUILDING A
 JINGUANGHOU SHENCAI ZHENG GONGNONG
 HEGANG, HEILONGJIANG 154108 CHINA

 YOUZHEN LU
 NO. 16, XINGHUA ROAD, KEJI AVENUE,
 XIUYING DISTRICT
 HAIKOU, HAINAN, 570100 CHINA




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 YSHINE HONGKONG LIMITED
 UNIT D 16/F, ONE CAPITAL PLACE
 18 LUARD ROAD
 WAN CHAI, CHINA

 YU & TROCHALAKIS, PLLC
 13555 SE 36TH STREET, SUITE 310
 BELLEVUE, WA 98005

 YUAN LI
 RM 101, NO. 41, NONG 238
 HUOXIANG RD, PUDONG NEW AREA
 SHANGHAI, 201203 CHINA

 YUAN MU
 11007 NE 18TH PL
 BELLEVUE, WA 98004

 YUAN TIAN
 DONG SI SAN TIAO #49
 DONG CHENG DISTRICT
 BEIJING, 100010 CHINA

 YUANJUN LOU
 22802 SE 5TH TERRACE
 SAMMAMISH, WA 98074

 YUANQING SHAN
 15919 SE 44TH WAY
 BELLEVUE, WA 98006

 YUANYUAN LI
 6652 135TH CT SE
 NEWCASTLE, WA 98059

 YUANZHE CHENG
 9-2-1702, GREENLAND HUAJIACHIYIN,
 SHANGCHENG DISTRICT
 HANGZHOU, ZHEJIANG, 310009 CHINA




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 YULAN REN
 NO. 5, BLDNG 15, MEIDU HUATING, 76
 LIANHUA NORTH RD, DUJIANGYAN CITY,
 SICHUAN PROVINCE, 611800 CHINA

 YUN HAN
 4226 129TH PL SE, #4
 BELLEVUE, WA 98006

 YUN LIU
 #104, BLDG 23, HAIYUEHUAYUAN
 PHASE 1, NANSHAN DISTRICT
 SHENZHEN, GUANGDONG 511400 CHINA

 YUNHUA LIU
 1155 NORTHEAST 55TH STREET
 SEATTLE, WA 98105

 YUTAO WU
 308 BLK B, SHENNAN GARDEN PODIUM
 KEYUAN NORTH RD, NANSHAN DISTRICT
 SHENZHEN, GUANGDONG 518057 CHINA

 ZAIPING LAO
 21ST FLOOR, MENGHU VILLA,
 NO.188 ZHIJIANG ROAD,, XIHU DST
 HANGZHOU, ZHEJIANG, 310024 CHINA

 ZARCO EINHORN SALKOWSKI
 2 S BISCAYNE BLVD
 34TH FLOOR
 MIAMI, FL 33131

 ZAVEN CHRISTOPHER AND SARA CHAKMAK
 1118 NEWCASTLE
 ROCKWALL, TX 75032

 ZELIN WANG
 BLDG E-24, ORIENTAL GRDN
 OVERSEAS CHINESE TWN, NANSHAN DIST
 SHENZHEN, GUANGDONG 518000 CHINA




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 ZHANYUN ZHENG
 19D, ZHEJIANG MATERIAL INDUST BLDG
 445 KAIXUAN ROAD
 HANGZHOU, ZHEJIANG, 310021 CHINA

 ZHAO WANG
 2402, UNIT 1, US FEDERAL APARTMENT
 NO.1 DONGFANGDONG ROAD, CHAOYANG
 BEIJING, 100027 CHINA

 ZHAOJUN LI AND BING HU
 307-3233 KETCHESON ROAD
 RICHMOND, BC V6X OR3
 CANADA

 ZHENG REVOCABLE FOREIGN GRANTOR TR
 7307 N DIVISION ST. SUITE 303
 SPOKANE, WA 99208

 ZHIDUO WU
 59-2-2503,JIADU INTL COMMUNITY,
 YANJIAO GAOXIN DISTRICT, SANHE
 LANGFANG, HEBEI, 065202 CHINA

 ZHIJIAN CAI
 11-20B, SANGTAIDANHUA,
 PING SHAN YI ROAD, XI LI
 NAN SHAN D SHNZHN, GUANGDONG CHINA

 ZHIQIAN LIANG
 RM 1803, BLD NO. 1
 PHASE 7 OVERS CHINESE CITY NANSHAN
 SHENZHEN, GUANGDONG 510000 CHINA

 ZHIQIANG ZHOU
 ROOM 222, UNIT 2, BUILDING 44,
 JUNZHENG CHANGHE HUAFU, HAIBOWAN
 WUHAI, INNER MONGOLIA, 016000




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   ZHIXIONG SHENG (GRACE SHIN)
   FLAT 12F, TOWER 1, THE BELCHER’S,
   NO. 89 POK FU LAM ROAD
   HONG KONG

   ZHIYU CHEN
   ROOM 501, BLD 18, HENGDA KUNHAI HU
   ANNING TAIPING NEW TOWN
   KUNMING, YUNNAN, 650399 CHINA

   ZHIYUAN LIU
   FLAT 9C, 22 JOHNSTON ROAD, YORK PL
   WANCHAI
   HONG KONG

   ZHONGYUAN MAO
   APT. 1202, UNIT 2, BUILDING 10,
   WAN JIA XING CHENG PHASE 3
   XIACHNG HANGZHOUZHEJIANG310000 PRC

   ZHUHUA LI
   17225 NE 126TH PL
   REDMOND, WA 98052

   ZIAN WANG
   ROOM 3602, 580 NANJING WEST ROAD
   SHANGHAI, 200000
   CHINA

   ZIPLY FIBER
   ATTN: SHELLEY HAUGSTAD
   1800 41ST ST. N-100, 2OS
   EVERETT, WA 98203

   ZIPPER GEO ASSOCIATES, LLC
   19019 36TH AVENUE WEST, SUITE E
   LYNNWOOD, WA 98036

#OF RECORDS: 2,787




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